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          EXHIBIT A
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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF HAWAII

   PAUL MARINELLI,                            )
                                              )
                       Plaintiff,                          1:22-cv-00391-SOM-KJM
                                              ) CIVIL NO. ____________________
          vs.                                 )
                                              ) DECLARATION OF DARRYL P.
   QBE SPECIALTY INSURANCE                    ) RAINS IN SUPPORT OF
   COMPANY,                                   ) PLAINTIFF PAUL MARINELLI’S
                                              ) APPLICATION FOR
                                              ) PRELIMINARY INJUNCTION
                       Defendant.             )
                                              )
                                              )
   _______________________________


     DECLARATION OF DARRYL P. RAINS IN SUPPORT OF PLAINTIFF
        PAUL MARINELLI’S APPLICATION FOR PRELIMINARY
                         INJUNCTION

         1.     I, Darryl P. Rains, am a senior of counsel at the law firm of Morrison

   & Foerster LLP, counsel for Plaintiff Paul Marinelli in the adversary proceedings

   captioned Kane et al. v. PaCap Aviation Finance, LLC, Adversary Proceeding No.

   19-90027, and QBE Specialty Insurance Company v. Elizabeth Kane, As Chapter 7

   Trustee et al, 1:22-ap-90006, each currently pending before the United States

   Bankruptcy Court for the District of Hawai’i, and, as such, I have personal

   knowledge of the facts set forth herein.

         2.     I make this declaration, based upon my personal knowledge and a

   review of my files relating to the above-referenced adversary proceedings,

   including the documents referenced herein, in support of Mr. Marinelli’s
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   application for a preliminary injunction directing defendant QBE Specialty

   Insurance Company (“QBE”) to advance the defense costs incurred by Mr.

   Marinelli in connection with the Underlying Litigation (as defined herein) as it

   contractually committed and is required to do under the terms of the Policy (as

   defined below).

         3.     QBE issued Liability Policy No. QPLO192298 (the “Policy”) to

   Hawaii Island Air, Inc. (“Island Air”) to protect its directors and officers, including

   Mr. Marinelli, against incurring liability in connection with claims arising from

   alleged wrongful acts or omissions taken by them while serving as an officer or

   director of Island Air. The Policy was issued for the period covering March 2,

   2017 to March 2, 2018 (the “Policy Period”). A true and correct copy of the Policy

   is attached hereto as Exhibit A.

         4.     The Policy consists of General Terms and Conditions (the “General

   Terms & Conditions”) and two individual Liability Coverage Parts: a Directors and

   Officers and Entity Liability Coverage Part (the “D&O Coverage Part”) and an

   Employment Practices Liability Coverage Part. The Policy provides, in relevant

   part, that QBE will provide “Side A” directors’ and officers’ liability insurance,

   pursuant to which it will “pay, on behalf of an Insured Person, Loss on account of

   a Claim first made during the Policy Period to the extent that such Loss has not

   been paid or indemnified by any Company.” Ex. A, D&O Coverage Part, § I.A.



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   The Policy also provides that QBE “shall have the … duty to defend any Claim,

   unless otherwise specifically stated in a particular Liability Coverage Part …

   even if any of the allegations in such Claim are groundless, false or fraudulent.”

   Id., General Terms & Conditions, § VI.A.

         5.     The Policy defines “Insured Person” as any “Executive,” which is

   itself defined as “any natural person who was, now is or shall become … a duly

   elected or appointed director” of Island Air. Id., D&O Coverage Part, § X.D.1;

   General Terms & Conditions, § XII.F.1. Mr. Marinelli served as a director for

   Island Air from 2013 to July 10, 2017, and is thus an “Insured Person” under the

   Policy. The Policy defines “Loss” as “the amount that an Insured becomes legally

   obligated to pay on account of any Claim,” including “Defense Costs,” which

   includes “reasonable costs, charges, fees (including attorneys’ fees and experts’

   fees) and expenses … incurred in … investigating, defending, opposing or

   appealing any Claim.” Id., D&O Coverage Part, §§ X.B & X.E.

         6.     The Policy has a total limit of liability of $6 million, comprised of a

   $5 million “Combined Maximum Aggregate Limit of Liability” across all

   Coverage Parts, plus a $1 million “Additional Limit” applicable exclusively to the

   “Side A” coverage provided under the D&O Coverage Part. Id., General Terms &

   Conditions, at § IV; id. General Terms and Conditions Declarations, Item 3; id.,

   D&O Coverage Part, § IV.B; id. D&O Coverage Part Declarations, Items 2 & 3.



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   The Policy requires QBE to “advance Defense Costs on a current basis, but no

   later than 60 days after receipt of the legal bills and any supporting

   documentation,” id., D&O Coverage Part, at § V.A, and provides that QBE shall

   continue to discharge this duty of advancement “until … the [$6 million] Limit of

   Liability … has been exhausted.” Id.

         7.     The Policy further provides that “If it is determined by a final

   adjudication that any advanced Defense Costs are not covered under this Coverage

   Part, the Insureds, severally according to their respective interests, shall repay

   such uncovered Defense Costs to the Insurer.” Id., D&O Coverage Part, at § V.B.

   Moreover, to protect QBE against the risk of competing or conflicting claims by

   multiple Insured Persons, the Policy contains a “Priority of Payments” provision

   dictating the order in which claims made under the Policy are to be paid:

                In the event that Loss under Insuring Clause A and any other
                Loss are concurrently due under this Coverage Part, then the
                Loss under Insuring Clause A shall be paid first. In all other
                instances, the Insurer may pay Loss as it becomes due under this
                Coverage Part without regard to the potential for other future
                payment obligations under this Coverage Part.

   Id., D&O Coverage Part, § VIII.A.

         8.     On October 16, 2017, Island Air filed a Chapter 11 Petition in the

   United States Bankruptcy Court for the District of Hawaii (the “Bankruptcy

   Court”), captioned In re Hawaii Island Air, Inc., No. 17-01078. On November 15,

   2017, the case was converted from Chapter 11 to Chapter 7 and Elizabeth A. Kane


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   (the “Chapter 7 Trustee”) was appointed Chapter 7 Trustee of the estate of Island

   Air.

          9.    On August 12, 2019, the Chapter 7 Trustee and others jointly sued

   Mr. Marinelli and other former Island Air directors in an adversary proceeding in

   the Bankruptcy Court styled Kane et al. v. PaCap Aviation Finance, LLC,

   Adversary Proceeding No. 19-90027 (the “Underlying Litigation”). The

   Underlying Litigation includes four claims against Mr. Marinelli in his capacity as

   a director of Island Air, for breaches of fiduciary duty and aiding and abetting

   fiduciary breaches by another director.

          10.   In early 2020, Mr. Marinelli tendered the Underlying Litigation to

   QBE consistent with the reporting requirements of the Policy. By correspondence

   dated May 22, 2020, a true and correct copy of which is attached hereto as Exhibit

   B, QBE acknowledged receipt of Mr. Marinelli’s claims, confirming that they are

   covered Claims under the Policy, and agreed to advance Defense Costs in

   connection with the Underlying Litigation, subject to a reservation of rights. QBE

   also consented to the joint representation of Mr. Marinelli and several of the other

   persons and entities named as defendants in the Underlying Litigation by Morrison

   & Foerster LLP, Pillsbury Winthrop Shaw Pittman LLP, and Tsugawa Lau &

   Muzzi LLP.




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         11.    On or about May 4, 2020, I had a telephone conversation with Tim

   Vasquez, a claims manager for QBE. Part of our discussion concerned whether a

   global settlement might be reached, and how negotiations toward a global

   settlement might be initiated. We discussed how QBE’s policy would need to be

   the major component of any such settlement. I indicated that Mr. Marinelli might

   be willing to temporarily defer submitting his legal bills while the parties

   attempted to negotiate a global settlement in the Underlying Litigation, in order to

   avoid depleting the insurance proceeds available for a potential settlement. I

   indicated that QBE would need to agree that it would not later claim that our legal

   services had not received prior written consent, as required by QBE’s policy. Mr.

   Vasquez agreed to this proposal, and indicated he would need to reserve the ability

   to review Mr. Marinelli’s Defense Costs for reasonableness under the terms of the

   policy.

         12.    Mr. Marinelli continued to incur Defense Costs in connection with the

   Underlying Litigation following this May 4, 2020 discussion. In accordance with

   my discussion with Mr. Vasquez, I temporarily deferred submission of Mr.

   Marinelli’s Defense Costs to QBE.

         13.    In early 2022, after the parties were unable to reach agreement on a

   settlement in the Underlying Litigation, I notified QBE that Mr. Marinelli would

   be submitting his Defense Costs for advancement. QBE confirmed that it would



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   advance Mr. Marinelli’s Defense Costs once the Bankruptcy Court granted relief

   from the automatic stay permitting it to do so. Mr. Marinelli promptly filed a

   motion with the Bankruptcy Court for an order lifting the automatic stay, which

   was granted on May 31, 2022. See In re Hawaii Island Air, Inc., No. 17-01078

   (Bankr. D. Haw.), Dkt. No. 1105.

         14.    Upon learning of Mr. Marinelli’s intent to seek advancement of his

   Defense Costs, and despite its agreement to pay these costs once the automatic stay

   was lifted, QBE immediately took action to avoid its obligation to pay Mr.

   Marinelli’s impending claim. On March 8, 2022, QBE filed an interpleader action

   in the Bankruptcy Court, styled QBE Specialty Insurance Company v. Elizabeth

   Kane, as Chapter 7 Trustee for Hawaii Island Air, Inc., et. al., Adversary

   Proceeding No. 22-90006 (the “Interpleader Action”). A true and correct copy of

   the complaint by QBE in the Interpleader Action is attached hereto as Exhibit C.

         15.    In the Interpleader Action complaint, QBE admitted that it had

   “agreed to provide Defense Costs coverage in connection with [Underlying

   Litigation], subject to a full reservation of all of the Policy’s terms, conditions, and

   exclusions, and subject to the order of [the Bankruptcy Court] that such payments

   are not in violation of the automatic stay.” Ex. C, ¶¶ 21-22. Yet it claimed that it

   now faced “conflicting and competing demands for payments of defense costs,

   future judgment, and future settlement demands”—and thus “the risk [of]



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   inconsistent decisions exposing QBE to multiple liability in excess of the Policy’s

   proceeds”—thereby making it necessary and appropriate “for the [Bankruptcy]

   Court to determine the allocation of the Policy proceeds among those [allegedly

   conflicting] demands.” Id., ¶¶ 1, 26. QBE made no mention of the fact that the

   express terms of the Policy foreclose the possibility of any such “conflicting and

   competing demands for payment.”

         16.    During a June 3, 2022, scheduling conference with the Bankruptcy

   Court, QBE’s counsel admitted that, its recently commenced Interpleader Action

   notwithstanding, QBE remained under a duty to advance Defense Costs to Mr.

   Marinelli under the Policy, and expressly represented to the Bankruptcy Court that

   QBE would continue to fulfill that duty. Indeed, alluding to the Bankruptcy Court’s

   recent order granting Mr. Marinelli’s motion for relief from stay and Mr. Marinelli’s

   stated intention to submit a claim to QBE for his Defense Costs, QBE’s counsel

   acknowledged that QBE had been advancing Defense Costs under the Policy to other

   Insureds, and stated:

                There have been a few motions in the main bankruptcy
                proceeding to lift the automatic stay to allow defense costs to be
                advanced, and there’s been – some defense costs have been
                advanced and other insureds are gathering their invoices, and it’s
                the intention of QBE to continue advancing those costs until such
                time as it’s granted a discharge….

   A true and correct copy of the transcript of the June 3, 2022 Scheduling

   Conference is attached hereto as Exhibit D.


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         17.    On June 7, 2022—mere days after QBE represented to the Bankruptcy

   Court that it would continue to advance Defense Costs to its Insureds—I submitted

   to QBE on behalf of Mr. Marinelli a formal request for advancement of

   approximately $3.5 million in Defense Costs (the “First Advancement Request”),

   representing Defense Costs incurred by Mr. Marinelli in connection with the

   Underlying Litigation through April 2022. In this correspondence, I explained to

   QBE that my firm had already carefully reviewed and revised the included

   invoices to exclude “charges not properly allocated to” the Underlying Litigation,

   and requested a conference call with QBE to discuss, among other things,

   “[w]hether [QBE] will commit to paying these invoices, and our current and future

   invoices, on an ongoing basis” or “[w]hether we will need to file a declaratory

   judgment action, and assert claims for bad faith, in order to compel [QBE] to pay

   these invoices.” Included with the First Advancement Request was a spreadsheet

   breaking down in separate tabs the monthly fees and disbursements invoiced by

   each of the firms that, collectively, represented Mr. Marinelli and other co-

   defendants. A true and correct copy of the First Advancement Request is attached

   hereto as Exhibit E. Hard copies of supporting documentation in connection with

   the First Advancement Request were sent to QBE via overnight mail on that same

   date. A true and correct copy of correspondence confirming shipment of these

   hard copy documents is attached hereto as Exhibit F.



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         18.    On June 13, 2022, I spoke by phone with counsel for QBE, who

   reaffirmed QBE’s commitment to advance Mr. Marinelli’s Defense Costs on an

   ongoing basis unless and until QBE received permission to interplead the Policy to

   the Bankruptcy Court and received a discharge of its duties under the Policy. QBE

   did not express any objection to the reasonableness of Mr. Marinelli’s submitted

   Defense Costs on this call, but requested that I provide an electronic version of the

   invoices for these costs in order to facilitate QBE’s processing thereof. My firm

   promptly sent electronic versions of these invoices, and reiterated Mr. Marinelli’s

   request for advancement of his Defense Costs incurred through April 2022.

         19.    Despite the fact that Mr. Marinelli’s request for advancement of his

   Defense Costs and all supporting documentation was submitted to QBE no later

   than June 8, 2022, and despite QBE’s assurances to me that it would advance Mr.

   Marinelli’s Defense Costs unless and until it received an order from the

   Bankruptcy Court permitting interpleader of the Policy proceeds, on July 14, 2022,

   I received a letter from QBE stating that QBE refused to pay for Mr. Marinelli’s

   Defense Costs already incurred, and also refused to advance his future Defense

   Costs. A true and correct copy of the July 14, 2022 letter from QBE is attached

   hereto as Exhibit G. In the letter, QBE again admitted that it “intended to

   continue paying pay [sic] covered Defense Costs, including those incurred by Mr.

   Marinelli….” Ex. G at 2. QBE disingenuously asserted, however, that, “prior to



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   receipt of supporting documentation from [my] firm, QBE was informed that

   certain Insureds received settlement demands that together with the legal fees

   submitted by Mr. Marinelli (as well as those incurred and to be submitted by other

   Insureds), exceed the remaining limit of liability of the Policy,” and that “[i]n light

   of the competing demands on the Policy’s proceeds by various Insureds,” QBE is

   “constrained to seek leave to deposit the remaining Policy proceeds into the

   Bankruptcy Court’s registry” and “unable to make further Defense Cost payments

   at this time.” Id.

         20.    That same day, QBE filed a Motion for Leave to Deposit Interpleader

   Funds and for Discharge, Injunction and Dismissal with Prejudice with the

   Bankruptcy Court (as amended on July 15, 2022, the “Interpleader Motion”). In its

   motion, QBE admitted that there is still more than five million dollars available

   under the Policy—$5,513,221.51 to be precise. It also identified the alleged

   “conflicting claims” to the Policy proceeds that gave rise to its purported “real and

   reasonable fear of multiple liability.” These are Mr. Marinelli’s First

   Advancement Request, totaling $3,560,783.84, Defense Costs for Island Air

   executive David Pflieger, totaling $48,945.00, Defense Costs for Island Air

   executive Philip Wegescheide, totaling $12,678.37, and “a demand to settle the

   Trustee Proceeding with respect to [certain] defendants only for $2.4 million” (the

   “Settlement Offer”).



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         21.    An August 19, 2022 filing in the Bankruptcy Court indicates that, as

   of that date, the parties to the Settlement Offer referenced in the Interpleader

   Action remained “in active and ongoing discussions” about the offer, and were

   “working … to finalize … an accepted settlement,” which would be subject to the

   Bankruptcy Court’s approval before becoming binding. See QBE Specialty Ins.

   Co. v. Kane, et. al., Adv. Pro. No. 22-90006, Declaration of Counsel for

   Interpleader Defendants Christopher Gossert and Catherine Yannone in support of

   Interpleader-Defendants Christopher Gossert and Catherine Yannone’s Response

   to the Court’s July 25, 2022 Order to Show Cause Why Adversary Proceeding

   Should Not Be Dismissed, Dkt. # 133, at ¶¶ 3-4 (Aug. 19, 2022). A true and

   correct copy of this document is attached hereto as Exhibit H.

         22.    A September 2, 2022 filing in the Interpleader Action indicates that an

   additional claim was made against the Policy consisting of requests for

   advancement of Defense Costs submitted by Jeffrey Au, another named defendant

   in the Underlying Litigation, on August 8, 2022 and September 2, 2022—long

   after the submission of Mr. Marinelli’s First Advancement Request. See QBE

   Specialty Insurance Company v. Elizabeth Kane, as Chapter 7 Trustee for Hawaii

   Island Air, Inc., et. al., Adv. Pro. No. 22-90006, Interpleader-Plaintiff QBE

   Specialty Insurance Company’s Reply in Support of First Amended Motion for

   Leave to Deposit Interpleader Funds and For Discharge, Injunction, and Dismissal



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     with Prejudice, Dkt. # 146, at 4 (Sept. 2, 2022). A true and correct copy of this

     document is attached hereto as Exhibit I.

               23.   To date, QBE has paid none of Mr. Marinelli’s Defense Costs.

               Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

     foregoing is true and correct based on my personal knowledge, information and

     belief.




     Dated: September 8, 2022                                      CoM         |      ae

                                                                   Darryl] P. Rains




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QBE® Specialty Insurance Company
A Stock Company




The Solution for Management Liability




Home Office:                                       Administrative Office:

c/o CT Corporation                                 Wall Street Plaza
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Bismarck, North Dakota 58501                       New York, New York 10005
                                                   1-877-772-6771




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 This policy consists of:              Declarations
                                       One or more coverage parts.
                                       A coverage part consists of:
                                       — One or more coverage forms
                                       — Applicable forms and endorsements




 QBE Specialty Insurance Company


 In Witness Whereof, we have caused this policy to be executed and attested, and, if required by state law, this
 policy shall not be valid unless countersigned by our authorized representative.




Robert V. James                                           Jose Ramon Gonzalez, Jr.
President                                                 Secretary




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                                                                                                         QBBP-3004 (09-14)


                                                                                                          The Solution
                                                                  General Terms and Conditions Declarations
                                         QBE Specialty Insurance Company
                             Wall Street Plaza, 88 Pine Street, New York, New York 10005
           Home Office: c/o CT Corporation System, 314 East Thayer Avenue, Bismarck, North Dakota 58501


THE LIABILITY COVERAGE PARTS PROVIDE CLAIMS MADE COVERAGE, WHICH APPLIES ONLY TO CLAIMS
FIRST MADE AGAINST THE INSUREDS DURING THE POLICY PERIOD. THE LIMIT OF LIABILITY TO PAY
JUDGMENTS OR SETTLEMENT AMOUNTS SHALL BE REDUCED AND MAY BE EXHAUSTED BY PAYMENT OF
DEFENSE COSTS. PLEASE READ THIS POLICY CAREFULLY.

Item 1:    Parent Company:        Hawaii Island Air, Inc.

           Mailing Address:       550 Paiea Street Suite 236
                                  Honolulu, HI 96819

Item 2:    Policy Period          From: March 2, 2017 To: March 2, 2018
                                  At 12:01 A.M. Standard Time at the mailing address stated in Item 1

Item 3:    Limit of Liability     $5,000,000 Combined Maximum Aggregate Limit of Liability for Liability Coverage Parts

Item 4:    Coverage Parts:        Directors & Officers and Entity Liability
                                  Employment Practices Liability

Item 5:    A. Notice to Insurer of a Claim or circumstance:           B. All Other Notices to Insurer:

              QBE Specialty Insurance Company                            QBE Specialty Insurance Company
              Attn: The Claims Manager                                   Attn: Underwriting
              Wall Street Plaza                                          Wall Street Plaza
                                th                                                          th
              88 Pine Street, 18 Floor                                   88 Pine Street, 18 Floor
              New York, New York 10005                                   New York, New York 10005
              Telephone: (877) 772-6771                                  Telephone: (877) 772-6771
              Email: professional.liability.claims@us.qbe.com            Email: MLPLadmin@us.qbe.com

Item 6:    Extended Reporting Period
           Premium: 100% of annual premium
           Length:   One Year

Item 7:    Premium: $42,487

In witness whereof, the Insurer has caused this Policy to be executed, but it shall not be valid unless also signed by a duly
authorized representative of the Insurer.




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                                                                                                           The Solution
                                                                                      General Terms and Conditions
In consideration of the payment of the premium, the Insurer and the Insureds agree as follows:
I.       PREAMBLE
         The insurance coverages offered in this Policy are part of a portfolio of insurance coverages, consisting of this
         General Terms and Conditions (“GTC”) and any individual Liability Coverage Parts and Non-Liability Coverage
         Parts purchased, as stated in Item 4 of the Declarations of this GTC. The type of coverage provided by each of the
         Liability Coverage Parts and Non-Liability Coverage Parts are identified in each particular Coverage Part.
         Unless expressly stated to the contrary, the terms, conditions and limitations in this GTC apply to the entire Policy,
         whereas the terms, conditions and limitations of each individual Coverage Part only apply to that particular
         Coverage Part. In the event of a conflict between any terms, conditions or limitations of the GTC and any terms,
         conditions and limitations of any individual Coverage Part, the terms, conditions and limitations of the individual
         Coverage Part shall control.
II.      EXCLUSIONS
         No coverage shall be provided under any Liability Coverage Part for Loss on account of that portion of a Claim:
         A. Bodily Injury/Property Damage - for bodily injury, mental anguish, emotional distress, humiliation, sickness,
            disease or death of any person or damage to or destruction of any tangible property, including loss of use
            thereof, whether or not such property is damaged or destroyed;
         B. Conduct - based upon, arising out of or resulting from any deliberate fraud, deliberate criminal act or deliberate
            violation of any statute or regulation, or any illegal profit or remuneration, by an Insured, established by a final,
            non-appealable adjudication adverse to such Insured in any underlying action, and the Insurer shall not utilize a
            declaratory action or proceeding brought by or against the Insurer to establish such final, non-appealable
            adjudication;
         C. ERISA - for any violation of the responsibilities, obligations or duties imposed by ERISA or for any functions
            identified in ERISA Section 3(21)(A) as not being the functions of a fiduciary, and commonly referred to as
            “settlor” functions;
         D. Pending or Prior Proceedings - based upon, arising out of or resulting from an action, proceeding or Claim
            commenced against an Insured pending on or prior to the Pending or Prior Proceedings Date stated in the
            Declarations of each applicable Liability Coverage Part;
         E. Pollution - based upon, arising out of or resulting from any:
             1. discharge, emission, release, dispersal or escape of any Pollutants or any threat thereof;
             2. treatment, removal or disposal of any Pollutants; or
             3. regulation, order, direction or request to test for, monitor, clean up, remove, contain, treat, detoxify or
                neutralize any Pollutants,
             including any Claim for financial loss to a Company, its securityholders or its creditors based upon, arising from
             or in consequence of any matter described in paragraphs 1, 2, or 3 above;
         F. Prior Notice - based upon, arising out of or resulting from any claim reported, or any circumstance reported and
            accepted, under the insurance policy (including any policies of which such policy is a renewal policy) replaced
            by this Policy; and
         G. Wage and Hour - based upon, arising out of or resulting from any violation of the responsibilities, obligations or
            duties imposed by any law governing wage, hour or payroll, including the Fair Labor Standards Act;
         Exclusions D and F above shall not apply where this Policy is a renewal of a policy issued by the Insurer to the
         Parent Company.
         With respect to all Policy exclusions, no conduct or knowledge of any Insured shall be imputed to any other
         Insured Person, and solely with respect to Exclusion B, only the conduct or knowledge of any past, present or
         future chief executive officer or chief financial officer of a Company shall be imputed to such Company and its
         Subsidiaries.
III.     RETENTION OR DEDUCTIBLE
         A. Any Retention or Deductible applicable to any Coverage Part shall apply as set forth in each Coverage Part and
            in the amount(s) stated in the Declarations of each Coverage Part. If different parts of a single Claim are


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            subject to different Retentions or Deductibles, then the total amount of Loss applied to the applicable
            Retentions or Deductibles shall not exceed the largest applicable Retention or Deductible.
        B. No Retention shall apply to any Loss for which an Insured Person is not indemnified by a Company because
           of such Company’s Financial Impairment.
IV.     LIMIT OF LIABILITY
        A. The Combined Maximum Aggregate Limit of Liability, stated in Item 3 of the Declarations of this GTC,
           represents the maximum amount payable under all Liability Coverage Parts during the Policy Period for all
           Liability Coverage Parts combined.
        B. The Limit of Liability, stated in Item 2 of the Declarations of each Liability Coverage Part, represents the
           maximum amount payable under each Liability Coverage Part during the Policy Period for any one Claim
           and in the aggregate as set forth in each such Liability Coverage Part.
        C. Defense Costs are part of, and not in addition to, the Limit of Liability of each Liability Coverage Part.
        D. The remaining portion of each of the limits of liability described above shall be the limits of liability available
           during any Extended Reporting Period applicable to any Coverage Part.
V.      REPORTING
        A. Notice of any Claim under any Liability Coverage Part is considered timely when reported to the Insurer as
           soon as practicable after the Parent Company’s chief executive officer or chief financial officer first becomes
           aware of such Claim. The Insurer shall not assert that notice of a Claim was untimely unless the Insurer is
           materially prejudiced by the untimely notice. However, in no event shall any notice be provided later than:
            1. if the applicable Liability Coverage Part expires (or is otherwise terminated) without being renewed with
               the Insurer, 60 days after the effective date of such expiration or termination; or
            2. the expiration date of the Extended Reporting Period, if applicable.
        B. Notice requirements involving any Non-Liability Coverage Part shall be in accordance with the reporting
           requirements set forth in such Non-Liability Coverage Part.
        C. Notice of any circumstance which could give rise to a Claim under any Liability Coverage Part is optional. If
           an Insured elects to report any circumstance which could give rise to a Claim:
            1. such notice shall include information regarding the nature of any Wrongful Acts or alleged or potential
               damages and the names of any actual or potential defendants; and
            2. any Claim that may subsequently arise out of a reported circumstance shall be deemed to have been first
               made during the Policy Period in which such circumstance was first reported.
VI.     DEFENSE AND SETTLEMENT
        A. With respect to any Claim under any Liability Coverage Part, the Insurer shall have the right and duty to
           defend any Claim, unless otherwise specifically stated in a particular Liability Coverage Part. The Insurer
           shall have such right and duty to defend even if any of the allegations in such Claim are groundless, false or
           fraudulent. Any such duty to defend shall cease upon exhaustion of the applicable Limit of Liability.
        B. With respect to any Claim under any Liability Coverage Part:
            1. the Insured shall:
                (a) not agree to any settlement, stipulate to any judgment, incur any Defense Costs, admit any liability or
                    assume any contractual obligation, without the Insurer’s prior written consent, provided that, unless
                    otherwise stated in a particular Liability Coverage Part, the Insured may settle any Claim, without the
                    Insurer’s prior written consent, where the amount of such settlement, including Defense Costs, does
                    not exceed the applicable Retention or Deductible;
                (b) not do anything that could prejudice the Insurer’s position or its potential or actual rights of recovery;
                    and
                (c) agree to provide the Insurer with all information, assistance and cooperation which the Insurer may
                    reasonably require,
                provided that the failure of any Insured to comply with any of the requirements in paragraphs (a) - (c)
                above, shall not impair the rights of any Insured Person under this Policy; and
            2. the Insurer:

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                (a) may make any investigation it deems reasonably necessary and may, with the consent of the Insureds,
                    make any settlement of any Claim it deems appropriate; and
                (b) shall not be liable for any such settlement, stipulation, incurred Defense Costs, admission or assumed
                    obligation to which it has not given its prior written consent, and the Insurer shall not unreasonably
                    withhold such consent.
VII.    ALLOCATION
        If in any Claim, the Insureds who are afforded coverage for a Claim incur Loss that is covered by this Policy and
        loss that is not covered by this Policy because such Claim includes both covered and uncovered matters, 100% of
        Defense Costs incurred by such Insured shall be covered Loss, and all loss other than Defense Costs shall be
        allocated between covered Loss and uncovered loss based upon the relative legal exposures of the parties to such
        matters.
VIII. TREATMENT OF RELATED CLAIMS
        All Related Claims shall be deemed a single Claim first made during the policy period in which the earliest of such
        Related Claims was either first made or deemed to have been first made in accordance with Section V.
        REPORTING above.
IX.     SUBROGATION
        A. In the event of any payment under this Policy, the Insurer shall be subrogated to the extent of such payment to
           all of the Insureds’ rights of recovery, and the Insureds shall take all reasonable actions to secure and
           preserve the Insurer’s subrogation rights.
        B. In no event shall the Insurer exercise any subrogation right against an Insured Person. In any subrogation
           action against a Company, it is agreed that each Company agrees to fulfill any indemnification obligations to
           the fullest extent permitted by law and any contract or agreement providing an indemnification obligation
           exceeding any such law.
        C. If the Insurer recovers, either through subrogation or recoupment, any portion of an amount paid under this
           Policy, the Insurer shall reinstate the applicable limit of liability with any amounts recovered up to such amount
           paid, less any costs incurred by the Insurer in its recovery efforts.
X.      EXTENDED REPORTING PERIOD
        With respect to all Liability Coverage Parts:
        A. If this Policy does not renew, or terminates other than for non-payment of premium, the Insureds shall have the
           right to purchase an ERP for the premium and time period stated in Item 6 of the Declarations. In the event of
           the non-renewal or termination of one or more Liability Coverage Parts of this Policy, the Insureds may
           purchase an ERP solely as respects the Liability Coverage Part(s) that has been non-renewed or terminated.
        B. The right to an ERP shall lapse unless written notice of election to purchase such ERP, together with payment
           of the specified premium, is received by the Insurer within 30 days after the effective date of non-renewal or
           termination of the Policy. In the event the Parent Company elects not to purchase an ERP and an individual
           Insured or group of Insureds elects to purchase such ERP, such ERP shall only apply to Claims against such
           Insured or group of Insureds.
        C. The premium for the ERP shall be deemed fully earned at the inception of the ERP.
        D. Any ERP purchased shall become part of the Policy Period, extending such Policy Period to the expiration of
           the time period stated in Item 6 of the Declarations, but only with respect to Loss on account of a Claim for a
           Wrongful Act taking place before the effective date of non-renewal or termination.
XI.     CHANGES IN EXPOSURE
        A. New Companies and Old Companies
            This Policy’s treatment of Subsidiaries shall be as stated below and as supplemented by any individual
            Coverage Part.
            Any Insured of a Subsidiary:
            1. acquired before or during the Policy Period is eligible for coverage under any:
                (a) Liability Coverage Part, but only for Loss on account of a Claim for a Wrongful Act which occurs
                    after the date of such acquisition; and



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               (b) Non-Liability Coverage Part, but only after the effective date of such acquisition, and with respect to
                   the Crime Coverage Part, subject to Section VIII. Other Insurance of such Coverage Part.
           2. ceasing to be a Subsidiary before or during the Policy Period is eligible for coverage under any:
               (a) Liability Coverage Part, but only for Loss on account of a Claim for a Wrongful Act which occurs
                   while such entity was a Subsidiary; and
               (b) Non-Liability Coverage Part, as provided in such Non-Liability Coverage Part, but such Subsidiary
                   and its Insureds shall cease to be Insureds under such Non-Liability Coverage Part as of the date of
                   such cessation.
       B. Acquisition of the Parent Company
           In the event of a Change in Control of the Parent Company during the Policy Period:
           1. any Liability Coverage Part shall remain in force until the expiration of the Policy Period, but only for any
              Claim for a Wrongful Act which occurs prior to such acquisition;
           2. the entire premium for this Policy shall be deemed fully earned as of the effective date of such Change in
              Control; and
           3. the Parent Company shall be entitled to receive a quote for an extension of the Liability Coverage Parts
              (“Run-Off Coverage”) solely for Claims for Wrongful Acts which occurred prior to a Change in Control.
              Coverage offered pursuant to such quote shall be subject to additional or different terms and conditions and
              payment of additional premium. Any Run-Off Coverage purchased shall replace any Extended Reporting
              Period provided under Section X. EXTENDED REPORTING PERIOD.
XII.   NOTICE
       A. All notices to the Insurer under this Policy of any event, loss, Claim or circumstances which could give rise to a
          Claim shall be given in writing to the address listed in Item 5A of the Declarations, and any such notice shall be
          deemed notice under the Policy in its entirety.
       B. All other notices to the Insurer under this Policy shall be given in writing to the address listed in Item 5B of the
          Declarations.
       C. Any notice under this Policy shall be effective on the date of mailing or receipt by the Insurer, whichever is
          earlier.
XIII. TERMINATION OF POLICY
       This Policy shall terminate at the earliest of:
       A. 20 days after receipt by the Parent Company of written notice from the Insurer of termination for non-payment
          of premium;
       B. expiration of the Policy Period; or
       C. surrender of the Policy to the Insurer by the Parent Company or notice to the Insurer by the Parent Company
          stating when such cancellation will take effect, and in either case any returned premium shall be computed on a
          pro rata basis.
XIV. REPRESENTATIONS, SEVERABILITY AND NON-RESCINDABLE COVERAGE
       A. In issuing this Policy, the Insurer has relied upon the information and representations in the Application as
          being true and accurate, and the Application is the basis for, and considered incorporated into, this Policy.
       B. The Application shall be construed as a separate request for coverage by each Insured, without any
          knowledge possessed by an Insured being imputed to any other Insured Person.
       C. If the Application contains any misrepresentation made with the actual intent to deceive or which, for reasons
          other than simple negligence or oversight, materially affect the Insurer’s acceptance of the risk or the hazard
          assumed, the Insurer shall not be liable for Loss on account of any Claim based upon, arising out of or
          resulting from either of such misrepresentations:
           1. with respect to any Insured Person who had actual knowledge of any misrepresentation described in
              paragraph C above, and the Insurer can demonstrate that with such actual knowledge, such Insured
              Person reasonably believed that a Claim would arise from such misrepresentation;
           2. with respect to any Company, if the Insured Person described in paragraph 1 above is a past or present
              chief executive officer or chief financial officer of the Parent Company.


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      D. The Insurer shall not be entitled under any circumstances to void or rescind this Policy with respect to any
         Insured.
XV.   EFFECT OF BANKRUPTCY
      Bankruptcy or insolvency of any Insured shall not relieve the Insurer of its obligations nor deprive the Insurer of its
      rights or defenses under this Policy.
XVI. WORLDWIDE TERRITORY
      This Policy shall apply anywhere in the world, and any reference to laws, however described, shall include all U.S.
      federal, state and local statutory laws, all amendments to and rules and regulations promulgated under any such
      laws, common law, and any equivalent body of law anywhere in the world, unless specifically stated to the contrary.
XVII. ROLE OF THE PARENT COMPANY
      The Parent Company shall act on behalf of each Insured with respect to paying premiums, receiving any return
      premiums, agreeing to endorsements to this Policy and the giving or receiving of any notice provided for in this
      Policy (except notices of a Claim or circumstance which could give rise to a Claim or notice to apply for an ERP).
XVIII. VALUATION AND FOREIGN CURRENCY
      All premiums, limits, retentions, Loss and other amounts under this Policy are expressed and payable in the
      currency of the United States of America. If any element of Loss under this Policy is stated in a currency other than
      United States of America dollars, payment under this Policy shall be made in United States of America dollars at the
      exchange rate published in The Wall Street Journal on the date the element of Loss is due.
XIX. ALTERATION, ASSIGNMENT AND HEADINGS
      A. Any change in or modification of this Policy or assignment of interest under this Policy must be agreed to in
         writing by the Insurer.
      B. The descriptions and headings and sub-headings of this Policy are solely for convenience, and form no part of
         the terms, conditions and limitations of coverage.

XX.   ESTATES, HEIRS, LEGAL REPRESENTATIVES, ASSIGNS, SPOUSES AND DOMESTIC PARTNERS

      With respect to any Liability Coverage Part, Insured Person shall include:
      A. the estate, heirs, legal representatives or assigns of any Executive, if such Executive is deceased, legally
         incompetent, insolvent or bankrupt; and
      B. the lawful spouse or domestic partner of any Executive solely by reason of such spouse’s or domestic
         partner’s: 1. status as such; or 2. ownership interest in property which a claimant seeks as recovery for an
         alleged Wrongful Act of such Executive,
      provided that no coverage shall apply with respect to loss arising from an act, error or omission by any estate, heir,
      legal representative, assign, spouse or domestic partner of an Insured Person.
XXI. TRADE SANCTIONS
      This insurance coverage does not apply to the extent that trade or economic sanctions of any country prohibit the
      insurer or any member of the insurer’s group from providing insurance coverage.
XXII. GLOSSARY
      The following terms shall have the meaning ascribed to such terms in each applicable Coverage Part: Claim,
      Defense Costs, Insured, Insured Person, Loss and Wrongful Act.
      A. Application means where provided to the Insurer, the application and any accompanying documentation
         submitted to the Insurer for this Policy or any documentation submitted to the Insurer in connection with the
         underwriting of this Policy.
      B. Change in Control means:
          1. the Parent Company’s merger with, or acquisition by, another entity or the acquisition of all or substantially
             all of its assets by another entity, such that the Parent Company is not the surviving entity; or
          2. when a person or entity or group of persons or entities acting in concert, acquires securities or voting rights
             which result in ownership or voting control by such person(s) or entity(ies) of more than 50% of the



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              outstanding securities or voting rights representing the present right to vote for or appoint directors or
              Managers of the Parent Company.
     C. Company means the Parent Company and any Subsidiary, any foundation, political action committee or
        charitable trust controlled or sponsored by the Parent Company or any Subsidiary, and the Parent Company
        or any Subsidiary in its capacity as a debtor in possession under United States bankruptcy law.
     D. Employee means any natural person whose labor or service was, is or will be engaged and directed by a
        Company, including a part-time, seasonal, leased and temporary employee, intern or volunteer. Employee
        does not include an independent contractor.
     E. ERISA means the Employee Retirement Income Security Act of 1974 (including amendments relating to the
        Consolidated Omnibus Budget Reconciliation Act of 1985 (“COBRA”) and the Health Insurance Portability and
        Accountability Act of 1996 (“HIPAA”)).
     F. Executive means any natural person who was, now is or shall become:
          1. a duly elected or appointed director, officer, Manager, trustee, regent, governor, risk manager, comptroller
             or in-house general counsel of any Company organized in the United States of America, or in a functionally
             equivalent or comparable role to any of the foregoing; or
          2. a holder of a functionally equivalent position or comparable role to those described in paragraph 1 above in
             a Company that is organized in a jurisdiction other than the United States of America, including any
             position on an advisory board or committee.
     G. Extradition means any formal process by which an Insured located in any country is or is sought to be
        surrendered to any other country for trial or otherwise to answer any criminal accusation, including the
        execution of an arrest warrant where such execution is an element of such process.
     H. Financial Impairment means the status of a Company resulting from: 1. the appointment by a state or federal
        official, agency or court of any receiver, conservator, liquidator, trustee, rehabilitator or similar official to control,
        supervise, manage or liquidate such Company; or 2. such Company becoming a debtor in possession under
        United States bankruptcy law.
     I.   Liability Coverage Part means any Coverage Part identified in this Policy as a “Liability Coverage Part” within
          the heading to such Coverage Part or providing third party liability coverage in such Coverage Part.
     J.   Manager means any natural person, who was, now is, or shall become, a manager, member of the Board of
          Managers or equivalent executive of a Company that is a limited liability company.
     K. Non-Liability Coverage Part means any Coverage Part or insuring clause in this Policy that does not provide
        any third party liability coverage.
     L. Parent Company means the entity named in Item 1 of the Declarations.
     M. Policy Period means the period of time stated in Item 2 of the Declarations of this GTC (subject to any
        termination in accordance with Section XIII. TERMINATION OF POLICY) and the ERP, if applicable.
     N. Pollutants means any solid, liquid, gaseous or thermal irritants or contaminants, including smoke, soot, vapor,
        fumes, acids, chemicals, alkalis, asbestos, asbestos products or waste. Waste includes materials to be
        reconditioned, recycled or reclaimed.
     O. Related Claims means all Claims based upon, arising out of or resulting from the same or related, or having a
        common nexus of, facts, circumstances or Wrongful Acts.
     P. Subsidiary means:
          1. any entity while more than 50% of the outstanding securities or other equity ownership, representing the
             present right to vote for election of, or to appoint, directors, Managers, or the foreign equivalent of any such
             directors or Managers of such entity, are owned or controlled by the Parent Company directly or indirectly
             through one or more Subsidiaries; or
          2. any entity while the Parent Company has the right, pursuant to either written contract or the bylaws,
             charter, operating agreement or similar documents of a Company, to elect or appoint a majority of the
             Board of Directors of a corporation or Managers.




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                                                                The Solution for Directors & Officers and Entity Liability
                                                                                              Coverage Part Declarations
                                            QBE Specialty Insurance Company
                                Wall Street Plaza, 88 Pine Street, New York, New York 10005
              Home Office: c/o CT Corporation System, 314 East Thayer Avenue, Bismarck, North Dakota 58501


THIS COVERAGE PART PROVIDES CLAIMS MADE COVERAGE, WHICH APPLIES ONLY TO CLAIMS FIRST MADE
AGAINST THE INSUREDS DURING THE POLICY PERIOD. THE LIMIT OF LIABILITY TO PAY JUDGMENTS OR
SETTLEMENT AMOUNTS SHALL BE REDUCED AND MAY BE EXHAUSTED BY PAYMENT OF DEFENSE COSTS.
PLEASE READ THIS POLICY CAREFULLY.

Item 1:        Parent Company:                Hawaii Island Air, Inc.

Item 2:        A. Limit of Liability
                     $5,000,000 per Claim
                     $5,000,000 in the aggregate

               B. Securityholder Derivative Demand Investigation Limit: $250,000

Item 3:        Additional Limit for Non-Indemnifiable Loss: $1,000,000

Item 4:        Retention:

               A. Insuring Clause B: $50,000 per Claim
               B. Insuring Clause C: $50,000 per Claim

Item 5:        Pending or Prior Proceedings Date: March 2, 2016




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                                                                                 The Solution for Private Company
                                                                             Directors & Officers and Entity Liability
                                                                                                      Coverage Part
 In consideration of the payment of the premium and subject to the General Terms and Conditions, the Insurer and the
Insureds agree as follows:
I.      INSURING CLAUSE
        A. Side A - Non-Indemnifiable Loss Coverage for Insured Persons
             The Insurer shall pay, on behalf of an Insured Person, Loss on account of a Claim first made during the
             Policy Period, to the extent that such Loss has not been paid or indemnified by any Company.
        B. Side B - Corporate Reimbursement Coverage for Indemnification of Insured Persons
             The Insurer shall pay, on behalf of a Company, Loss on account of a Claim first made during the Policy
             Period to the extent the Company pays or indemnifies an Insured Person for such Loss.
        C. Side C - Entity Coverages
             The Insurer shall pay, on behalf of a Company, Loss on account of a Claim, and Defense Costs on account
             of a Securityholder Derivative Demand Investigation, first made during the Policy Period.
II.     EXCLUSIONS
        In addition to the Exclusions set forth in Section II. EXCLUSIONS of the GTC, no coverage shall be provided under
        this Coverage Part for Loss on account of that portion of a Claim:
        A. Insured v. Insured - brought by, or on behalf of:
             1. a Company against another Company;
             2. a Company or Outside Entity against an Insured Person;
             3. an Insured Person, in any capacity, against an Insured,
             provided that:
             (a) Exclusion A2 above shall not apply to a Claim brought: (i) outside the United States of America, Canada or
                 their territories or possessions; (ii) while the Parent Company or Outside Entity is in Financial
                 Impairment; (iii) as a securityholder derivative action; or (iv) while an Insured Person is no longer serving
                 in his capacity as such; and
             (b) Exclusion A3 above shall not apply to any Claim: (i) for employment-related Wrongful Acts against an
                 Insured Person; (ii) for contribution or indemnity; (iii) brought by an Insured Person who has ceased
                 serving in his capacity as such for at least 1 year; or (iv) brought by, on behalf of or with the participation of
                 a whistleblower;
        B. Publicly Traded Securities - based upon, arising out of or resulting from any public offering of, or purchase or
           sale of, equity or debt securities issued by any Company or Outside Entity, provided that this Exclusion B
           shall not apply to any Claim based upon, arising out of or resulting from the Company’s: 1. securities that are
           not required to be registered; 2. failure to undertake or complete an initial public offering or sale of its securities;
           or 3. preparation for any public offering, including any “road show” presentation to potential investors or other
           similar presentation;
        Exclusions C - I below shall only apply to Insuring Clause C, Side C - Entity Coverages:
        C. Antitrust - based upon, arising out of or resulting from anti-trust, price fixing or discrimination, restraint of trade,
           monopolization, unfair trade practices, predatory pricing or false advertising;
        D. Contract - based upon, arising out of or resulting from any liability in connection with any contract or agreement
           to which a Company is a party, provided that this Exclusion D shall not apply to the extent that such Company
           would have been liable in the absence of such contract or agreement;
        E. Employment Practices - based upon, arising out of or resulting from any employment-related Wrongful Act;
        F.    Intellectual Property - based upon, arising out of or resulting from any infringement of copyright, patent,
             trademark, trade dress, trade name or service mark or any misappropriation of ideas, trade secrets or other
             intellectual property rights;


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         G. Personal Injury - based upon, arising out of or resulting from any defamation (including libel and slander),
            disparagement, wrongful entry or eviction, invasion of privacy, false arrest, false imprisonment, assault, battery,
            loss of consortium, malicious use or abuse of process or malicious prosecution.
         H. Professional Services - based upon, arising out of or resulting from the performance of or failure to perform
            Professional Services; and
         I.   Third Party Discrimination or Harassment - based upon, arising out of or resulting from any discrimination
              against, or harassment of, any third party.
         With respect to this Coverage Part, the following exceptions shall apply to Section II. EXCLUSIONS of the GTC:
         1. Exclusion A. Bodily Injury/Property Damage shall not apply to any Claim under Insuring Clause A; and
         2.   Exclusion E. Pollution shall not apply to any Claim: (a) under Insuring Clause A; or (b) brought by a
              securityholder of a Company against an Insured Person.
III.     RETENTION
         No retention shall apply to any Claim under Insuring Clause A or to any Securityholder Derivative Demand
         Investigation.
IV.      LIMIT OF LIABILITY
         A. The Securityholder Derivative Demand Investigation Limit stated in Item 2B of the Declarations of this Coverage
            Part represents the maximum amount payable under this Coverage Part during the Policy Period for Defense
            Costs on account of all Securityholder Derivative Demand Investigations, which amount shall be part of,
            and not in addition to, the Limit of Liability stated in Item 2A of such Declarations.
         B. The Additional Limit for Non-Indemnifiable Loss stated in Item 3 of the Declarations of this Coverage Part
            represents an additional limit of liability available solely to an Executive or natural person General Partner for
            Loss on account of a Claim covered under Insuring Clause A. This additional limit of liability shall be in addition
            to and not part of, and excess of any other insurance written specifically as excess of, the Limit of Liability
            stated in Item 2A of such Declarations.
V.       ADVANCEMENT
         A. If a Company fails to respond to an Insured Person’s request for indemnification within 60 days of the Insured
            Person’s request to the Company for such indemnification, then upon the reporting of the Claim, the Insurer
            shall advance Defense Costs and any other incurred Loss until such time that the Company accepts the
            Insured’s request for indemnification or the Limit of Liability set forth in Item 2A of the Declarations of this
            Coverage Part has been exhausted, whichever occurs first. In any other Claim, the Insurer shall advance
            Defense Costs on a current basis, but no later than 60 days after receipt of the legal bills and any supporting
            documentation.
         B. If it is determined by a final adjudication that any advanced Defense Costs are not covered under this
            Coverage Part, the Insureds, severally according to their respective interests, shall repay such uncovered
            Defense Costs to the Insurer, provided that nothing in this paragraph B shall limit the final non-appealable
            adjudication requirement in Exclusion B. Conduct of Section II. EXCLUSIONS of the GTC. If the Insurer
            recovers any portion of an amount paid under this Coverage Part, the Insurer shall reinstate the applicable limit
            of liability with any amounts recovered up to such amount paid, less any costs incurred by the Insurer in its
            recovery efforts.
VI.      REPORTING
         Notice of a Securityholder Derivative Demand Investigation is optional, but only Loss incurred after such
         Securityholder Derivative Demand Investigation is reported is eligible for coverage under this Coverage Part. If
         an Insured elects to report any Securityholder Derivative Demand Investigation, any Claim that may
         subsequently arise out of any reported Securityholder Derivative Demand Investigation shall be deemed to have
         been first made during the Policy Period in which such investigation was first reported.
VII.     OTHER INSURANCE
         A. With the exception of insurance written specifically as excess of the Limit of Liability of this Coverage Part, this
            Coverage Part shall be excess of and shall not contribute with any valid and collectible insurance providing
            coverage for Loss for which this Coverage Part also provides coverage, provided that any payment by an
            Insured of a retention or deductible under any such other insurance shall reduce the applicable Retention
            under this Coverage Part by the amount of such payment which would otherwise have been Loss under this
            Coverage Part.


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        B. This Coverage Part shall also be excess of and shall not contribute with any indemnity provided, and any valid
           and collectible insurance maintained, by an Outside Entity for an Insured Person serving in his capacity as
           such for the Outside Entity.
        C. Any personal umbrella excess liability insurance, independent directors liability insurance or any other similar
           personal liability insurance available to an Insured shall be specifically excess of this Coverage Part.
VIII. PRIORITY OF PAYMENTS
        A. In the event that Loss under Insuring Clause A and any other Loss are concurrently due under this Coverage
           Part, then the Loss under Insuring Clause A shall be paid first. In all other instances, the Insurer may pay Loss
           as it becomes due under this Coverage Part without regard to the potential for other future payment obligations
           under this Coverage Part.
        B. The coverage provided by this Coverage Part is intended first and foremost for the benefit and protection of
           Insured Persons. In the event a liquidation or reorganization proceeding is commenced by or against a
           Company pursuant to United States bankruptcy law:
            1. the Insureds hereby agree not to oppose or object to any efforts by the Insurer, the Company or an
               Insured to obtain relief from any stay or injunction issued in such proceeding; and
            2.   the Insurer shall first pay Loss on account of a Claim for a Wrongful Act occurring prior to the date such
                 liquidation or reorganization proceeding commences, and then pay Loss in connection with a Claim for a
                 Wrongful Act occurring after the date such liquidation or reorganization proceeding commences.
IX.     SECURITIES OFFERING
        If during the Policy Period, a Company intends a public offering of securities under the Securities Act of 1933 and
        gives written notice to the Insurer within 30 days of the effective date of the Registration Statement for such offering,
        together with any additional information requested by the Insurer, the Insurer shall provide the Company with a
        quote for coverage with respect to such offering. Coverage offered pursuant to this quote shall include coverage for
        Wrongful Acts occurring in the course of any "road show" presentation to potential investors or other similar
        presentation and shall be subject to additional or different terms and conditions and payment of additional premium.
X.      GLOSSARY
        A. Claim means:
            1.   with respect to Insuring Clauses A and B, any investigation, evidenced by any written document, including a
                 subpoena, target letter or search warrant, against an Insured Person for a Wrongful Act; and
            2. with respect to Insuring Clauses A, B and C:
                 (a) a written demand for monetary or non-monetary (including injunctive) relief, including demands for
                     arbitration, mediation, waiving or tolling of a statute of limitations or Extradition;
                 (b) a civil or criminal proceeding, evidenced by: (i) the service of a complaint or similar pleading in a civil
                     proceeding; or (ii) the filing of an indictment, information or similar document or an arrest in a criminal
                     proceeding; and
                 (c) a formal administrative or regulatory proceeding, evidenced by the filing of a formal notice of charges or
                     the entry of a formal order of investigation,
                 against an Insured for a Wrongful Act, including any appeal therefrom.
            The time when a Claim shall be deemed first made for the purposes of this Coverage Part shall be the date on
            which the Claim is first made against, served upon or received by the Insured or the applicable notice or order
            is filed or entered.
        B. Defense Costs means that part of Loss consisting of:
            1.   reasonable costs, charges, fees (including, attorneys' fees and experts' fees) and expenses (other than
                 regular or overtime wages, salaries, fees or benefits of any Insured) incurred in: (a) investigating,
                 defending, opposing or appealing any Claim or (b) any Securityholder Derivative Demand Investigation;
                 and
            2.   the premium for appeal, attachment or similar bonds (but the Insurer shall be under no obligation to furnish
                 any bond).
        C. Insured means any Company or Insured Person.
        D. Insured Person means:
            1. an Executive;
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         2.   an Employee, but only with respect to a Claim: (a) brought by a securityholder of a Company in his
              capacity as such; or (b) that is also brought and maintained against an Insured Person included in
              paragraph 1 above; or
         3.   a holder of an equivalent position to those included in paragraph 1 above in an Outside Entity, while
              serving at the specific request or direction of the Company.
     E. Loss means the amount that an Insured becomes legally obligated to pay on account of any Claim including:
         1. compensatory damages;
         2.   judgments and settlements, including a judgment or settlement awarding plaintiffs’ attorneys fees, provided
              that with respect to any settlement including plaintiffs’ attorneys fees, that portion of the settlement can be
              demonstrated to be reasonable, taking into consideration the nature of legal action, time and expense
              involved in prosecuting such action, and the likelihood of a court awarding a similar amount as part of a
              judgment;
         3. pre and post-judgment interest;
         4. Defense Costs;
         5.   solely with respect to Insuring Clause A, taxes imposed by law upon an Insured Person in his capacity as
              such in connection with any bankruptcy, receivership, conservatorship or liquidation of a Company, to the
              extent such taxes are insurable by law; and
         6.   punitive, exemplary or multiplied damages, fines or penalties, if and to the extent that any such damages,
              fines or penalties are insurable under the law of the jurisdiction most favorable to the insurability of such
              damages, fines or penalties.
         In determining the most favorable jurisdiction as set forth in paragraph 6 above, due consideration shall be
         given to the jurisdiction with a substantial relationship to the relevant Insureds or to the Claim giving rise to
         such damages, fines or penalties, and the Insurer shall not challenge any opinion of independent legal counsel
         (mutually agreed to by the Insurer and the Insured) that such damages, fines or penalties are insurable under
         applicable law.
         Loss does not include any portion of such amount that constitutes any:
         (a) amount not insurable under the law pursuant to which this Coverage Part is construed;
         (b) cost incurred to comply with any order for injunctive or other non-monetary relief, or to comply with an
             agreement to provide such relief;
         (c) amount that represents or is substantially equivalent to an increase in consideration paid (or proposed to be
             paid) by a Company in connection with its purchase of any securities and assets;
         (d) tax, other than taxes described in paragraph 5 above; or
         (e) cost incurred to clean up, remove, contain, treat, detoxify or neutralize Pollutants.
     F. Outside Entity means:
         1. any non-profit entity, community chest, fund or foundation; or
         2. any other entity specifically added as an Outside Entity by endorsement to this Coverage Part,
         that is not a Company.
     G. Professional Services means services which are performed for others for a fee.
     H. Securityholder Derivative Demand Investigation means an investigation by a Company to determine
        whether it is in the best interest of such Company to prosecute the claims alleged in a securityholder derivative
        demand or lawsuit. Where a Securityholder Derivative Demand Investigation is initiated because of a
        lawsuit rather than a demand, any coverage provided for Defense Costs on account of such Securityholder
        Derivative Demand Investigation shall in no way limit the coverage otherwise afforded under this Coverage
        Part to an Insured for Loss on account of a Claim.
     J. Wrongful Act means:
         1.   any error, misstatement, misleading statement, act, omission, neglect, or breach of duty committed,
              attempted, or allegedly committed or attempted by: (a) an Insured Person in his capacity as such; or (b) by
              a Company; or
         2. any other matter claimed against an Insured Person solely by reason of serving in his capacity as
            such.
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                                                                                                              QBBP-3001 (05-14)


                                                                               The Solution for Employment Practices Liability
                                                                                                   Coverage Part Declarations


                                            QBE Specialty Insurance Company
                                Wall Street Plaza, 88 Pine Street, New York, New York 10005
              Home Office: c/o CT Corporation System, 314 East Thayer Avenue, Bismarck, North Dakota 58501


THIS COVERAGE PART PROVIDES CLAIMS MADE COVERAGE, WHICH APPLIES ONLY TO CLAIMS FIRST MADE
AGAINST THE INSUREDS DURING THE POLICY PERIOD. THE LIMIT OF LIABILITY TO PAY JUDGMENTS OR
SETTLEMENT AMOUNTS SHALL BE REDUCED AND MAY BE EXHAUSTED BY PAYMENT OF DEFENSE COSTS.
PLEASE READ THIS POLICY CAREFULLY.

Item 1:        Parent Company:                Hawaii Island Air, Inc.

Item 2:        Limit of Liability

                          $5,000,000 per Claim
                          $5,000,000 in the aggregate

Item 3:        Retention: $50,000 per Claim

Item 4:        Pending or Prior Proceedings Date: March 2, 2016




QBBP-3001 (05-14)                                                                                                    Page 1 of 1
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                                                           The Solution for Employment Practices Liability
                                                                                                         Coverage Part
In consideration of the payment of the premium and subject to the General Terms and Conditions, the Insurer and the
Insureds agree as follows:
I.       INSURING CLAUSE
         The Insurer shall pay, on behalf of an Insured, Loss on account of a Claim first made during the Policy Period.
II.      EXCLUSIONS
         In addition to the Exclusions set forth in Section II. EXCLUSIONS of the GTC, no coverage shall be provided under
         this Coverage Part for Loss on account of that portion of a Claim:
         A. Breach of Written Employment Contract - based upon, arising out of or resulting from any breach of any written
            employment contract or agreement, provided that this Exclusion A shall not apply to: 1. Loss to the extent an
            Insured would have been liable for such Loss in the absence of such written employment contract or
            agreement; or 2. Defense Costs;
         B. OSHA, Workforce Notification and Labor Relations - based upon, arising out of or resulting from any violation of
            the responsibilities, obligations or duties imposed by the Occupational Safety and Health Act, the Worker
            Adjustment and Retraining Notification Act, the National Labor Relations Act or any similar law; and
         C. Workers Compensation, Disability Benefits, Social Security, Unemployment - based upon, arising out of or
            resulting from any failure to comply with any obligation under any workers compensation, disability benefits,
            social security or unemployment insurance law;
         Exclusions A - C above shall not apply to any Claim for Retaliation.
         With respect to this Coverage Part, the following exceptions shall apply to Section II. EXCLUSIONS of the GTC:
         1. Exclusion A. Bodily Injury/Property Damage shall not apply to Loss for any mental anguish, emotional distress
            or humiliation when alleged as part of a Claim otherwise covered under this Coverage Part; and
         2. Exclusion C. ERISA and E. Pollution shall not apply to any Claim for Retaliation.
III.     OTHER INSURANCE
         A. With respect to any Claim for an Employment Practices Wrongful Act, other than that portion of a Claim
            made against a leased or temporary employee or Independent Contractor, this Coverage Part shall be
            primary insurance.
         B. With respect to:
             1. that portion of any Claim made against any leased or temporary employee or Independent Contractor;
                or
             2. any Claim for a Third Party Wrongful Act, where Loss is covered under this Coverage Part and other
                valid and collective insurance,
             this Coverage Part shall be specifically excess of and shall not contribute with any other valid and collectible
             insurance policy (other than a policy that is issued specifically as excess of the insurance afforded by the
             Coverage Part), regardless of whether such other insurance is stated to be primary, contributory, excess,
             contingent or otherwise.
IV.      COORDINATION OF COVERAGE
         Any Loss covered under this Coverage Part and one or more other Liability Coverage Parts shall first be covered
         under this Coverage Part, subject to its terms, conditions and limitations. Any remaining portion of such Loss shall
         be covered under such other Liability Coverage Part(s), subject to its terms, conditions and limitations.
V.       GLOSSARY
         A. Benefits means any payments (including insurance premiums), deferred compensation, perquisites or fringe
            benefits, in connection with an employee benefit plan and any other payment to or for the benefit of an
            employee arising out of the employment relationship. However, Benefits shall not include salary, wages,
            bonuses, commissions, Stock Benefits or non-deferred cash incentive compensation.




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     B. Claim means any:
          1. written demand for monetary or non-monetary (including injunctive) relief, including demands for arbitration,
             waiving or tolling of a statute of limitations, reinstatement, reemployment or re-engagement;
          2. civil or criminal proceeding, evidenced by: (a) the service of a complaint or similar pleading in a civil
             proceeding; or (b) the filing of an indictment, information or similar document or an arrest in a criminal
             proceeding; and
          3. arbitration proceeding pursuant to an employment contract or agreement, policy or practice of a Company;
          4. administrative, regulatory or tribunal proceeding, other than a labor, grievance or other proceeding under a
             collective bargaining agreement, evidenced by the filing of a formal notice of charges or the entry of a
             formal order of investigation; or
          5. any audit of an Insured conducted by the United States of America Office of Federal Contract Compliance
             Programs (“OFCCP”),
          against an Insured for a Wrongful Act, including any appeal therefrom.
          The time when a Claim shall be deemed first made for the purposes of this Coverage Part shall be the date on
          which the Claim is first made against, served upon or received by the Insured or the applicable notice or order
          is filed or entered.
     C. Defense Costs means that part of Loss consisting of:
          1. reasonable costs, charges, fees (including, attorneys' fees and experts' fees) and expenses (other than
             regular or overtime wages, salaries, fees or benefits of any Insured) incurred in investigating, defending,
             opposing or appealing any Claim; or
          2. the premium for appeal, attachment or similar bonds (but the Insurer shall be under no obligation to furnish
             any bond).
     D. Discrimination means any violation of any employment discrimination law.
     E. Employment Practices Wrongful Act means any:
          1. breach of any employment contract or agreement or contractual obligation, including any contract or
             agreement or contractual obligation arising out of any employee handbook, personnel manual, policy
             statement or other representation;
          2. Discrimination;
          3. Harassment;
          4. Retaliation;
          5. Workplace Tort; or
          6. Wrongful Employment Decision,
          committed, attempted, or allegedly committed or attempted by an Insured while acting in his or its capacity as
          such.
     F. Harassment means any:
          1. sexual harassment that is made a condition of employment with, used as a basis for employment
             decisions by, interferes with performance or creates an intimidating, hostile or offensive working environment
             within, a Company; or
          2. workplace harassment, including bullying that interferes with performance or creates an intimidating, hostile
             or offensive working environment within a Company.
     G. Independent Contractor means any natural person working for a Company pursuant to a written contract or
        agreement between such natural person and the Company which specifies the terms of the Company’s
        engagement of such natural person.
     H. Insured means any Company or Insured Person.
     I.   Insured Person means any:
          1. Executive or Employee; or
          2. Independent Contractor, but only if the Company agrees to indemnify the Independent Contractor in the
             same manner as Employees for liability arising out of a Claim.

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     J.   Loss means the amount that an Insured becomes legally obligated to pay on account of any Claim including:
          1. compensatory damages (including back pay and front pay);
          2. judgments and settlements, including a judgment or settlement awarding plaintiffs’ attorneys fees, provided
             that with respect to any settlement including plaintiffs’ attorney fees, that portion of the settlement can be
             demonstrated to be reasonable, taking into consideration the nature of legal action, time and expense
             involved in prosecuting such action, and the likelihood of a court awarding a similar amount as part of a
             judgment;
          3. pre and post-judgment interest;
          4. liquidated damages awarded pursuant to the Age Discrimination in Employment Act, Family Medical Leave
             Act or Equal Pay Act;
          5. Defense Costs; and
          6. punitive, exemplary or multiplied damages, if and to the extent that any such damages are insurable under
             the law of the jurisdiction most favorable to the insurability of such damages.
          In determining the most favorable jurisdiction as set forth in paragraph 6 above, due consideration shall be
          given to the jurisdiction with a substantial relationship to the relevant Insureds, to the Company, or to the
          Claim giving rise to such damages, and the Insurer shall not challenge any opinion of independent legal
          counsel (mutually agreed to by the Insurer and the Insured) that such damages are insurable under applicable
          law.
          Loss does not include any portion of such amount that constitutes any:
          (a) amount not insurable under the law pursuant to which this Coverage Part is construed;
          (b) cost incurred to comply with any order for injunctive or other non-monetary relief, or to comply with an
              agreement to provide such relief;
          (c) future salary, wages, commissions, or Benefits or other monetary payments of a claimant who has been or
              shall be hired, promoted or reinstated to employment pursuant to a settlement, order or other resolution of
              any Claim;
          (d) salary, wages, commissions, Benefits or other monetary payments which constitute severance payments
              or payments pursuant to a notice period;
          (e) Benefits due or to become due or the equivalent value of such Benefits;
          (f) cost associated with providing any accommodation for persons with disabilities or any other status which
              is protected under any law, including the Americans with Disabilities Act and the Civil Rights Act of 1964;
          (g) tax, fine or penalty imposed by law; or
          (h) cost incurred to clean up, remove, contain, treat, detoxify or neutralize Pollutants.
     K. Retaliation means retaliatory treatment against an Employee of a Company on account of such individual:
          1. exercising his or her rights under law, refusing to violate any law or opposing any unlawful practice;
          2. having assisted or testified in or cooperated with a proceeding or investigation (including any internal
             investigation conducted by the Company’s human resources or legal department) regarding alleged
             violations of law by the Insured;
          3. disclosing or threatening to disclose to a superior or any governmental agency any alleged violations of law;
             or
          4. filing any claim against the Company under the Federal False Claims Act, Section 806 of the
             Sarbanes Oxley Act or any other whistleblower law.
     L. Stock Benefits means any:
          1. offering, plan or agreement between a Company and any Employee which grants stock, warrants,
             shares or stock options of the Company to such Employee, including grants of restricted stock,
             performance stock shares, membership shares or any other compensation or incentive granted in the form
             of securities of the Company; or
          2. payment or instrument, the amount or value of which is derived from the value of securities of the
             Company, including stock appreciation rights or phantom stock plans or arrangements,
       provided that Stock Benefits shall not include amounts claimed under any employee stock ownership plans
       or employee stock purchase plans.
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    M. Third Party means any natural person who is not an Insured Person.
     N. Third Party Wrongful Act means any sexual harassment, or discrimination based upon status protected under
        any anti-discrimination law, against a Third Party committed, attempted, or allegedly committed or attempted
        by any Insured while acting in his or its capacity as such.
     O. Workplace Tort means any employment-related:
        1. misrepresentation, defamation (including libel and slander), invasion of privacy, wrongful infliction of
           emotional distress, mental anguish or humiliation; or
        2. negligent retention, supervision, hiring or training, failure to provide or enforce consistent employment-
           related corporate policies and procedures, false imprisonment, negligent evaluation, wrongful discipline or
           wrongful deprivation of career opportunity,
        but only when alleged as part of a Claim for any Wrongful Employment Decision, breach of employment
        contract, Discrimination, Harassment or Retaliation.
     P. Wrongful Act means an Employment Practices Wrongful Act or Third Party Wrongful Act.
     Q. Wrongful Employment Decision means any wrongful termination, discharge of employment, demotion,
        denial of tenure, failure or refusal to employ or promote, or wrongful or negligent employee reference.




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POLICY
  CaseNUMBER:    QPL0192298
        1:22-cv-00450-SOM-KJM          Document 81-20                         INTERLINE
                                             Filed 07/31/23 Page 35 of 149 PageID.982
Endorsement Effective Date: March 2, 2017                                                              QBIL-0199 (06-13)




          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                 Service of Process Clause

                                                      HAWAII

Upon any cause of action under this policy, QBE Specialty Insurance Company (hereafter “the Company”) may be sued in
the district court of the county in which the cause of action arose.

The Company appoints the Commissioner of Insurance for the State of Hawaii as its attorney for acceptance of service of
all legal process issued in this state in any action or proceeding arising out of this policy. Service of process upon the
Commissioner shall be lawful service upon the Company.

The Company further designates

                                             The Corporation Company, Inc.
                                             900 Fort Street Mall, Suite 1800
                                                  Honolulu, HI 96813



as the person to whom the Commissioner is authorized to mail such process or a true copy thereof.




All other terms and conditions of this policy remain unchanged.




QBIL-0199 (06-13)                                                                                             Page 1 of 1
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POLICY
   CaseNUMBER:     QPL0192298
          1:22-cv-00450-SOM-KJM       Document 81-20
                                             Filed 07/31/23 Page 36 of 149 PageID.983
Effective Date of Endorsement: March 2, 2017                                                         QBBPP-2090 (05-14)




          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                            PRIOR ACTS EXCLUSION

This endorsement modifies insurance provided under the following:
DIRECTORS & OFFICERS AND ENTITY LIABILITY COVERAGE PART
EMPLOYMENT PRACTICES LIABILITY COVERAGE PART


It is hereby agreed that Section II. EXCLUSIONS is amended by the addition of the following:

Prior Acts - based upon, arising out of or resulting from any Wrongful Act actually or allegedly committed or attempted, in
whole or in part, prior to February 4, 2016.


All other terms and conditions of this Policy remain unchanged.




QBBPP-2090 (05-14)                                                                                             Page 1 of 1
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     Case 1:22-cv-00391-SOM-KJM Document 11-3 Filed 09/08/22 Page 23 of 31 PageID.357
 POLICY NUMBER: QPL0192298
  Case 1:22-cv-00450-SOM-KJM           Document 81-20
                                               Filed 07/31/23 Page 37 of 149 PageID.984
 Endorsement Effective Date: March 2, 2017                                                    QBBPP-2117 (04-15)




          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           INSURED PERSON AMENDED TO INCLUDE ANY ADVISORY BOARD MEMBER
                                  ENDORSEMENT


This endorsement modifies insurance provided under the following:
DIRECTORS & OFFICERS AND ENTITY LIABILITY COVERAGE PART

It is hereby agreed that:

I.   The definition of Insured Person in paragraph D. of Section X. GLOSSARY is amended by the addition of the
     following:

     An Insured Person shall include any natural person who was, now is or shall be a board observer or duly elected
     member of an advisory board including a Scientific Advisory Board.

II. Section X. GLOSSARY is amended by the addition of the following:

     Scientific Advisory Board means a group of scientists, independent from management, created by or requested by
     the Company to provide objective feedback and guidance on the Company’s progress and goals.

All other terms and conditions of this Policy remain unchanged.




QBBPP-2117 (04-15)                                                                                      Page 1 of 1

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   Case 1:22-cv-00391-SOM-KJM Document 11-3 Filed 09/08/22 Page 24 of 31 PageID.358
 POLICY NUMBER: QPL0192298
  Case 1:22-cv-00450-SOM-KJM           Document 81-20
                                             Filed 07/31/23 Page 38 of 149 PageID.985
 Endorsement Effective Date: March 2, 2017                                                          QBBPP-2168 (05-14)




          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              AMEND FORMER INSURED PERSON TIME THRESHOLD ENDORSEMENT

This endorsement modifies insurance provided under the following:
DIRECTORS & OFFICERS AND ENTITY LIABILITY COVERAGE PART

It is hereby agreed that paragraph (b)(iii) in Exclusion A. Insured v. Insured of Section II. EXCLUSIONS is replaced by the
following:

(iii) brought by an Insured Person who has ceased serving in his or her capacity as such for at least 2 year(s); or


All other terms and conditions of this Policy remain unchanged.




QBBPP-2168 (05-14)                                                                                             Page 1 of 1

         U.S. Bankruptcy Court - Hawaii #22-90006 Dkt # 1 Filed 03/08/22 Page 33 of 42
   Case 1:22-cv-00391-SOM-KJM Document 11-3 Filed 09/08/22 Page 25 of 31 PageID.359
 POLICY NUMBER: QPL0192298
  Case 1:22-cv-00450-SOM-KJM           Document 81-20
                                             Filed 07/31/23 Page 39 of 149 PageID.986
 Endorsement Effective Date: March 2, 2017                                                      QBBPP-2180 (05-14)




          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

   AMEND BODILY INJURY/PROPERTY EXCLUSION FOR SECURITYHOLDER CARVEBACK


This endorsement modifies insurance provided under the following:
DIRECTORS & OFFICERS AND ENTITY LIABILITY COVERAGE PART
EMPLOYMENT PRACTICES LIABILITY COVERAGE PART

It is hereby agreed that Section II. EXCLUSIONS, paragraph 1. is replaced by the following:

1. Exclusion A. Bodily Injury/Property Damage shall not apply to: (a) any Claim under Insuring Clause A; or (b) Loss on
   account of derivative demand or action or Claim brought by a securityholder or limited partner of a Company against
   an Insured Person.




All other terms and conditions of this Policy remain unchanged.




QBBPP-2180 (05-14)                                                                                        Page 1 of 1

         U.S. Bankruptcy Court - Hawaii #22-90006 Dkt # 1 Filed 03/08/22 Page 34 of 42
   Case 1:22-cv-00391-SOM-KJM Document 11-3 Filed 09/08/22 Page 26 of 31 PageID.360
 POLICY NUMBER: QPL0192298
  Case 1:22-cv-00450-SOM-KJM           Document 81-20
                                             Filed 07/31/23 Page 40 of 149 PageID.987
 Endorsement Effective Date: March 2, 2017                                            QBBPP-2200 (05-14)




          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        AMEND DEFINITION OF CLAIM TO INCLUDE MEDIATION
This endorsement modifies insurance provided under the following:
EMPLOYMENT PRACTICES LIABILITY COVERAGE PART

It is hereby agreed that Section V. GLOSSARY, paragraph B. Claim 1. is amended by the addition of the word
“mediation,” after the word “arbitration,”.




All other terms and conditions of this Policy remain unchanged.




QBBPP-2200 (05-14)                                                                            Page 1 of 1

         U.S. Bankruptcy Court - Hawaii #22-90006 Dkt # 1 Filed 03/08/22 Page 35 of 42
   Case 1:22-cv-00391-SOM-KJM Document 11-3 Filed 09/08/22 Page 27 of 31 PageID.361
 POLICY NUMBER: QPL0192298
  Case 1:22-cv-00450-SOM-KJM           Document 81-20
                                             Filed 07/31/23 Page 41 of 149 PageID.988
 Endorsement Effective Date: March 2, 2017                                                      QBBPP-2213 (09-14)




          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    PROFESSIONAL SERVICES EXCLUSION WITH SECURITYHOLDER CLAIM CARVEBACK


This endorsement modifies insurance provided under the following:
DIRECTORS & OFFICERS AND ENTITY LIABILITY COVERAGE PART

It is hereby agreed that Exclusion H. Professional Services in Section II. EXCLUSIONS is amended by the addition of the
following:

Exclusion H shall not apply to any Claim brought by a securityholder of a Company against a Company. However, in no
event shall any coverage be provided for any portion of such Claim that is brought by the securityholder in solely his
capacity as a client of such Company.




All other terms and conditions of this Policy remain unchanged.




       U.S.(09-14)
QBBPP-2213  Bankruptcy Court - Hawaii            #22-90006 Dkt # 1 Filed 03/08/22 Page 36 of Page
                                                                                             42 1 of 1
   Case
POLICY   1:22-cv-00391-SOM-KJM
       NUMBER:   QPL0192298             Document 11-3 Filed 09/08/22 Page 28 of 31 PageID.362
   Case 1:22-cv-00450-SOM-KJM          Document 81-20 Filed 07/31/23 Page 42 of 149 PageID.989
Endorsement Effective Date: March 2, 2017                                         QBBPP-2216 (05-14)




             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                  INSURED V. INSURED CARVEBACK FOR FINANCIAL IMPAIRMENT


This endorsement modifies insurance provided under the following:
DIRECTORS & OFFICERS AND ENTITY LIABILITY COVERAGE PART

It is hereby agreed that paragraph (b) of Exclusion A. Insured v. Insured in Section II. EXCLUSIONS is replaced by the
following:

Exclusion A3 above shall not apply to any Claim: (i) for employment-related Wrongful Acts against an Insured Person;
(ii) for contribution or indemnity; (iii) brought by an Insured Person who has ceased serving in his capacity as such for at
least 1 year; (iv) brought while the Parent Company is in Financial Impairment; or (v) brought by, on behalf of or with the
participation of a whistleblower;


All other terms and conditions of this Policy remain unchanged.




QBBPP-2216 (05-14)                                                                                               Page 1 of 1

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   Case 1:22-cv-00391-SOM-KJM Document 11-3 Filed 09/08/22 Page 29 of 31 PageID.363
POLICY
   CaseNUMBER:     QPL0192298
          1:22-cv-00450-SOM-KJM        Document 81-20
                                             Filed 07/31/23 Page 43 of 149 PageID.990
Effective Date of Endorsement: March 2, 2017                                                QBBPP-2247 (12-14)




           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                            NAMED CO-DEFENDANT COVERAGE ENDORSEMENT



This endorsement modifies insurance provided under the following:
GENERAL TERMS AND CONDITIONS

It is hereby agreed that:

    I.      Coverage under this Policy shall also apply to the Named Co-Defendants for any Claim made against the
            Named Co-Defendants but only to the extent that:

            a. a Claim is made against the Named Co-Defendants for a Wrongful Act of an Insured and such Claim
               is made and continuously maintained against both the Insured and the Named Co-Defendants;
            b. the Named Co-Defendants become co-defendants in such Claim by reason of their actual or alleged
               status as a controlling shareholder; and
            c. the Insured and the Named Co-Defendants are represented by the same legal counsel.

    II.     Section XXII. GLOSSARY is amended by the addition of the following:

            Named Co-Defendants means the Sponsor Company and any Affiliated Entity including any directors, of-
            ficers, general partners, managing directors or employees thereof.

            Sponsored Company means:

            PaCap Aviation Finance
            Malama Investments

            Affiliated Entity means any entity that is:

            a. A pooled investment vehicle created, managed or controlled by the Sponsored Company;
            b. An investment or management company controlled by the Sponsored Company that renders services to
               an Affiliated Entity described in paragraph a. above; or
            c. A special purpose vehicle created and controlled by the Sponsored Company for the purpose of making
               an acquisition of the Parent Company.




All other terms and conditions of this Policy remain unchanged.




QBBPP-2247 (12-14)                                                                                     Page 1 of 1
          U.S. Bankruptcy Court - Hawaii #22-90006 Dkt # 1 Filed 03/08/22 Page 38 of 42
   Case 1:22-cv-00391-SOM-KJM Document 11-3 Filed 09/08/22 Page 30 of 31 PageID.364
POLICY
   CaseNUMBER:      QPL0192298
          1:22-cv-00450-SOM-KJM       Document 81-20
                                             Filed 07/31/23 Page 44 of 149 PageID.991
Effective Date of Endorsement: March 02, 2017                                                       QBBPP-2073M (05-14)




          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


         SPECIFIED INDIVIDUAL EXCLUSION – CLAIMS BROUGHT BY SUCH INDIVIDUAL

This endorsement modifies insurance provided under the following:
DIRECTORS & OFFICERS AND ENTITY LIABILITY COVERAGE PART

It is hereby agreed that Section II. EXCLUSIONS is amended by the addition of the following:

No coverage shall be provided under this Coverage Part for Loss on account of that portion of a Claim brought by or on
behalf of any Individual listed below, and/or any entity on which such individual(s) is a director, officer, management
committee member or trustee (or equivalent position), or any entity in such individual(s) owns, or controls, five percent
(5%) or more of an equity or debt ownership interest (individually or collectively) either directly or indirectly and/or any
past, present or future director or officer (or equivalent position) of any such entity.



                                                       Larry Ellison




All other terms and conditions of this Policy remain unchanged.




QBBPP-2073M (05-14)                                                                                            Page 1 of 1
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     Case 1:22-cv-00391-SOM-KJM Document 11-3 Filed 09/08/22 Page 31 of 31 PageID.365
 POLICY NUMBER: QPL0192298
  Case 1:22-cv-00450-SOM-KJM           Document 81-20
                                               Filed 07/31/23 Page 45 of 149 PageID.992
 Endorsement Effective Date: March 2, 2017                                                                QBPD-6000 (02-15)



           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM

It is hereby agreed that:


I.   This Policy is amended by the addition of the following:
     If aggregate insured losses attributable to a Certified Act of Terrorism under the federal Terrorism Risk Insurance
     Act exceed $100 billion in a calendar year and we have met our insurer deductible under the Terrorism Risk
     Insurance Act, we shall not be liable for the payment of any portion of the amount of such losses that exceeds $100
     billion, and in such case insured losses up to that amount are subject to pro rata allocation in accordance with
     procedures established by the Secretary of the Treasury.

II. Solely for the purposes of this endorsement, this Policy is amended by the addition of the following:
     Certified Act of Terrorism means an act that is certified by the Secretary of Treasury, in accordance with the
     provisions of the federal Terrorism Risk Insurance Act,, to be an act of terrorism. The criteria contained in the
     Terrorism Risk Insurance Act for a Certified Act of Terrorism include the following:
     1. The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of insurance
         subject to the Terrorism Risk Insurance Act; and
     2. The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed by an
         individual or individuals as part of an effort to coerce the civilian population of the United States or to influence the
         policy or affect the conduct of the United States Government by coercion.

III. The terms and limitations of any terrorism exclusion, or the inapplicability or omission of a terrorism exclusion, do not
     serve to create coverage for any Loss that is otherwise excluded under this Policy.

All other terms and conditions of this Policy remain unchanged.




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QBPD-6000 (02-15)                                                                                                    Page 1 of 1
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                             Document 11-4 Filed
                                           Filed 09/08/22
                                                 09/08/22 Page
                                                          Pagelof7     PagelD.366
                                                               1 of 7 PageID.366
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                          EXHIBIT
                          EXHIBIT B
                                  B
    Case 1:22-cv-00391-SOM-KJM Document 11-4 Filed 09/08/22 Page 2 of 7 PageID.367
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From: Timothy Vazquez <Timothy.Vazquez@us.qbe.com>
Sent: Friday, May 22, 2020 12:56 PM
To: Rains, Darryl P. <DRains@mofo.com>
Subject: Matter: Elizabeth A. Kane, et al.; QBE Claim Number 570784N

- External Email -

Mr. Rains,

Attached is a copy of QBE’s coverage with respect to the above referenced matter. If you have any questions with regard
to this matter please do not hesitate to contact me.

Regards,

Tim Vazquez
AVP, Claims Practice Leader-Directors and Officers
Specialty Claims- Management Liability | North America
55 Water Street, New York, NY 10041
+1 646 453 2264 | +1 973 879 0905
Website      LinkedIn    Twitter




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it is addressed. It may contain information that is privileged, confidential and exempt from disclosure under applicable law. Any
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this message in error, please return it to the sender and delete this original from your system.




                                                                  1

                                                         EXHIBIT B
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                                                                                QBE North America
                                                                                55 Water Street, 20th Floor
                                                                                New York, NY 10041



   May 22, 2020

   VIA EMAIL

   Darryl Rains
   Morrison & Foerster LLP
   DRains@mofo.com

   Re:        Insured:            Hawaii Island Air, Inc.
              Insurer:            QBE Specialty Insurance Company
              Matter:             Elizabeth A. Kane, Bankruptcy Trustee, et al.
              QBE Policy:         QPL0192298
              QBE Claim:          570784N

   Dear Mr. Rains:

   I am handling the above-referenced matter under the above-referenced primary policy issued by
   QBE Specialty Insurance Company (“QBE”) to ii Island Air, Inc. (“Island Air”). A file has been
   established for this matter under the above file number. Please refer to this number whenever
   corresponding with QBE.

   We are directing this letter to you as the authorized representative of Paul Marinelli (the
   “Insured”) for insurance coverage purposes. If you are not authorized to act on behalf of the
   Insured with respect to insurance matters, we request that you direct a copy of this letter to the
   appropriate representative of the Insured for his or her information and advise us accordingly.

   QBE is in receipt of the complaint captioned Elizabeth A. Kane, et al. v. PaCap Aviation
   Finance, LLC, et al. filed in the United States Bankruptcy Court for the District of Hawaii (the
   “Trustee Action”). The following will set forth QBE’s initial coverage position in connection
   with the Trustee Action. As set forth below, coverage is triggered for the Trustee Action, subject
   to the reservations herein.

         I.      BACKGROUND

   Initially, please understand that the foregoing is based on the allegations as set forth in the
   Trustee Action. By reciting the allegations therein, we do not mean to intend to imply that the
   allegations have any merit.

   The Trustee Action is brought by Elizabeth Kane, the court appointed Chapter 7 Trustee for
   Island Air (the “Trustee”). Also named as Plaintiffs are the Air Line Pilots Association,
   International and the Hawaii Teamsters and Allied Workers Local 996. The Trustee Action
   names numerous entities and individuals as defendants. Please understand that given that the
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   majority of the Trustee Action is directed to non-Insureds, the following will focus on only those
   allegations as they pertain to Mr. Marinelli.

   By way of background, we understand that Mr. Marinelli was Lawrence Investments’ President,
   Ohana Airline Holdings, LLC’s manager, Carbonview Limited LLC’s President, a trustee of the
   Lawrence J. Ellison Revocable Trust, and a director at Island Air.

   It is alleged, among other things, that Mr. Marinelli violated the Dislocated Workers Act and the
   WARN Act. In addition, it is alleged that Mr. Marinelli, as proxy for Mr. Ellison, had an interest
   in keeping Island Air unnaturally on life support because Island Air was in possession of five
   aircraft that Mr. Ellison owned. Plaintiffs allege that Mr. Marinelli knew that if Island Air went
   into bankruptcy, it would be extremely difficult to sell Mr. Ellison’s five airplanes without the
   assistance of Island Air’s maintenance personnel, and that the price that could be obtained would
   plummet. So it is alleged that Mr. Marinelli made just enough funds available to Island Air to
   keep it alive long enough for him to sell those aircraft. Plaintiffs allege that even those funds
   were given reluctantly and in situations where: (1) the ultimate purchaser of Mr. Ellison’s
   aircraft required some of the purchase funds be made available to Island Air; or (2) where loans
   were made on terms that Mr. Marinelli thought were very low risk for Mr. Ellison. It is alleged
   that when the goal of selling Mr. Ellison’s aircraft was accomplished, not only did the flow of
   funds from Mr. Ellison stop, the flow was reversed. Mr. Marinelli used his control over Island
   Air to take critical monies back from the company, just days before the bankruptcy filing.
   Plaintiffs also allege that Mr. Marinelli knew that the business plan was undercapitalized from
   the beginning and approved the plan.

   Based on the foregoing, the Plaintiff sets forth causes of action against Mr. Marinelli for
   violation of the Dislocated Workers Act – Failure to Make Prompt Payment of Wages and
   Benefits and Failure to Provide Notification (Counts I and II), violation of the WARN Act-
   Failure to Provide Notification, (Count III), breach of fiduciary duty of loyalty for allowing
   assets to dissipate in order to further own interests (Count VII), breach of fiduciary duty of care
   for resigning while corporation in crisis (Count VIII), breach of fiduciary duty of care and
   loyalty for implementing undercapitalized business plan (Count IX), aiding and abetting Jeffery
   Au’s breach of fiduciary duty (Count X), and Indemnity (Count XI).

      II.     THE POLICY

   QBE issued to Island Air The Solution for Management Liability policy number QPL0192298
   for the March 2, 2017 to March 2, 2018 policy period. The Policy provides coverage under the
   following Coverage Parts: Directors & Officers and Entity Liability (“D&O); and Employment
   Practice Liability (“EPL”). The D&O Coverage Part provides a $5,000,000 Limit of Liability
   which is subject to a $0 per Claim Retention for Claims arising under Insuring Clause A. The
   EPL Coverage Part provides a $5,000,000 Limit of Liability which is subject to a $50,000 per
   Claim Retention. Please understand that the Policy is subject to a $5,000,000 combined
   maximum aggregate Limit of Liability for all Coverage Parts. Defense Costs erode the retention
   and are subject to, and not in addition to, the Limit of Liability.

            A. D&O COVERAGE PART

   Initially, given Island Air’s bankruptcy filing, we presume that Island Air is unable to indemnify
   Mr. Marinelli. As such, the foregoing will focus on coverage potentially available under Insuring
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   Clause A. QBE reserves its right to consider coverage under Insuring Clause B should additional
   information reveal that Island Air is able to provide indemnification.

   Insuring Clause A provides coverage for Loss incurred by an Insured Person on account of a
   Claim first made during the Policy Period to the extent that such Loss has not been paid or
   indemnified by any Company. As a former director Mr. Marinelli would appear to constitute an
   Insured Person under the Policy. Additionally, the Trustee Action involves a civil proceeding
   setting forth allegations of wrongful conduct in connection with the failure to provide
   notification and pay certain wages and benefits, as well as various allegations of breaches of
   fiduciary duty. Such allegations would give rise to a Claim for a Wrongful Act.

   As noted above, the Claim must be first made during the Policy Period. The Policy expired on
   March 2, 2018. By a letter dated April 2, 2018, QBE accepted as a notice of circumstance a
   February 27, 2018 letter from the Trustee which identified several circumstances that the Trustee
   believed could give rise to a Claim under the Policy. Such circumstances included the failure to
   comply with the WARN Act. The Trustee Action arises from the circumstances detailed in the
   February 27, 2018 letter. Accordingly, pursuant to Section V. of the Policy’s General Terms and
   Conditions, the Trustee Action will be deemed having first made during the March 2, 2017 to
   March 2, 2018 Policy Period.

   While QBE has determined that coverage is triggered for the Trustee Action, we take this
   opportunity to highlight certain policy provisions which may limit and/or preclude coverage for
   this matter. Section X of the D&O Coverage Part sets forth the Policy’s definition of Loss. QBE
   reserves its rights to deny coverage for that portion of any judgment or settlement which does not
   fall under the Policy’s definition of Loss.

   Section II of the General Terms and Conditions excludes from coverage any Loss on account of
   that portion of a Claim:

          B. Conduct - based upon, arising out of or resulting from any deliberate fraud, deliberate
             criminal act or deliberate violation of any statute or regulation, or any illegal profit or
             remuneration, by an Insured, established by a final, non-appealable adjudication
             adverse to such Insured in any underlying action, and the Insurer shall not utilize a
             declaratory action or proceeding brought by or against the Insurer to establish such
             final, non-appealable adjudication.

          G. Wage and Hour - based upon, arising out of or resulting from any violation of the
             responsibilities, obligations or duties imposed by any law governing wage, hour or
             payroll, including the Fair Labor Standards Act.

   Given the allegations in Trustee Action, QBE reserves its rights under the Conduct and Wage
   and Hour exclusions.

   Section VII of the Policy’s D&O Coverage Part sets forth the Policy’s Other Insurance
   provision. Pursuant to Section VII, the Policy provides coverage excess of any valid and
   collectible insurance providing coverage for Loss for which this Policy also provides coverage.
   Please advise whether Mr. Marinelli has any additional insurance that may be applicable to this
   matter. In particular, it is alleged that that Mr. Marinelli was Lawrence Investments’ President,
   Ohana Airline Holdings, LLC’s manager, Carbonview Limited LLC’s President, and a trustee of
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   the Lawrence J. Ellison Revocable Trust. Please confirm whether Mr. Marinelli is entitled to
   coverage under any insurance policies issued to any of these other entities.

   Section VIII. of the General Terms and Conditions sets forth the Policy’s Allocation provision.
   As the Trustee Action involves allegations against Mr. Marinelli in an uninsured capacity, QBE
   reserves its rights under Section VIII. of the Policy.

   Pursuant to Section VI of the Policy’s General Terms and Conditions, QBE has the right and
   duty to defend. We understand that you are representing Mr. Marinelli in connection with the
   bankruptcy proceedings. QBE will consider the retention of Morrison & Foerster LLP once we
   receive additional information regarding hourly billing rates and staffing. Please find attached
   our billing guidelines.

   Lastly, the parties’ consent and settlement obligations are also detailed in Section VI.
   Specifically, the Insured may not agree to any settlement, stipulate to any judgment, incur any
   Defense Costs, admit any liability or assume any contractual obligation without QBE’s prior
   written consent. Additionally, the Insured agrees not to do anything that would prejudice QBE’s
   position or potential or actual rights of recovery and agrees to provide QBE with all information,
   assistance and cooperation which QBE may reasonably require. Please continue to keep us
   apprised of any developments in this matter including but not limited to the filing of any
   substantive pleadings and settlement discussions. I would also like to schedule an initial call to
   discuss the allegations in the Trustee Action and strategy.

      B. EPL COVERAGE PART

   Although QBE accepted coverage for the Trustee Action under the D&O Coverage Part, we note
   that coverage would be excluded under the EPL Coverage Part by the operation of Exclusion B.
   Specifically, Exclusion B provides that there is no coverage for Loss on account of that portion
   of a Claim:

              B. OSHA, Workforce Notification and Labor Relations – based upon arising out of
                 or resulting from any violation of the responsibilities, obligations or duties
                 imposed by the Occupational Safety and Health Act, the Worker Adjustment and
                 Retraining Notification Act, the National Labor Relations Act or any similar law.

   As noted above, Trustee Action seeks recovery under the WARN Act and the Hawaii Dislocated
   Workers Act, which are considered “similar law[s]” under Exclusion B. As such, the Trustee
   Action falls within the ambit of Exclusion B and would be precluded from coverage.

   RESERVATION OF RIGHTS

   Additional terms, conditions, and/or exclusions may also apply to bar or limit coverage for the
   matters. QBE continues to reserve all of its rights, remedies, and defenses. Nothing herein shall
   serve to waive rights, remedies, or defenses that QBE may now have or obtain in the future.
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   If you have any questions or concerns regarding this matter, please feel free to contact me by
   telephone at 646.453.2264 or by e-mail at Timothy.Vazquez@us.qbe.com.

   Very truly yours,

   /s/ Timothy Vazquez
   Timothy Vazquez
   AVP, Claims Practice Leader-Directors and Officers
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                                                          Pagelof43     PagelD.373
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                           EXHIBIT
                           EXHIBIT C
                                   C
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    GALLAGHER KANE AMAI & REYES
    Attorneys at Law, A Law Corporation

    J. PATRICK GALLAGHER                     3417-0
    KAMALOLO K. KOANUI-KONG                  10753-0
    745 Fort Street, Suite 1550
    Honolulu, Hawaii 96813
    Tel. No. (808) 531-2023

    Attorneys for Interpleader-Plaintiff
    QBE SPECIALTY INSURANCE COMPANY

                   IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF HAWAII

     In re:                                      )
                                                 )
     HAWAII ISLAND AIR, INC.,                    )     Case No.: 17-01078
                                                 )     (Chapter 7)
                   Debtor.                       )
                                                 )
                                                 )
                                                 )
     QBE SPECIALTY INSURANCE                     )     ADVERSARY NO. _________
     COMPANY,                                    )
                                                 )     COMPLAINT FOR
                   Interpleader-Plaintiff,       )     INTERPLEADER; EXHIBIT “1”;
                                                 )     CERTIFICATE OF SERVICE
              v.                                 )
                                                 )
     ELIZABETH KANE, AS CHAPTER 7                )
     TRUSTEE FOR HAWAII ISLAND                   )
     AIR, INC., DAVID UCHIYAMA,                  )
     CHRISTOPHER GOSSERT, PAUL                   )
     MARINELLI, JEFFREY AU,                      )
     CATHERINE YANNONE, PHILIP                   )
     WEGESCHEIDE, DAVID PFLIEGER,                )
     AND PARTIES UNKNOWN,                        )
                                                 )
                   Interpleader-Defendants.      )
                                                 )


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                                              EXHIBIT C
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                          COMPLAINT FOR INTERPLEADER

            Interpleader-Plaintiff QBE Specialty Insurance Company (“QBE”), by and

    through its undersigned counsel, hereby submits this Complaint for Interpleader

    against Interpleader-Defendants Elizabeth Kane (the “Trustee”), duly appointed

    Chapter 7 trustee of Debtor Hawaii Island Air, Inc. (“Island Air”);           David

    Uchiyama, Christopher Gossert, Paul Marinelli, Jeffrey Au, Catherine Yannone

    Philip Wegescheide, and David Pflieger (the “Individual Defendants”); and Parties

    Unknown (collectively, the “Interpleader-Defendants”).

                                NATURE OF THE ACTION

            1.     This is an action for interpleader brought under Rule 7022 of the

    Federal Rules of Bankruptcy Procedure and Federal Rule of Civil Procedure 22. As

    described more fully below, QBE issued Liability Policy No. QPLO192298 (“the

    Policy”) issued to Island Air for the period from March 2, 2017 to March 2, 2018.

    As described more fully below, the Policy contains a Directors and Officers and

    Entity Liability (“D&O”) Coverage Part and an Employment Practices Liability

    (“EPL”) Coverage Part, both subject to an aggregate limit of liability of $5,000,000.

    The D&O Coverage Part contains an additional limit for Non-Indemnifiable Loss of

    $1,000,000.1     The Individual Defendants have sought insurance coverage in

    connection with multiple matters for which they maintain there is coverage under


    1
            Capitalized terms not defined herein are defined in the Policy.
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    the Policy. In the face of conflicting and competing demands for payments of

    defense costs, future judgments, and future settlement demands, QBE brings this

    interpleader action for the Court to determine allocation of the Policy proceeds

    among those demands. Subject to a complete reservation of rights, QBE has

    acknowledged coverage for certain amounts in connection with the matters

    submitted under the Policy.

                             JURISDICTION AND VENUE

          2.    This adversary proceeding arises in connection with and is related to

    the bankruptcy proceeding captioned In re: Hawaii Island Air, No. 17-01078 (the

    “Bankruptcy Proceeding”), which is currently pending in this Court pursuant to

    Chapter 7 of Title 11 of the United States Code.

          3.    This Court has jurisdiction over the subject matter of this adversary

    proceeding under 28 U.S.C. §§ 157 and 1334. The Court also has jurisdiction over

    the subject matter of this adversary proceeding under 28 U.S.C. § 1332(a)(1) because

    QBE is of diverse citizenship from each of the Interpleader-Defendants; at least two

    of the Interpleader-Defendants are of diverse citizenship; and the amount in

    controversy exceeds $75,000.

          4.    The Court has personal jurisdiction over each of the Interpleader-

    Defendants pursuant to rule 7004(f) of the Federal Rules of Bankruptcy Procedure.

          5.    Venue is proper in this Court pursuant to 28 U.S.C. § 1409.


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            6.    To the extent the Debtor’s estate’s interests in the proceeds of the Policy

    is actual and apparent, this interpleader action is a core proceeding under 28 U.S.C.

    § 157(b)(1) that rises in the Bankruptcy Proceeding. This matter is otherwise related

    to the Bankruptcy Proceeding under 28 U.S.C. 157(c).

                                             PARTIES

            7.    Interpleader-Plaintiff QBE is a corporation organized under the laws of

    the State of North Dakota, with its principal place of business in the State of New

    York.

            8.    Interpleader-Defendant Elizabeth Kane, at times herein relevant, was

    and is the duly appointed Chapter 7 trustee in the Bankruptcy Proceeding

    commenced by Island Air currently pending in this Court.

            9.    Interpleader Defendant David Uchiyama, is and at all relevant times

    was a resident of the State of Hawaii.

            10.   Interpleader-Defendant Christopher Gossert is and at all relevant times

    was a resident of the State of Hawaii.

            11.   Interpleader-Defendant Paul Marinelli is and at all relevant times was

    a resident of the State of California.

            12.   Interpleader-Defendant Jeffrey Au is and at all relevant times was a

    resident of the State of Hawaii.




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          13.    Interpleader-Defendant Catherine Yannone is and at all relevant times

    was a resident of the State of Hawaii.

          14.    Interpleader-Defendant Philip Wegescheide is and at all relevant times

    was a resident of the State of Illinois.

          15.    Interpleader-Defendant David Pflieger, is and at all relevant times a

    resident of the State of Alaska.

                                               FACTS

          16.    QBE issued the Policy to Island Air for the Policy Period from March

    2, 2017 to March 2, 2018. Attached hereto as Exhibit 1 and incorporated herein by

    reference is a true and correct copy of the Policy.

          17.    Subject to all of the Policy’s terms, conditions, and exclusions, the

    D&O Coverage Part of the Policy affords specified liability coverage to Island Air,

    its Subsidiaries, and its Executives and Employees up to a maximum aggregate limit

    of liability of $5,000,000. Section IV of the D&O Coverage Part provides an

    additional $1,000,000 limit of liability available solely to an Executive or natural

    person General Partner for Non-Indemnifiable Loss covered under Insuring Clause

    A of the D&O Coverage Part.

          18.    Subject to all of the Policy’s terms, conditions, and exclusions, the EPL

    Coverage Part of the Policy affords specified liability coverage for Island Air, its




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    Subsidiaries, Executives, Employees, and Independent Contractors, up to a

    maximum aggregate limit of liability of $5,000,000.

          19.    The total aggregate limit of liability of the Policy for all Coverage Parts

    is $5,000,000.

          20.    The Policy provides that QBE “shall have the right and duty to defend

    any Claim covered by the Policy.” See Policy, General Terms & Conditions, Section

    VI.A. The Policy further provides that “Defense Costs are part of, and not in addition

    to, the Limit of Liability of each Liability Coverage Part” and that “[a]ny duty to

    defend shall cease upon exhaustion of the applicable Limit of Liability.” Id., Section

    IV.C. and VI.A.

          21.    The Individual Defendants have tendered multiple matters to QBE for

    which they contend they are entitled to coverage under the Policy. The matters

    tendered to QBE to date include:

                 a. an Adversary Proceeding styled Kane v. PaCap Aviation Finance,

                     LLC, Adv. Proc. No. 19-90027, filed by the Trustee in this Court

                     against, inter alia, Jeffrey Au, Paul Marinelli, Catherine Yannone,

                     and Christopher Gossert (the “Trustee Proceeding”);

                 b. a Cross-Claim filed in the Trustee Proceeding styled PaCap

                     Aviation Finance, LLC, et al. v. Lawrence Investments, LLC, et al.,




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                     naming as Cross-Defendants, inter alia, Paul Marinelli, Catherine

                     Yannone and Christopher Gossert;

                 c. a Third-Party Complaint filed in the Trustee Proceeding, styled

                     PaCap Aviation Finance LLC, v. David Uchyama, naming David

                     Uchiama as a Third-Party Defendant; and

                 d. subpoenas issued to Philip Wegescheide and David Pflieger in

                     connection with the Trustee Proceeding.

          22.    QBE has agreed to provide Defense Costs coverage in connection with

    each of the matters listed in the previous paragraph, subject to a full reservation of

    all of the Policy’s terms, conditions, and exclusions, and subject to the order of this

    Court that such payments are not in violation of the automatic stay.

          23.    QBE reasonably anticipates that other parties currently unknown to it

    are likely to assert additional demands for the proceeds of the Policy.

                               COUNT I - INTERPLEADER

          24.    QBE repeats and realleges the allegations in the foregoing paragraphs

    of this Complaint for Interpleader as if fully set forth herein.

          25.    There are multiple adverse claimants who are either demanding, or may

    demand, the proceeds of the Policy.

          26.    QBE has a bona fide concern that demands for payment from the Policy

    will significantly exceed the coverage provided by the Policy. QBE is further


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    concerned that the various Insureds have divergent interests and will have

    conflicting strategies with respect to the use of the Policy’s proceeds, particularly

    with respect to the use of those proceeds to fund settlements. Thus, attempts by QBE

    to make payment in response to one demand may lead to vexatious and multiple

    litigation from others who seek to obtain payment from the Policy. QBE therefore

    faces the risk that the Interpleader-Defendants may obtain inconsistent decisions

    exposing QBE to multiple liability in excess of the Policy’s proceeds. Moreover,

    the outcome of multiple litigation concerning the Policy would not be properly

    determinative of the manner in which the Policy’s proceeds should be apportioned.

          27.    QBE stands neutral as to the respective parties who may claim to be

    entitled to payment under the Policy and seeks discharge from all obligations under

    or relating to the Policy.

          WHEREFORE, QBE respectfully requests that the Court:

          a.     issue an Order requiring the Interpleader-Defendants to interplead in

    this case all of their demands for coverage under or with respect to the Policy;

          b.     issue an order authorizing service by publication on the Parties

    Unknown;

          c.     issue an Order granting QBE leave to deposit the full remaining limit

    of the Policy into the registry of the Court and providing that, upon making such a

    deposit, the coverage afforded by the Policy shall be deemed exhausted, and QBE


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    and its agents and employees shall be discharged from all liability to the

    Interpleader-Defendants under or in connection with the Policy;

            d.    enter a preliminary and permanent injunction enjoining the

    Interpleader-Defendants from instituting or prosecuting any action in any court, state

    or federal, against QBE or its agents and employees asserting any claims, rights,

    causes of action or demands of whatever nature, whether known or unknown,

    foreseen or unforeseen, under or in connection with the Policy;

            e.    enter judgment discharging QBE and its agents and employees from all

    further liability relating in any way to the Policy or any demands that may be made

    in connection with the Policy; and

            f.    grant any and all further relief that this Court may deem equitable and

    just.

             DATED: Honolulu, Hawaii, March 8, 2022.


                                           /s/ Kamalolo K. Koanui-Kong
                                           J. PATRICK GALLAGHER
                                           KAMALOLO K. KOANUI-KONG

                                           Attorneys for Interpleader-Plaintiff
                                           QBE SPECIALTY INSURANCE
                                           COMPANY




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                            Exhibit "1"




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 QBE® Specialty Insurance Company
 A Stock Company




 The Solution for Management Liability




 Home Office:                                       Administrative Office:

 c/o CT Corporation                                 Wall Street Plaza
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 Bismarck, North Dakota 58501                       New York, New York 10005
                                                    1-877-772-6771




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 This policy consists of:              Declarations
                                       One or more coverage parts.
                                       A coverage part consists of:
                                       — One or more coverage forms
                                       — Applicable forms and endorsements




 QBE Specialty Insurance Company


 In Witness Whereof, we have caused this policy to be executed and attested, and, if required by state law, this
 policy shall not be valid unless countersigned by our authorized representative.




Robert V. James                                           Jose Ramon Gonzalez, Jr.
President                                                 Secretary




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                                                                                                         QBBP-3004 (09-14)


                                                                                                          The Solution
                                                                  General Terms and Conditions Declarations
                                         QBE Specialty Insurance Company
                             Wall Street Plaza, 88 Pine Street, New York, New York 10005
           Home Office: c/o CT Corporation System, 314 East Thayer Avenue, Bismarck, North Dakota 58501


THE LIABILITY COVERAGE PARTS PROVIDE CLAIMS MADE COVERAGE, WHICH APPLIES ONLY TO CLAIMS
FIRST MADE AGAINST THE INSUREDS DURING THE POLICY PERIOD. THE LIMIT OF LIABILITY TO PAY
JUDGMENTS OR SETTLEMENT AMOUNTS SHALL BE REDUCED AND MAY BE EXHAUSTED BY PAYMENT OF
DEFENSE COSTS. PLEASE READ THIS POLICY CAREFULLY.

Item 1:    Parent Company:        Hawaii Island Air, Inc.

           Mailing Address:       550 Paiea Street Suite 236
                                  Honolulu, HI 96819

Item 2:    Policy Period          From: March 2, 2017 To: March 2, 2018
                                  At 12:01 A.M. Standard Time at the mailing address stated in Item 1

Item 3:    Limit of Liability     $5,000,000 Combined Maximum Aggregate Limit of Liability for Liability Coverage Parts

Item 4:    Coverage Parts:        Directors & Officers and Entity Liability
                                  Employment Practices Liability

Item 5:    A. Notice to Insurer of a Claim or circumstance:           B. All Other Notices to Insurer:

              QBE Specialty Insurance Company                            QBE Specialty Insurance Company
              Attn: The Claims Manager                                   Attn: Underwriting
              Wall Street Plaza                                          Wall Street Plaza
                                th                                                          th
              88 Pine Street, 18 Floor                                   88 Pine Street, 18 Floor
              New York, New York 10005                                   New York, New York 10005
              Telephone: (877) 772-6771                                  Telephone: (877) 772-6771
              Email: professional.liability.claims@us.qbe.com            Email: MLPLadmin@us.qbe.com

Item 6:    Extended Reporting Period
           Premium: 100% of annual premium
           Length:   One Year

Item 7:    Premium: $42,487

In witness whereof, the Insurer has caused this Policy to be executed, but it shall not be valid unless also signed by a duly
authorized representative of the Insurer.




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                                                                                                          The Solution
                                                                                     General Terms and Conditions
In consideration of the payment of the premium, the Insurer and the Insureds agree as follows:
I.      PREAMBLE
        The insurance coverages offered in this Policy are part of a portfolio of insurance coverages, consisting of this
        General Terms and Conditions (“GTC”) and any individual Liability Coverage Parts and Non-Liability Coverage
        Parts purchased, as stated in Item 4 of the Declarations of this GTC. The type of coverage provided by each of the
        Liability Coverage Parts and Non-Liability Coverage Parts are identified in each particular Coverage Part.
        Unless expressly stated to the contrary, the terms, conditions and limitations in this GTC apply to the entire Policy,
        whereas the terms, conditions and limitations of each individual Coverage Part only apply to that particular
        Coverage Part. In the event of a conflict between any terms, conditions or limitations of the GTC and any terms,
        conditions and limitations of any individual Coverage Part, the terms, conditions and limitations of the individual
        Coverage Part shall control.
II.     EXCLUSIONS
        No coverage shall be provided under any Liability Coverage Part for Loss on account of that portion of a Claim:
        A. Bodily Injury/Property Damage - for bodily injury, mental anguish, emotional distress, humiliation, sickness,
           disease or death of any person or damage to or destruction of any tangible property, including loss of use
           thereof, whether or not such property is damaged or destroyed;
        B. Conduct - based upon, arising out of or resulting from any deliberate fraud, deliberate criminal act or deliberate
           violation of any statute or regulation, or any illegal profit or remuneration, by an Insured, established by a final,
           non-appealable adjudication adverse to such Insured in any underlying action, and the Insurer shall not utilize a
           declaratory action or proceeding brought by or against the Insurer to establish such final, non-appealable
           adjudication;
        C. ERISA - for any violation of the responsibilities, obligations or duties imposed by ERISA or for any functions
           identified in ERISA Section 3(21)(A) as not being the functions of a fiduciary, and commonly referred to as
           “settlor” functions;
        D. Pending or Prior Proceedings - based upon, arising out of or resulting from an action, proceeding or Claim
           commenced against an Insured pending on or prior to the Pending or Prior Proceedings Date stated in the
           Declarations of each applicable Liability Coverage Part;
        E. Pollution - based upon, arising out of or resulting from any:
            1. discharge, emission, release, dispersal or escape of any Pollutants or any threat thereof;
            2. treatment, removal or disposal of any Pollutants; or
            3. regulation, order, direction or request to test for, monitor, clean up, remove, contain, treat, detoxify or
               neutralize any Pollutants,
            including any Claim for financial loss to a Company, its securityholders or its creditors based upon, arising from
            or in consequence of any matter described in paragraphs 1, 2, or 3 above;
        F. Prior Notice - based upon, arising out of or resulting from any claim reported, or any circumstance reported and
           accepted, under the insurance policy (including any policies of which such policy is a renewal policy) replaced
           by this Policy; and
        G. Wage and Hour - based upon, arising out of or resulting from any violation of the responsibilities, obligations or
           duties imposed by any law governing wage, hour or payroll, including the Fair Labor Standards Act;
        Exclusions D and F above shall not apply where this Policy is a renewal of a policy issued by the Insurer to the
        Parent Company.
        With respect to all Policy exclusions, no conduct or knowledge of any Insured shall be imputed to any other
        Insured Person, and solely with respect to Exclusion B, only the conduct or knowledge of any past, present or
        future chief executive officer or chief financial officer of a Company shall be imputed to such Company and its
        Subsidiaries.
III.    RETENTION OR DEDUCTIBLE
        A. Any Retention or Deductible applicable to any Coverage Part shall apply as set forth in each Coverage Part and
           in the amount(s) stated in the Declarations of each Coverage Part. If different parts of a single Claim are


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           subject to different Retentions or Deductibles, then the total amount of Loss applied to the applicable
           Retentions or Deductibles shall not exceed the largest applicable Retention or Deductible.
       B. No Retention shall apply to any Loss for which an Insured Person is not indemnified by a Company because
          of such Company’s Financial Impairment.
IV.    LIMIT OF LIABILITY
       A. The Combined Maximum Aggregate Limit of Liability, stated in Item 3 of the Declarations of this GTC,
          represents the maximum amount payable under all Liability Coverage Parts during the Policy Period for all
          Liability Coverage Parts combined.
       B. The Limit of Liability, stated in Item 2 of the Declarations of each Liability Coverage Part, represents the
          maximum amount payable under each Liability Coverage Part during the Policy Period for any one Claim
          and in the aggregate as set forth in each such Liability Coverage Part.
       C. Defense Costs are part of, and not in addition to, the Limit of Liability of each Liability Coverage Part.
       D. The remaining portion of each of the limits of liability described above shall be the limits of liability available
          during any Extended Reporting Period applicable to any Coverage Part.
V.     REPORTING
       A. Notice of any Claim under any Liability Coverage Part is considered timely when reported to the Insurer as
          soon as practicable after the Parent Company’s chief executive officer or chief financial officer first becomes
          aware of such Claim. The Insurer shall not assert that notice of a Claim was untimely unless the Insurer is
          materially prejudiced by the untimely notice. However, in no event shall any notice be provided later than:
           1. if the applicable Liability Coverage Part expires (or is otherwise terminated) without being renewed with
              the Insurer, 60 days after the effective date of such expiration or termination; or
           2. the expiration date of the Extended Reporting Period, if applicable.
       B. Notice requirements involving any Non-Liability Coverage Part shall be in accordance with the reporting
          requirements set forth in such Non-Liability Coverage Part.
       C. Notice of any circumstance which could give rise to a Claim under any Liability Coverage Part is optional. If
          an Insured elects to report any circumstance which could give rise to a Claim:
           1. such notice shall include information regarding the nature of any Wrongful Acts or alleged or potential
              damages and the names of any actual or potential defendants; and
           2. any Claim that may subsequently arise out of a reported circumstance shall be deemed to have been first
              made during the Policy Period in which such circumstance was first reported.
VI.    DEFENSE AND SETTLEMENT
       A. With respect to any Claim under any Liability Coverage Part, the Insurer shall have the right and duty to
          defend any Claim, unless otherwise specifically stated in a particular Liability Coverage Part. The Insurer
          shall have such right and duty to defend even if any of the allegations in such Claim are groundless, false or
          fraudulent. Any such duty to defend shall cease upon exhaustion of the applicable Limit of Liability.
       B. With respect to any Claim under any Liability Coverage Part:
           1. the Insured shall:
               (a) not agree to any settlement, stipulate to any judgment, incur any Defense Costs, admit any liability or
                   assume any contractual obligation, without the Insurer’s prior written consent, provided that, unless
                   otherwise stated in a particular Liability Coverage Part, the Insured may settle any Claim, without the
                   Insurer’s prior written consent, where the amount of such settlement, including Defense Costs, does
                   not exceed the applicable Retention or Deductible;
               (b) not do anything that could prejudice the Insurer’s position or its potential or actual rights of recovery;
                   and
               (c) agree to provide the Insurer with all information, assistance and cooperation which the Insurer may
                   reasonably require,
               provided that the failure of any Insured to comply with any of the requirements in paragraphs (a) - (c)
               above, shall not impair the rights of any Insured Person under this Policy; and
           2. the Insurer:

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               (a) may make any investigation it deems reasonably necessary and may, with the consent of the Insureds,
                   make any settlement of any Claim it deems appropriate; and
               (b) shall not be liable for any such settlement, stipulation, incurred Defense Costs, admission or assumed
                   obligation to which it has not given its prior written consent, and the Insurer shall not unreasonably
                   withhold such consent.
VII.   ALLOCATION
       If in any Claim, the Insureds who are afforded coverage for a Claim incur Loss that is covered by this Policy and
       loss that is not covered by this Policy because such Claim includes both covered and uncovered matters, 100% of
       Defense Costs incurred by such Insured shall be covered Loss, and all loss other than Defense Costs shall be
       allocated between covered Loss and uncovered loss based upon the relative legal exposures of the parties to such
       matters.
VIII. TREATMENT OF RELATED CLAIMS
       All Related Claims shall be deemed a single Claim first made during the policy period in which the earliest of such
       Related Claims was either first made or deemed to have been first made in accordance with Section V.
       REPORTING above.
IX.    SUBROGATION
       A. In the event of any payment under this Policy, the Insurer shall be subrogated to the extent of such payment to
          all of the Insureds’ rights of recovery, and the Insureds shall take all reasonable actions to secure and
          preserve the Insurer’s subrogation rights.
       B. In no event shall the Insurer exercise any subrogation right against an Insured Person. In any subrogation
          action against a Company, it is agreed that each Company agrees to fulfill any indemnification obligations to
          the fullest extent permitted by law and any contract or agreement providing an indemnification obligation
          exceeding any such law.
       C. If the Insurer recovers, either through subrogation or recoupment, any portion of an amount paid under this
          Policy, the Insurer shall reinstate the applicable limit of liability with any amounts recovered up to such amount
          paid, less any costs incurred by the Insurer in its recovery efforts.
X.     EXTENDED REPORTING PERIOD
       With respect to all Liability Coverage Parts:
       A. If this Policy does not renew, or terminates other than for non-payment of premium, the Insureds shall have the
          right to purchase an ERP for the premium and time period stated in Item 6 of the Declarations. In the event of
          the non-renewal or termination of one or more Liability Coverage Parts of this Policy, the Insureds may
          purchase an ERP solely as respects the Liability Coverage Part(s) that has been non-renewed or terminated.
       B. The right to an ERP shall lapse unless written notice of election to purchase such ERP, together with payment
          of the specified premium, is received by the Insurer within 30 days after the effective date of non-renewal or
          termination of the Policy. In the event the Parent Company elects not to purchase an ERP and an individual
          Insured or group of Insureds elects to purchase such ERP, such ERP shall only apply to Claims against such
          Insured or group of Insureds.
       C. The premium for the ERP shall be deemed fully earned at the inception of the ERP.
       D. Any ERP purchased shall become part of the Policy Period, extending such Policy Period to the expiration of
          the time period stated in Item 6 of the Declarations, but only with respect to Loss on account of a Claim for a
          Wrongful Act taking place before the effective date of non-renewal or termination.
XI.    CHANGES IN EXPOSURE
       A. New Companies and Old Companies
           This Policy’s treatment of Subsidiaries shall be as stated below and as supplemented by any individual
           Coverage Part.
           Any Insured of a Subsidiary:
           1. acquired before or during the Policy Period is eligible for coverage under any:
               (a) Liability Coverage Part, but only for Loss on account of a Claim for a Wrongful Act which occurs
                   after the date of such acquisition; and



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               (b) Non-Liability Coverage Part, but only after the effective date of such acquisition, and with respect to
                   the Crime Coverage Part, subject to Section VIII. Other Insurance of such Coverage Part.
           2. ceasing to be a Subsidiary before or during the Policy Period is eligible for coverage under any:
               (a) Liability Coverage Part, but only for Loss on account of a Claim for a Wrongful Act which occurs
                   while such entity was a Subsidiary; and
               (b) Non-Liability Coverage Part, as provided in such Non-Liability Coverage Part, but such Subsidiary
                   and its Insureds shall cease to be Insureds under such Non-Liability Coverage Part as of the date of
                   such cessation.
       B. Acquisition of the Parent Company
           In the event of a Change in Control of the Parent Company during the Policy Period:
           1. any Liability Coverage Part shall remain in force until the expiration of the Policy Period, but only for any
              Claim for a Wrongful Act which occurs prior to such acquisition;
           2. the entire premium for this Policy shall be deemed fully earned as of the effective date of such Change in
              Control; and
           3. the Parent Company shall be entitled to receive a quote for an extension of the Liability Coverage Parts
              (“Run-Off Coverage”) solely for Claims for Wrongful Acts which occurred prior to a Change in Control.
              Coverage offered pursuant to such quote shall be subject to additional or different terms and conditions and
              payment of additional premium. Any Run-Off Coverage purchased shall replace any Extended Reporting
              Period provided under Section X. EXTENDED REPORTING PERIOD.
XII.   NOTICE
       A. All notices to the Insurer under this Policy of any event, loss, Claim or circumstances which could give rise to a
          Claim shall be given in writing to the address listed in Item 5A of the Declarations, and any such notice shall be
          deemed notice under the Policy in its entirety.
       B. All other notices to the Insurer under this Policy shall be given in writing to the address listed in Item 5B of the
          Declarations.
       C. Any notice under this Policy shall be effective on the date of mailing or receipt by the Insurer, whichever is
          earlier.
XIII. TERMINATION OF POLICY
       This Policy shall terminate at the earliest of:
       A. 20 days after receipt by the Parent Company of written notice from the Insurer of termination for non-payment
          of premium;
       B. expiration of the Policy Period; or
       C. surrender of the Policy to the Insurer by the Parent Company or notice to the Insurer by the Parent Company
          stating when such cancellation will take effect, and in either case any returned premium shall be computed on a
          pro rata basis.
XIV. REPRESENTATIONS, SEVERABILITY AND NON-RESCINDABLE COVERAGE
       A. In issuing this Policy, the Insurer has relied upon the information and representations in the Application as
          being true and accurate, and the Application is the basis for, and considered incorporated into, this Policy.
       B. The Application shall be construed as a separate request for coverage by each Insured, without any
          knowledge possessed by an Insured being imputed to any other Insured Person.
       C. If the Application contains any misrepresentation made with the actual intent to deceive or which, for reasons
          other than simple negligence or oversight, materially affect the Insurer’s acceptance of the risk or the hazard
          assumed, the Insurer shall not be liable for Loss on account of any Claim based upon, arising out of or
          resulting from either of such misrepresentations:
           1. with respect to any Insured Person who had actual knowledge of any misrepresentation described in
              paragraph C above, and the Insurer can demonstrate that with such actual knowledge, such Insured
              Person reasonably believed that a Claim would arise from such misrepresentation;
           2. with respect to any Company, if the Insured Person described in paragraph 1 above is a past or present
              chief executive officer or chief financial officer of the Parent Company.


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      D. The Insurer shall not be entitled under any circumstances to void or rescind this Policy with respect to any
         Insured.
XV.   EFFECT OF BANKRUPTCY
      Bankruptcy or insolvency of any Insured shall not relieve the Insurer of its obligations nor deprive the Insurer of its
      rights or defenses under this Policy.
XVI. WORLDWIDE TERRITORY
      This Policy shall apply anywhere in the world, and any reference to laws, however described, shall include all U.S.
      federal, state and local statutory laws, all amendments to and rules and regulations promulgated under any such
      laws, common law, and any equivalent body of law anywhere in the world, unless specifically stated to the contrary.
XVII. ROLE OF THE PARENT COMPANY
      The Parent Company shall act on behalf of each Insured with respect to paying premiums, receiving any return
      premiums, agreeing to endorsements to this Policy and the giving or receiving of any notice provided for in this
      Policy (except notices of a Claim or circumstance which could give rise to a Claim or notice to apply for an ERP).
XVIII. VALUATION AND FOREIGN CURRENCY
      All premiums, limits, retentions, Loss and other amounts under this Policy are expressed and payable in the
      currency of the United States of America. If any element of Loss under this Policy is stated in a currency other than
      United States of America dollars, payment under this Policy shall be made in United States of America dollars at the
      exchange rate published in The Wall Street Journal on the date the element of Loss is due.
XIX. ALTERATION, ASSIGNMENT AND HEADINGS
      A. Any change in or modification of this Policy or assignment of interest under this Policy must be agreed to in
         writing by the Insurer.
      B. The descriptions and headings and sub-headings of this Policy are solely for convenience, and form no part of
         the terms, conditions and limitations of coverage.

XX.   ESTATES, HEIRS, LEGAL REPRESENTATIVES, ASSIGNS, SPOUSES AND DOMESTIC PARTNERS

      With respect to any Liability Coverage Part, Insured Person shall include:
      A. the estate, heirs, legal representatives or assigns of any Executive, if such Executive is deceased, legally
         incompetent, insolvent or bankrupt; and
      B. the lawful spouse or domestic partner of any Executive solely by reason of such spouse’s or domestic
         partner’s: 1. status as such; or 2. ownership interest in property which a claimant seeks as recovery for an
         alleged Wrongful Act of such Executive,
      provided that no coverage shall apply with respect to loss arising from an act, error or omission by any estate, heir,
      legal representative, assign, spouse or domestic partner of an Insured Person.
XXI. TRADE SANCTIONS
      This insurance coverage does not apply to the extent that trade or economic sanctions of any country prohibit the
      insurer or any member of the insurer’s group from providing insurance coverage.
XXII. GLOSSARY
      The following terms shall have the meaning ascribed to such terms in each applicable Coverage Part: Claim,
      Defense Costs, Insured, Insured Person, Loss and Wrongful Act.
      A. Application means where provided to the Insurer, the application and any accompanying documentation
         submitted to the Insurer for this Policy or any documentation submitted to the Insurer in connection with the
         underwriting of this Policy.
      B. Change in Control means:
          1. the Parent Company’s merger with, or acquisition by, another entity or the acquisition of all or substantially
             all of its assets by another entity, such that the Parent Company is not the surviving entity; or
          2. when a person or entity or group of persons or entities acting in concert, acquires securities or voting rights
             which result in ownership or voting control by such person(s) or entity(ies) of more than 50% of the



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              outstanding securities or voting rights representing the present right to vote for or appoint directors or
              Managers of the Parent Company.
     C. Company means the Parent Company and any Subsidiary, any foundation, political action committee or
        charitable trust controlled or sponsored by the Parent Company or any Subsidiary, and the Parent Company
        or any Subsidiary in its capacity as a debtor in possession under United States bankruptcy law.
     D. Employee means any natural person whose labor or service was, is or will be engaged and directed by a
        Company, including a part-time, seasonal, leased and temporary employee, intern or volunteer. Employee
        does not include an independent contractor.
     E. ERISA means the Employee Retirement Income Security Act of 1974 (including amendments relating to the
        Consolidated Omnibus Budget Reconciliation Act of 1985 (“COBRA”) and the Health Insurance Portability and
        Accountability Act of 1996 (“HIPAA”)).
     F. Executive means any natural person who was, now is or shall become:
          1. a duly elected or appointed director, officer, Manager, trustee, regent, governor, risk manager, comptroller
             or in-house general counsel of any Company organized in the United States of America, or in a functionally
             equivalent or comparable role to any of the foregoing; or
          2. a holder of a functionally equivalent position or comparable role to those described in paragraph 1 above in
             a Company that is organized in a jurisdiction other than the United States of America, including any
             position on an advisory board or committee.
     G. Extradition means any formal process by which an Insured located in any country is or is sought to be
        surrendered to any other country for trial or otherwise to answer any criminal accusation, including the
        execution of an arrest warrant where such execution is an element of such process.
     H. Financial Impairment means the status of a Company resulting from: 1. the appointment by a state or federal
        official, agency or court of any receiver, conservator, liquidator, trustee, rehabilitator or similar official to control,
        supervise, manage or liquidate such Company; or 2. such Company becoming a debtor in possession under
        United States bankruptcy law.
     I.   Liability Coverage Part means any Coverage Part identified in this Policy as a “Liability Coverage Part” within
          the heading to such Coverage Part or providing third party liability coverage in such Coverage Part.
     J.   Manager means any natural person, who was, now is, or shall become, a manager, member of the Board of
          Managers or equivalent executive of a Company that is a limited liability company.
     K. Non-Liability Coverage Part means any Coverage Part or insuring clause in this Policy that does not provide
        any third party liability coverage.
     L. Parent Company means the entity named in Item 1 of the Declarations.
     M. Policy Period means the period of time stated in Item 2 of the Declarations of this GTC (subject to any
        termination in accordance with Section XIII. TERMINATION OF POLICY) and the ERP, if applicable.
     N. Pollutants means any solid, liquid, gaseous or thermal irritants or contaminants, including smoke, soot, vapor,
        fumes, acids, chemicals, alkalis, asbestos, asbestos products or waste. Waste includes materials to be
        reconditioned, recycled or reclaimed.
     O. Related Claims means all Claims based upon, arising out of or resulting from the same or related, or having a
        common nexus of, facts, circumstances or Wrongful Acts.
     P. Subsidiary means:
          1. any entity while more than 50% of the outstanding securities or other equity ownership, representing the
             present right to vote for election of, or to appoint, directors, Managers, or the foreign equivalent of any such
             directors or Managers of such entity, are owned or controlled by the Parent Company directly or indirectly
             through one or more Subsidiaries; or
          2. any entity while the Parent Company has the right, pursuant to either written contract or the bylaws,
             charter, operating agreement or similar documents of a Company, to elect or appoint a majority of the
             Board of Directors of a corporation or Managers.




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                                                                The Solution for Directors & Officers and Entity Liability
                                                                                              Coverage Part Declarations
                                            QBE Specialty Insurance Company
                                Wall Street Plaza, 88 Pine Street, New York, New York 10005
              Home Office: c/o CT Corporation System, 314 East Thayer Avenue, Bismarck, North Dakota 58501


THIS COVERAGE PART PROVIDES CLAIMS MADE COVERAGE, WHICH APPLIES ONLY TO CLAIMS FIRST MADE
AGAINST THE INSUREDS DURING THE POLICY PERIOD. THE LIMIT OF LIABILITY TO PAY JUDGMENTS OR
SETTLEMENT AMOUNTS SHALL BE REDUCED AND MAY BE EXHAUSTED BY PAYMENT OF DEFENSE COSTS.
PLEASE READ THIS POLICY CAREFULLY.

Item 1:        Parent Company:                Hawaii Island Air, Inc.

Item 2:        A. Limit of Liability
                     $5,000,000 per Claim
                     $5,000,000 in the aggregate

               B. Securityholder Derivative Demand Investigation Limit: $250,000

Item 3:        Additional Limit for Non-Indemnifiable Loss: $1,000,000

Item 4:        Retention:

               A. Insuring Clause B: $50,000 per Claim
               B. Insuring Clause C: $50,000 per Claim

Item 5:        Pending or Prior Proceedings Date: March 2, 2016




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                                                                                 The Solution for Private Company
                                                                             Directors & Officers and Entity Liability
                                                                                                      Coverage Part
 In consideration of the payment of the premium and subject to the General Terms and Conditions, the Insurer and the
Insureds agree as follows:
I.      INSURING CLAUSE
        A. Side A - Non-Indemnifiable Loss Coverage for Insured Persons
             The Insurer shall pay, on behalf of an Insured Person, Loss on account of a Claim first made during the
             Policy Period, to the extent that such Loss has not been paid or indemnified by any Company.
        B. Side B - Corporate Reimbursement Coverage for Indemnification of Insured Persons
             The Insurer shall pay, on behalf of a Company, Loss on account of a Claim first made during the Policy
             Period to the extent the Company pays or indemnifies an Insured Person for such Loss.
        C. Side C - Entity Coverages
             The Insurer shall pay, on behalf of a Company, Loss on account of a Claim, and Defense Costs on account
             of a Securityholder Derivative Demand Investigation, first made during the Policy Period.
II.     EXCLUSIONS
        In addition to the Exclusions set forth in Section II. EXCLUSIONS of the GTC, no coverage shall be provided under
        this Coverage Part for Loss on account of that portion of a Claim:
        A. Insured v. Insured - brought by, or on behalf of:
             1. a Company against another Company;
             2. a Company or Outside Entity against an Insured Person;
             3. an Insured Person, in any capacity, against an Insured,
             provided that:
             (a) Exclusion A2 above shall not apply to a Claim brought: (i) outside the United States of America, Canada or
                 their territories or possessions; (ii) while the Parent Company or Outside Entity is in Financial
                 Impairment; (iii) as a securityholder derivative action; or (iv) while an Insured Person is no longer serving
                 in his capacity as such; and
             (b) Exclusion A3 above shall not apply to any Claim: (i) for employment-related Wrongful Acts against an
                 Insured Person; (ii) for contribution or indemnity; (iii) brought by an Insured Person who has ceased
                 serving in his capacity as such for at least 1 year; or (iv) brought by, on behalf of or with the participation of
                 a whistleblower;
        B. Publicly Traded Securities - based upon, arising out of or resulting from any public offering of, or purchase or
           sale of, equity or debt securities issued by any Company or Outside Entity, provided that this Exclusion B
           shall not apply to any Claim based upon, arising out of or resulting from the Company’s: 1. securities that are
           not required to be registered; 2. failure to undertake or complete an initial public offering or sale of its securities;
           or 3. preparation for any public offering, including any “road show” presentation to potential investors or other
           similar presentation;
        Exclusions C - I below shall only apply to Insuring Clause C, Side C - Entity Coverages:
        C. Antitrust - based upon, arising out of or resulting from anti-trust, price fixing or discrimination, restraint of trade,
           monopolization, unfair trade practices, predatory pricing or false advertising;
        D. Contract - based upon, arising out of or resulting from any liability in connection with any contract or agreement
           to which a Company is a party, provided that this Exclusion D shall not apply to the extent that such Company
           would have been liable in the absence of such contract or agreement;
        E. Employment Practices - based upon, arising out of or resulting from any employment-related Wrongful Act;
        F.    Intellectual Property - based upon, arising out of or resulting from any infringement of copyright, patent,
             trademark, trade dress, trade name or service mark or any misappropriation of ideas, trade secrets or other
             intellectual property rights;


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       G. Personal Injury - based upon, arising out of or resulting from any defamation (including libel and slander),
          disparagement, wrongful entry or eviction, invasion of privacy, false arrest, false imprisonment, assault, battery,
          loss of consortium, malicious use or abuse of process or malicious prosecution.
       H. Professional Services - based upon, arising out of or resulting from the performance of or failure to perform
          Professional Services; and
       I.   Third Party Discrimination or Harassment - based upon, arising out of or resulting from any discrimination
            against, or harassment of, any third party.
       With respect to this Coverage Part, the following exceptions shall apply to Section II. EXCLUSIONS of the GTC:
       1. Exclusion A. Bodily Injury/Property Damage shall not apply to any Claim under Insuring Clause A; and
       2.   Exclusion E. Pollution shall not apply to any Claim: (a) under Insuring Clause A; or (b) brought by a
            securityholder of a Company against an Insured Person.
III.   RETENTION
       No retention shall apply to any Claim under Insuring Clause A or to any Securityholder Derivative Demand
       Investigation.
IV.    LIMIT OF LIABILITY
       A. The Securityholder Derivative Demand Investigation Limit stated in Item 2B of the Declarations of this Coverage
          Part represents the maximum amount payable under this Coverage Part during the Policy Period for Defense
          Costs on account of all Securityholder Derivative Demand Investigations, which amount shall be part of,
          and not in addition to, the Limit of Liability stated in Item 2A of such Declarations.
       B. The Additional Limit for Non-Indemnifiable Loss stated in Item 3 of the Declarations of this Coverage Part
          represents an additional limit of liability available solely to an Executive or natural person General Partner for
          Loss on account of a Claim covered under Insuring Clause A. This additional limit of liability shall be in addition
          to and not part of, and excess of any other insurance written specifically as excess of, the Limit of Liability
          stated in Item 2A of such Declarations.
V.     ADVANCEMENT
       A. If a Company fails to respond to an Insured Person’s request for indemnification within 60 days of the Insured
          Person’s request to the Company for such indemnification, then upon the reporting of the Claim, the Insurer
          shall advance Defense Costs and any other incurred Loss until such time that the Company accepts the
          Insured’s request for indemnification or the Limit of Liability set forth in Item 2A of the Declarations of this
          Coverage Part has been exhausted, whichever occurs first. In any other Claim, the Insurer shall advance
          Defense Costs on a current basis, but no later than 60 days after receipt of the legal bills and any supporting
          documentation.
       B. If it is determined by a final adjudication that any advanced Defense Costs are not covered under this
          Coverage Part, the Insureds, severally according to their respective interests, shall repay such uncovered
          Defense Costs to the Insurer, provided that nothing in this paragraph B shall limit the final non-appealable
          adjudication requirement in Exclusion B. Conduct of Section II. EXCLUSIONS of the GTC. If the Insurer
          recovers any portion of an amount paid under this Coverage Part, the Insurer shall reinstate the applicable limit
          of liability with any amounts recovered up to such amount paid, less any costs incurred by the Insurer in its
          recovery efforts.
VI.    REPORTING
       Notice of a Securityholder Derivative Demand Investigation is optional, but only Loss incurred after such
       Securityholder Derivative Demand Investigation is reported is eligible for coverage under this Coverage Part. If
       an Insured elects to report any Securityholder Derivative Demand Investigation, any Claim that may
       subsequently arise out of any reported Securityholder Derivative Demand Investigation shall be deemed to have
       been first made during the Policy Period in which such investigation was first reported.
VII.   OTHER INSURANCE
       A. With the exception of insurance written specifically as excess of the Limit of Liability of this Coverage Part, this
          Coverage Part shall be excess of and shall not contribute with any valid and collectible insurance providing
          coverage for Loss for which this Coverage Part also provides coverage, provided that any payment by an
          Insured of a retention or deductible under any such other insurance shall reduce the applicable Retention
          under this Coverage Part by the amount of such payment which would otherwise have been Loss under this
          Coverage Part.


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       B. This Coverage Part shall also be excess of and shall not contribute with any indemnity provided, and any valid
          and collectible insurance maintained, by an Outside Entity for an Insured Person serving in his capacity as
          such for the Outside Entity.
       C. Any personal umbrella excess liability insurance, independent directors liability insurance or any other similar
          personal liability insurance available to an Insured shall be specifically excess of this Coverage Part.
VIII. PRIORITY OF PAYMENTS
       A. In the event that Loss under Insuring Clause A and any other Loss are concurrently due under this Coverage
          Part, then the Loss under Insuring Clause A shall be paid first. In all other instances, the Insurer may pay Loss
          as it becomes due under this Coverage Part without regard to the potential for other future payment obligations
          under this Coverage Part.
       B. The coverage provided by this Coverage Part is intended first and foremost for the benefit and protection of
          Insured Persons. In the event a liquidation or reorganization proceeding is commenced by or against a
          Company pursuant to United States bankruptcy law:
           1. the Insureds hereby agree not to oppose or object to any efforts by the Insurer, the Company or an
              Insured to obtain relief from any stay or injunction issued in such proceeding; and
           2.   the Insurer shall first pay Loss on account of a Claim for a Wrongful Act occurring prior to the date such
                liquidation or reorganization proceeding commences, and then pay Loss in connection with a Claim for a
                Wrongful Act occurring after the date such liquidation or reorganization proceeding commences.
IX.    SECURITIES OFFERING
       If during the Policy Period, a Company intends a public offering of securities under the Securities Act of 1933 and
       gives written notice to the Insurer within 30 days of the effective date of the Registration Statement for such offering,
       together with any additional information requested by the Insurer, the Insurer shall provide the Company with a
       quote for coverage with respect to such offering. Coverage offered pursuant to this quote shall include coverage for
       Wrongful Acts occurring in the course of any "road show" presentation to potential investors or other similar
       presentation and shall be subject to additional or different terms and conditions and payment of additional premium.
X.     GLOSSARY
       A. Claim means:
           1.   with respect to Insuring Clauses A and B, any investigation, evidenced by any written document, including a
                subpoena, target letter or search warrant, against an Insured Person for a Wrongful Act; and
           2. with respect to Insuring Clauses A, B and C:
                (a) a written demand for monetary or non-monetary (including injunctive) relief, including demands for
                    arbitration, mediation, waiving or tolling of a statute of limitations or Extradition;
                (b) a civil or criminal proceeding, evidenced by: (i) the service of a complaint or similar pleading in a civil
                    proceeding; or (ii) the filing of an indictment, information or similar document or an arrest in a criminal
                    proceeding; and
                (c) a formal administrative or regulatory proceeding, evidenced by the filing of a formal notice of charges or
                    the entry of a formal order of investigation,
                against an Insured for a Wrongful Act, including any appeal therefrom.
           The time when a Claim shall be deemed first made for the purposes of this Coverage Part shall be the date on
           which the Claim is first made against, served upon or received by the Insured or the applicable notice or order
           is filed or entered.
       B. Defense Costs means that part of Loss consisting of:
           1.   reasonable costs, charges, fees (including, attorneys' fees and experts' fees) and expenses (other than
                regular or overtime wages, salaries, fees or benefits of any Insured) incurred in: (a) investigating,
                defending, opposing or appealing any Claim or (b) any Securityholder Derivative Demand Investigation;
                and
           2.   the premium for appeal, attachment or similar bonds (but the Insurer shall be under no obligation to furnish
                any bond).
       C. Insured means any Company or Insured Person.
       D. Insured Person means:
           1. an Executive;
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         2.   an Employee, but only with respect to a Claim: (a) brought by a securityholder of a Company in his
              capacity as such; or (b) that is also brought and maintained against an Insured Person included in
              paragraph 1 above; or
         3.   a holder of an equivalent position to those included in paragraph 1 above in an Outside Entity, while
              serving at the specific request or direction of the Company.
     E. Loss means the amount that an Insured becomes legally obligated to pay on account of any Claim including:
         1. compensatory damages;
         2.   judgments and settlements, including a judgment or settlement awarding plaintiffs’ attorneys fees, provided
              that with respect to any settlement including plaintiffs’ attorneys fees, that portion of the settlement can be
              demonstrated to be reasonable, taking into consideration the nature of legal action, time and expense
              involved in prosecuting such action, and the likelihood of a court awarding a similar amount as part of a
              judgment;
         3. pre and post-judgment interest;
         4. Defense Costs;
         5.   solely with respect to Insuring Clause A, taxes imposed by law upon an Insured Person in his capacity as
              such in connection with any bankruptcy, receivership, conservatorship or liquidation of a Company, to the
              extent such taxes are insurable by law; and
         6.   punitive, exemplary or multiplied damages, fines or penalties, if and to the extent that any such damages,
              fines or penalties are insurable under the law of the jurisdiction most favorable to the insurability of such
              damages, fines or penalties.
         In determining the most favorable jurisdiction as set forth in paragraph 6 above, due consideration shall be
         given to the jurisdiction with a substantial relationship to the relevant Insureds or to the Claim giving rise to
         such damages, fines or penalties, and the Insurer shall not challenge any opinion of independent legal counsel
         (mutually agreed to by the Insurer and the Insured) that such damages, fines or penalties are insurable under
         applicable law.
         Loss does not include any portion of such amount that constitutes any:
         (a) amount not insurable under the law pursuant to which this Coverage Part is construed;
         (b) cost incurred to comply with any order for injunctive or other non-monetary relief, or to comply with an
             agreement to provide such relief;
         (c) amount that represents or is substantially equivalent to an increase in consideration paid (or proposed to be
             paid) by a Company in connection with its purchase of any securities and assets;
         (d) tax, other than taxes described in paragraph 5 above; or
         (e) cost incurred to clean up, remove, contain, treat, detoxify or neutralize Pollutants.
     F. Outside Entity means:
         1. any non-profit entity, community chest, fund or foundation; or
         2. any other entity specifically added as an Outside Entity by endorsement to this Coverage Part,
         that is not a Company.
     G. Professional Services means services which are performed for others for a fee.
     H. Securityholder Derivative Demand Investigation means an investigation by a Company to determine
        whether it is in the best interest of such Company to prosecute the claims alleged in a securityholder derivative
        demand or lawsuit. Where a Securityholder Derivative Demand Investigation is initiated because of a
        lawsuit rather than a demand, any coverage provided for Defense Costs on account of such Securityholder
        Derivative Demand Investigation shall in no way limit the coverage otherwise afforded under this Coverage
        Part to an Insured for Loss on account of a Claim.
     J. Wrongful Act means:
         1.   any error, misstatement, misleading statement, act, omission, neglect, or breach of duty committed,
              attempted, or allegedly committed or attempted by: (a) an Insured Person in his capacity as such; or (b) by
              a Company; or
         2. any other matter claimed against an Insured Person solely by reason of serving in his capacity as
            such.
QBBP-1000 (05-14)                                                                                               Page 4 of 4
        U.S. Bankruptcy Court - Hawaii #22-90006 Dkt # 1 Filed 03/08/22 Page 24 of 42
    Case 1:22-cv-00391-SOM-KJM Document 11-5 Filed 09/08/22 Page 26 of 43 PageID.398
 POLICY NUMBER: QPL0192298
  Case 1:22-cv-00450-SOM-KJM  Document 81-20 Filed 07/31/23 Page 78 of 149 PageID.1025
                                                                                                              QBBP-3001 (05-14)


                                                                               The Solution for Employment Practices Liability
                                                                                                   Coverage Part Declarations


                                            QBE Specialty Insurance Company
                                Wall Street Plaza, 88 Pine Street, New York, New York 10005
              Home Office: c/o CT Corporation System, 314 East Thayer Avenue, Bismarck, North Dakota 58501


THIS COVERAGE PART PROVIDES CLAIMS MADE COVERAGE, WHICH APPLIES ONLY TO CLAIMS FIRST MADE
AGAINST THE INSUREDS DURING THE POLICY PERIOD. THE LIMIT OF LIABILITY TO PAY JUDGMENTS OR
SETTLEMENT AMOUNTS SHALL BE REDUCED AND MAY BE EXHAUSTED BY PAYMENT OF DEFENSE COSTS.
PLEASE READ THIS POLICY CAREFULLY.

Item 1:        Parent Company:                Hawaii Island Air, Inc.

Item 2:        Limit of Liability

                          $5,000,000 per Claim
                          $5,000,000 in the aggregate

Item 3:        Retention: $50,000 per Claim

Item 4:        Pending or Prior Proceedings Date: March 2, 2016




QBBP-3001 (05-14)                                                                                                    Page 1 of 1
QBE and the links logo are registered service marks of QBE Insurance Group Limited.
             U.S. Bankruptcy Court - Hawaii #22-90006 Dkt # 1 Filed 03/08/22 Page 25 of 42
       Case 1:22-cv-00391-SOM-KJM Document 11-5 Filed 09/08/22 Page 27 of 43 PageID.399
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                                                          The Solution for Employment Practices Liability
                                                                                                        Coverage Part
In consideration of the payment of the premium and subject to the General Terms and Conditions, the Insurer and the
Insureds agree as follows:
I.      INSURING CLAUSE
        The Insurer shall pay, on behalf of an Insured, Loss on account of a Claim first made during the Policy Period.
II.     EXCLUSIONS
        In addition to the Exclusions set forth in Section II. EXCLUSIONS of the GTC, no coverage shall be provided under
        this Coverage Part for Loss on account of that portion of a Claim:
        A. Breach of Written Employment Contract - based upon, arising out of or resulting from any breach of any written
           employment contract or agreement, provided that this Exclusion A shall not apply to: 1. Loss to the extent an
           Insured would have been liable for such Loss in the absence of such written employment contract or
           agreement; or 2. Defense Costs;
        B. OSHA, Workforce Notification and Labor Relations - based upon, arising out of or resulting from any violation of
           the responsibilities, obligations or duties imposed by the Occupational Safety and Health Act, the Worker
           Adjustment and Retraining Notification Act, the National Labor Relations Act or any similar law; and
        C. Workers Compensation, Disability Benefits, Social Security, Unemployment - based upon, arising out of or
           resulting from any failure to comply with any obligation under any workers compensation, disability benefits,
           social security or unemployment insurance law;
        Exclusions A - C above shall not apply to any Claim for Retaliation.
        With respect to this Coverage Part, the following exceptions shall apply to Section II. EXCLUSIONS of the GTC:
        1. Exclusion A. Bodily Injury/Property Damage shall not apply to Loss for any mental anguish, emotional distress
           or humiliation when alleged as part of a Claim otherwise covered under this Coverage Part; and
        2. Exclusion C. ERISA and E. Pollution shall not apply to any Claim for Retaliation.
III.    OTHER INSURANCE
        A. With respect to any Claim for an Employment Practices Wrongful Act, other than that portion of a Claim
           made against a leased or temporary employee or Independent Contractor, this Coverage Part shall be
           primary insurance.
        B. With respect to:
            1. that portion of any Claim made against any leased or temporary employee or Independent Contractor;
               or
            2. any Claim for a Third Party Wrongful Act, where Loss is covered under this Coverage Part and other
               valid and collective insurance,
            this Coverage Part shall be specifically excess of and shall not contribute with any other valid and collectible
            insurance policy (other than a policy that is issued specifically as excess of the insurance afforded by the
            Coverage Part), regardless of whether such other insurance is stated to be primary, contributory, excess,
            contingent or otherwise.
IV.     COORDINATION OF COVERAGE
        Any Loss covered under this Coverage Part and one or more other Liability Coverage Parts shall first be covered
        under this Coverage Part, subject to its terms, conditions and limitations. Any remaining portion of such Loss shall
        be covered under such other Liability Coverage Part(s), subject to its terms, conditions and limitations.
V.      GLOSSARY
        A. Benefits means any payments (including insurance premiums), deferred compensation, perquisites or fringe
           benefits, in connection with an employee benefit plan and any other payment to or for the benefit of an
           employee arising out of the employment relationship. However, Benefits shall not include salary, wages,
           bonuses, commissions, Stock Benefits or non-deferred cash incentive compensation.




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  Case 1:22-cv-00391-SOM-KJM Document 11-5 Filed 09/08/22 Page 28 of 43 PageID.400
 Case 1:22-cv-00450-SOM-KJM Document 81-20 Filed 07/31/23 Page 80 of 149 PageID.1027
     B. Claim means any:
          1. written demand for monetary or non-monetary (including injunctive) relief, including demands for arbitration,
             waiving or tolling of a statute of limitations, reinstatement, reemployment or re-engagement;
          2. civil or criminal proceeding, evidenced by: (a) the service of a complaint or similar pleading in a civil
             proceeding; or (b) the filing of an indictment, information or similar document or an arrest in a criminal
             proceeding; and
          3. arbitration proceeding pursuant to an employment contract or agreement, policy or practice of a Company;
          4. administrative, regulatory or tribunal proceeding, other than a labor, grievance or other proceeding under a
             collective bargaining agreement, evidenced by the filing of a formal notice of charges or the entry of a
             formal order of investigation; or
          5. any audit of an Insured conducted by the United States of America Office of Federal Contract Compliance
             Programs (“OFCCP”),
          against an Insured for a Wrongful Act, including any appeal therefrom.
          The time when a Claim shall be deemed first made for the purposes of this Coverage Part shall be the date on
          which the Claim is first made against, served upon or received by the Insured or the applicable notice or order
          is filed or entered.
     C. Defense Costs means that part of Loss consisting of:
          1. reasonable costs, charges, fees (including, attorneys' fees and experts' fees) and expenses (other than
             regular or overtime wages, salaries, fees or benefits of any Insured) incurred in investigating, defending,
             opposing or appealing any Claim; or
          2. the premium for appeal, attachment or similar bonds (but the Insurer shall be under no obligation to furnish
             any bond).
     D. Discrimination means any violation of any employment discrimination law.
     E. Employment Practices Wrongful Act means any:
          1. breach of any employment contract or agreement or contractual obligation, including any contract or
             agreement or contractual obligation arising out of any employee handbook, personnel manual, policy
             statement or other representation;
          2. Discrimination;
          3. Harassment;
          4. Retaliation;
          5. Workplace Tort; or
          6. Wrongful Employment Decision,
          committed, attempted, or allegedly committed or attempted by an Insured while acting in his or its capacity as
          such.
     F. Harassment means any:
          1. sexual harassment that is made a condition of employment with, used as a basis for employment
             decisions by, interferes with performance or creates an intimidating, hostile or offensive working environment
             within, a Company; or
          2. workplace harassment, including bullying that interferes with performance or creates an intimidating, hostile
             or offensive working environment within a Company.
     G. Independent Contractor means any natural person working for a Company pursuant to a written contract or
        agreement between such natural person and the Company which specifies the terms of the Company’s
        engagement of such natural person.
     H. Insured means any Company or Insured Person.
     I.   Insured Person means any:
          1. Executive or Employee; or
          2. Independent Contractor, but only if the Company agrees to indemnify the Independent Contractor in the
             same manner as Employees for liability arising out of a Claim.

QBBP-1002 (05-14)                                                                                             Page 2 of 4
          U.S. Bankruptcy Court - Hawaii #22-90006 Dkt # 1 Filed 03/08/22 Page 27 of 42
   Case 1:22-cv-00391-SOM-KJM Document 11-5 Filed 09/08/22 Page 29 of 43 PageID.401
  Case 1:22-cv-00450-SOM-KJM Document 81-20 Filed 07/31/23 Page 81 of 149 PageID.1028
     J.   Loss means the amount that an Insured becomes legally obligated to pay on account of any Claim including:
          1. compensatory damages (including back pay and front pay);
          2. judgments and settlements, including a judgment or settlement awarding plaintiffs’ attorneys fees, provided
             that with respect to any settlement including plaintiffs’ attorney fees, that portion of the settlement can be
             demonstrated to be reasonable, taking into consideration the nature of legal action, time and expense
             involved in prosecuting such action, and the likelihood of a court awarding a similar amount as part of a
             judgment;
          3. pre and post-judgment interest;
          4. liquidated damages awarded pursuant to the Age Discrimination in Employment Act, Family Medical Leave
             Act or Equal Pay Act;
          5. Defense Costs; and
          6. punitive, exemplary or multiplied damages, if and to the extent that any such damages are insurable under
             the law of the jurisdiction most favorable to the insurability of such damages.
          In determining the most favorable jurisdiction as set forth in paragraph 6 above, due consideration shall be
          given to the jurisdiction with a substantial relationship to the relevant Insureds, to the Company, or to the
          Claim giving rise to such damages, and the Insurer shall not challenge any opinion of independent legal
          counsel (mutually agreed to by the Insurer and the Insured) that such damages are insurable under applicable
          law.
          Loss does not include any portion of such amount that constitutes any:
          (a) amount not insurable under the law pursuant to which this Coverage Part is construed;
          (b) cost incurred to comply with any order for injunctive or other non-monetary relief, or to comply with an
              agreement to provide such relief;
          (c) future salary, wages, commissions, or Benefits or other monetary payments of a claimant who has been or
              shall be hired, promoted or reinstated to employment pursuant to a settlement, order or other resolution of
              any Claim;
          (d) salary, wages, commissions, Benefits or other monetary payments which constitute severance payments
              or payments pursuant to a notice period;
          (e) Benefits due or to become due or the equivalent value of such Benefits;
          (f) cost associated with providing any accommodation for persons with disabilities or any other status which
              is protected under any law, including the Americans with Disabilities Act and the Civil Rights Act of 1964;
          (g) tax, fine or penalty imposed by law; or
          (h) cost incurred to clean up, remove, contain, treat, detoxify or neutralize Pollutants.
     K. Retaliation means retaliatory treatment against an Employee of a Company on account of such individual:
          1. exercising his or her rights under law, refusing to violate any law or opposing any unlawful practice;
          2. having assisted or testified in or cooperated with a proceeding or investigation (including any internal
             investigation conducted by the Company’s human resources or legal department) regarding alleged
             violations of law by the Insured;
          3. disclosing or threatening to disclose to a superior or any governmental agency any alleged violations of law;
             or
          4. filing any claim against the Company under the Federal False Claims Act, Section 806 of the
             Sarbanes Oxley Act or any other whistleblower law.
     L. Stock Benefits means any:
          1. offering, plan or agreement between a Company and any Employee which grants stock, warrants,
             shares or stock options of the Company to such Employee, including grants of restricted stock,
             performance stock shares, membership shares or any other compensation or incentive granted in the form
             of securities of the Company; or
          2. payment or instrument, the amount or value of which is derived from the value of securities of the
             Company, including stock appreciation rights or phantom stock plans or arrangements,
       provided that Stock Benefits shall not include amounts claimed under any employee stock ownership plans
       or employee stock purchase plans.
QBBP-1002 (05-14)                                                                                 Page 3 of 4
          U.S. Bankruptcy Court - Hawaii #22-90006 Dkt # 1 Filed 03/08/22 Page 28 of 42
  Case 1:22-cv-00391-SOM-KJM Document 11-5 Filed 09/08/22 Page 30 of 43 PageID.402
 Case 1:22-cv-00450-SOM-KJM Document 81-20 Filed 07/31/23 Page 82 of 149 PageID.1029
    M. Third Party means any natural person who is not an Insured Person.
     N. Third Party Wrongful Act means any sexual harassment, or discrimination based upon status protected under
        any anti-discrimination law, against a Third Party committed, attempted, or allegedly committed or attempted
        by any Insured while acting in his or its capacity as such.
     O. Workplace Tort means any employment-related:
        1. misrepresentation, defamation (including libel and slander), invasion of privacy, wrongful infliction of
           emotional distress, mental anguish or humiliation; or
        2. negligent retention, supervision, hiring or training, failure to provide or enforce consistent employment-
           related corporate policies and procedures, false imprisonment, negligent evaluation, wrongful discipline or
           wrongful deprivation of career opportunity,
        but only when alleged as part of a Claim for any Wrongful Employment Decision, breach of employment
        contract, Discrimination, Harassment or Retaliation.
     P. Wrongful Act means an Employment Practices Wrongful Act or Third Party Wrongful Act.
     Q. Wrongful Employment Decision means any wrongful termination, discharge of employment, demotion,
        denial of tenure, failure or refusal to employ or promote, or wrongful or negligent employee reference.




QBBP-1002 (05-14)                                                                                         Page 4 of 4
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   Case 1:22-cv-00391-SOM-KJM Document 11-5 Filed 09/08/22 Page 31 of 43 PageID.403
POLICY
  Case NUMBER:   QPL0192298
       1:22-cv-00450-SOM-KJM          Document 81-20                          INTERLINE
                                            Filed 07/31/23 Page 83 of 149 PageID.1030
Endorsement Effective Date: March 2, 2017                                                              QBIL-0199 (06-13)




          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                 Service of Process Clause

                                                      HAWAII

Upon any cause of action under this policy, QBE Specialty Insurance Company (hereafter “the Company”) may be sued in
the district court of the county in which the cause of action arose.

The Company appoints the Commissioner of Insurance for the State of Hawaii as its attorney for acceptance of service of
all legal process issued in this state in any action or proceeding arising out of this policy. Service of process upon the
Commissioner shall be lawful service upon the Company.

The Company further designates

                                             The Corporation Company, Inc.
                                             900 Fort Street Mall, Suite 1800
                                                  Honolulu, HI 96813



as the person to whom the Commissioner is authorized to mail such process or a true copy thereof.




All other terms and conditions of this policy remain unchanged.




QBIL-0199 (06-13)                                                                                             Page 1 of 1
         U.S. Bankruptcy Court - Hawaii #22-90006 Dkt # 1 Filed 03/08/22 Page 30 of 42
   Case 1:22-cv-00391-SOM-KJM Document 11-5 Filed 09/08/22 Page 32 of 43 PageID.404
POLICY
  Case NUMBER:     QPL0192298
         1:22-cv-00450-SOM-KJM        Document 81-20
                                            Filed 07/31/23 Page 84 of 149 PageID.1031
Effective Date of Endorsement: March 2, 2017                                                         QBBPP-2090 (05-14)




          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                            PRIOR ACTS EXCLUSION

This endorsement modifies insurance provided under the following:
DIRECTORS & OFFICERS AND ENTITY LIABILITY COVERAGE PART
EMPLOYMENT PRACTICES LIABILITY COVERAGE PART


It is hereby agreed that Section II. EXCLUSIONS is amended by the addition of the following:

Prior Acts - based upon, arising out of or resulting from any Wrongful Act actually or allegedly committed or attempted, in
whole or in part, prior to February 4, 2016.


All other terms and conditions of this Policy remain unchanged.




QBBPP-2090 (05-14)                                                                                             Page 1 of 1
         U.S. Bankruptcy Court - Hawaii #22-90006 Dkt # 1 Filed 03/08/22 Page 31 of 42
     Case 1:22-cv-00391-SOM-KJM Document 11-5 Filed 09/08/22 Page 33 of 43 PageID.405
 POLICY NUMBER: QPL0192298
  Case 1:22-cv-00450-SOM-KJM          Document 81-20
                                              Filed 07/31/23 Page 85 of 149 PageID.1032
 Endorsement Effective Date: March 2, 2017                                                    QBBPP-2117 (04-15)




          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           INSURED PERSON AMENDED TO INCLUDE ANY ADVISORY BOARD MEMBER
                                  ENDORSEMENT


This endorsement modifies insurance provided under the following:
DIRECTORS & OFFICERS AND ENTITY LIABILITY COVERAGE PART

It is hereby agreed that:

I.   The definition of Insured Person in paragraph D. of Section X. GLOSSARY is amended by the addition of the
     following:

     An Insured Person shall include any natural person who was, now is or shall be a board observer or duly elected
     member of an advisory board including a Scientific Advisory Board.

II. Section X. GLOSSARY is amended by the addition of the following:

     Scientific Advisory Board means a group of scientists, independent from management, created by or requested by
     the Company to provide objective feedback and guidance on the Company’s progress and goals.

All other terms and conditions of this Policy remain unchanged.




QBBPP-2117 (04-15)                                                                                      Page 1 of 1

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   Case 1:22-cv-00391-SOM-KJM Document 11-5 Filed 09/08/22 Page 34 of 43 PageID.406
 POLICY NUMBER: QPL0192298
  Case 1:22-cv-00450-SOM-KJM          Document 81-20
                                            Filed 07/31/23 Page 86 of 149 PageID.1033
 Endorsement Effective Date: March 2, 2017                                                          QBBPP-2168 (05-14)




          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              AMEND FORMER INSURED PERSON TIME THRESHOLD ENDORSEMENT

This endorsement modifies insurance provided under the following:
DIRECTORS & OFFICERS AND ENTITY LIABILITY COVERAGE PART

It is hereby agreed that paragraph (b)(iii) in Exclusion A. Insured v. Insured of Section II. EXCLUSIONS is replaced by the
following:

(iii) brought by an Insured Person who has ceased serving in his or her capacity as such for at least 2 year(s); or


All other terms and conditions of this Policy remain unchanged.




QBBPP-2168 (05-14)                                                                                             Page 1 of 1

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   Case 1:22-cv-00391-SOM-KJM Document 11-5 Filed 09/08/22 Page 35 of 43 PageID.407
 POLICY NUMBER: QPL0192298
  Case 1:22-cv-00450-SOM-KJM          Document 81-20
                                            Filed 07/31/23 Page 87 of 149 PageID.1034
 Endorsement Effective Date: March 2, 2017                                                      QBBPP-2180 (05-14)




          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

   AMEND BODILY INJURY/PROPERTY EXCLUSION FOR SECURITYHOLDER CARVEBACK


This endorsement modifies insurance provided under the following:
DIRECTORS & OFFICERS AND ENTITY LIABILITY COVERAGE PART
EMPLOYMENT PRACTICES LIABILITY COVERAGE PART

It is hereby agreed that Section II. EXCLUSIONS, paragraph 1. is replaced by the following:

1. Exclusion A. Bodily Injury/Property Damage shall not apply to: (a) any Claim under Insuring Clause A; or (b) Loss on
   account of derivative demand or action or Claim brought by a securityholder or limited partner of a Company against
   an Insured Person.




All other terms and conditions of this Policy remain unchanged.




QBBPP-2180 (05-14)                                                                                        Page 1 of 1

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   Case 1:22-cv-00391-SOM-KJM Document 11-5 Filed 09/08/22 Page 36 of 43 PageID.408
 POLICY NUMBER: QPL0192298
  Case 1:22-cv-00450-SOM-KJM          Document 81-20
                                            Filed 07/31/23 Page 88 of 149 PageID.1035
 Endorsement Effective Date: March 2, 2017                                            QBBPP-2200 (05-14)




          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        AMEND DEFINITION OF CLAIM TO INCLUDE MEDIATION
This endorsement modifies insurance provided under the following:
EMPLOYMENT PRACTICES LIABILITY COVERAGE PART

It is hereby agreed that Section V. GLOSSARY, paragraph B. Claim 1. is amended by the addition of the word
“mediation,” after the word “arbitration,”.




All other terms and conditions of this Policy remain unchanged.




QBBPP-2200 (05-14)                                                                            Page 1 of 1

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   Case 1:22-cv-00391-SOM-KJM Document 11-5 Filed 09/08/22 Page 37 of 43 PageID.409
 POLICY NUMBER: QPL0192298
  Case 1:22-cv-00450-SOM-KJM          Document 81-20
                                            Filed 07/31/23 Page 89 of 149 PageID.1036
 Endorsement Effective Date: March 2, 2017                                                      QBBPP-2213 (09-14)




          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    PROFESSIONAL SERVICES EXCLUSION WITH SECURITYHOLDER CLAIM CARVEBACK


This endorsement modifies insurance provided under the following:
DIRECTORS & OFFICERS AND ENTITY LIABILITY COVERAGE PART

It is hereby agreed that Exclusion H. Professional Services in Section II. EXCLUSIONS is amended by the addition of the
following:

Exclusion H shall not apply to any Claim brought by a securityholder of a Company against a Company. However, in no
event shall any coverage be provided for any portion of such Claim that is brought by the securityholder in solely his
capacity as a client of such Company.




All other terms and conditions of this Policy remain unchanged.




       U.S.(09-14)
QBBPP-2213  Bankruptcy Court - Hawaii            #22-90006 Dkt # 1 Filed 03/08/22 Page 36 of Page
                                                                                             42 1 of 1
   Case 1:22-cv-00391-SOM-KJM
POLICY                                  Document 11-5             Filed 09/08/22 Page 38 of 43 PageID.410
  CaseNUMBER:    QPL0192298
        1:22-cv-00450-SOM-KJM          Document 81-20             Filed 07/31/23 Page 90 of 149 PageID.1037
Endorsement Effective Date: March 2, 2017                                                             QBBPP-2216 (05-14)




             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                  INSURED V. INSURED CARVEBACK FOR FINANCIAL IMPAIRMENT


This endorsement modifies insurance provided under the following:
DIRECTORS & OFFICERS AND ENTITY LIABILITY COVERAGE PART

It is hereby agreed that paragraph (b) of Exclusion A. Insured v. Insured in Section II. EXCLUSIONS is replaced by the
following:

Exclusion A3 above shall not apply to any Claim: (i) for employment-related Wrongful Acts against an Insured Person;
(ii) for contribution or indemnity; (iii) brought by an Insured Person who has ceased serving in his capacity as such for at
least 1 year; (iv) brought while the Parent Company is in Financial Impairment; or (v) brought by, on behalf of or with the
participation of a whistleblower;


All other terms and conditions of this Policy remain unchanged.




QBBPP-2216 (05-14)                                                                                               Page 1 of 1

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   Case 1:22-cv-00391-SOM-KJM Document 11-5 Filed 09/08/22 Page 39 of 43 PageID.411
POLICY
  Case NUMBER:     QPL0192298
         1:22-cv-00450-SOM-KJM        Document 81-20
                                            Filed 07/31/23 Page 91 of 149 PageID.1038
Effective Date of Endorsement: March 2, 2017                                                QBBPP-2247 (12-14)




           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                            NAMED CO-DEFENDANT COVERAGE ENDORSEMENT



This endorsement modifies insurance provided under the following:
GENERAL TERMS AND CONDITIONS

It is hereby agreed that:

    I.      Coverage under this Policy shall also apply to the Named Co-Defendants for any Claim made against the
            Named Co-Defendants but only to the extent that:

            a. a Claim is made against the Named Co-Defendants for a Wrongful Act of an Insured and such Claim
               is made and continuously maintained against both the Insured and the Named Co-Defendants;
            b. the Named Co-Defendants become co-defendants in such Claim by reason of their actual or alleged
               status as a controlling shareholder; and
            c. the Insured and the Named Co-Defendants are represented by the same legal counsel.

    II.     Section XXII. GLOSSARY is amended by the addition of the following:

            Named Co-Defendants means the Sponsor Company and any Affiliated Entity including any directors, of-
            ficers, general partners, managing directors or employees thereof.

            Sponsored Company means:

            PaCap Aviation Finance
            Malama Investments

            Affiliated Entity means any entity that is:

            a. A pooled investment vehicle created, managed or controlled by the Sponsored Company;
            b. An investment or management company controlled by the Sponsored Company that renders services to
               an Affiliated Entity described in paragraph a. above; or
            c. A special purpose vehicle created and controlled by the Sponsored Company for the purpose of making
               an acquisition of the Parent Company.




All other terms and conditions of this Policy remain unchanged.




QBBPP-2247 (12-14)                                                                                     Page 1 of 1
          U.S. Bankruptcy Court - Hawaii #22-90006 Dkt # 1 Filed 03/08/22 Page 38 of 42
   Case 1:22-cv-00391-SOM-KJM Document 11-5 Filed 09/08/22 Page 40 of 43 PageID.412
POLICY
  Case NUMBER:      QPL0192298
         1:22-cv-00450-SOM-KJM        Document 81-20
                                            Filed 07/31/23 Page 92 of 149 PageID.1039
Effective Date of Endorsement: March 02, 2017                                                       QBBPP-2073M (05-14)




          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


         SPECIFIED INDIVIDUAL EXCLUSION – CLAIMS BROUGHT BY SUCH INDIVIDUAL

This endorsement modifies insurance provided under the following:
DIRECTORS & OFFICERS AND ENTITY LIABILITY COVERAGE PART

It is hereby agreed that Section II. EXCLUSIONS is amended by the addition of the following:

No coverage shall be provided under this Coverage Part for Loss on account of that portion of a Claim brought by or on
behalf of any Individual listed below, and/or any entity on which such individual(s) is a director, officer, management
committee member or trustee (or equivalent position), or any entity in such individual(s) owns, or controls, five percent
(5%) or more of an equity or debt ownership interest (individually or collectively) either directly or indirectly and/or any
past, present or future director or officer (or equivalent position) of any such entity.



                                                       Larry Ellison




All other terms and conditions of this Policy remain unchanged.




QBBPP-2073M (05-14)                                                                                            Page 1 of 1
         U.S. Bankruptcy Court - Hawaii #22-90006 Dkt # 1 Filed 03/08/22 Page 39 of 42
     Case 1:22-cv-00391-SOM-KJM Document 11-5 Filed 09/08/22 Page 41 of 43 PageID.413
 POLICY NUMBER: QPL0192298
  Case 1:22-cv-00450-SOM-KJM          Document 81-20
                                              Filed 07/31/23 Page 93 of 149 PageID.1040
 Endorsement Effective Date: March 2, 2017                                                                QBPD-6000 (02-15)



           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM

It is hereby agreed that:


I.   This Policy is amended by the addition of the following:
     If aggregate insured losses attributable to a Certified Act of Terrorism under the federal Terrorism Risk Insurance
     Act exceed $100 billion in a calendar year and we have met our insurer deductible under the Terrorism Risk
     Insurance Act, we shall not be liable for the payment of any portion of the amount of such losses that exceeds $100
     billion, and in such case insured losses up to that amount are subject to pro rata allocation in accordance with
     procedures established by the Secretary of the Treasury.

II. Solely for the purposes of this endorsement, this Policy is amended by the addition of the following:
     Certified Act of Terrorism means an act that is certified by the Secretary of Treasury, in accordance with the
     provisions of the federal Terrorism Risk Insurance Act,, to be an act of terrorism. The criteria contained in the
     Terrorism Risk Insurance Act for a Certified Act of Terrorism include the following:
     1. The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of insurance
         subject to the Terrorism Risk Insurance Act; and
     2. The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed by an
         individual or individuals as part of an effort to coerce the civilian population of the United States or to influence the
         policy or affect the conduct of the United States Government by coercion.

III. The terms and limitations of any terrorism exclusion, or the inapplicability or omission of a terrorism exclusion, do not
     serve to create coverage for any Loss that is otherwise excluded under this Policy.

All other terms and conditions of this Policy remain unchanged.




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QBPD-6000 (02-15)                                                                                                    Page 1 of 1
          U.S. Bankruptcy Court - Hawaii #22-90006 Dkt # 1 Filed 03/08/22 Page 40 of 42
        Case1040)
B1040 (Form  1:22-cv-00391-SOM-KJM
                  (12/15)          Document 11-5 Filed 09/08/22 Page 42 of 43   PageID.414
        Case 1:22-cv-00450-SOM-KJM Document 81-20 Filed 07/31/23 Page 94 of 149 PageID.1041
               ADVERSARY PROCEEDING COVER SHEET                 ADVERSARY PROCEEDING NO.
                                      (Instructions on Reverse)
PLAINTIFF(S)                                                                     DEFENDANT(S)



ATTORNEY(S) (Firm Name, Address, Telephone No.)                                  ATTORNEY(S) (If Known)




PARTY (Check One Box Only)                                PARTY (Check One Box Only)
    Debtor          U.S. Trustee                                 Debtor              U.S. Trustee
    Creditor         Trustee          Other                      Creditor            Trustee                                               Other
CAUSE OF ACTION (Write a brief statement of cause of action, including all U.S. statutes involved.)




                                                                        NATURE OF SUIT
      (Number up to 5 boxes with the lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)
     Note: Only a complaint including an objection to discharge under 11 U.S.C. § 727 will defer the clerk's entry of the debtor's discharge in bankruptcy.
       A complaint to determine the dischargeability of a debt under 11 U.S.C. § 523 does not affect the entry of a discharge with respect to other debts.
FRBP 7001(1) – Recovery of Money/Property                                        FRBP 7001(6) – Dischargeability (continued)
  11 – Recovery of money/property ‐ § 542 turnover of property                      61 – Dischargeability ‐ § 523(a)(5), domestic support
  12 – Recovery of money/property ‐ § 547 preference                                68 – Dischargeability ‐ § 523(a)(6), willful and malicious injury
  13 – Recovery of money/property ‐ § 548 fraudulent transfer                       63 – Dischargeability ‐ § 523(a)(8), student loan
  14 – Recovery of money/property – other                                           64 – Dischargeability ‐ § 523 (a)(15), divorce or separation obligation
                                                                                            (other than domestic support)
FRBP 7001(2) – Validity, Priority or Extent of Lien                                 65 – Dischargeability – other
   21 – Validity, priority or extent of lien or other interest in property
                                                                                 FRBP 7001(7) – Injunctive Relief
FRBP 7001(3) – Approval of Sale of Property                                         71 – Injunctive relief – imposition of stay
   31 – Approval of sale of property of estate and of a co‐owner ‐ § 363(h)         72 – Injunctive relief – other

FRBP 7001(4) – Objection/Revocation of Discharge                                 FRBP 7001(8) – Subordination of Claim or Interest
  41 – Objection/revocation of discharge ‐ § 727(c), (d), (e)                       81‐ Subordination of claim or interest

FRBP 7001(5) – Revocation of Confirmation                                        FRBP 7001(9) – Declaratory Judgment
  51 – Revocation of confirmation                                                   91 – Declaratory judgment

FRBP 7001(6) – Dischargeability                                                  FRBP 7001(10) – Determination of Removed Action
  66 – Dischargeability ‐ § 523(a)(1), (14), (14A) priority tax claims              01 – Determination of removed claim or cause
  62 – Dischargeability ‐ § 523(a)(2), false pretenses, false representation,
          actual fraud                                                           Other
  67 – Dischargeability ‐ § 523(a)(4), fraud as fiduciary, embezzlement,           SS‐SIPA Case – 15 U.S.C. §§ 78aaa et seq.
          larceny                                                                  02 – Other (e.g.,other actions that would have been brought in state court
  (continued next column)                                                                  if unrelated to bankruptcy case)
   Check if this case involves a substantive issue of state law                    Check if this is asserted to be a class action under FRCP 23
   Check if a jury trial is demanded in complaint                                Demand: $

Other Relief Sought:


                  U.S. Bankruptcy Court - Hawaii #22-90006 Dkt # 1 Filed 03/08/22 Page 41 of 42
        Case
B1040 (Form    1:22-cv-00391-SOM-KJM
            1040) (12/15)            Document 11-5 Filed 09/08/22 Page 43 of 43 PageID.415
       Case 1:22-cv-00450-SOM-KJM Document 81-20 Filed 07/31/23 Page 95 of 149 PageID.1042
                      BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                                                 BANKRUPTCY CASE NO.


DISTRICT IN WHICH CASE IS PENDING                              DIVISION OFFICE                 NAME OF JUDGE


                                      RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                     DEFENDANT                                    ADVERSARY PROCEEDING NO.


DISTRICT IN WHICH ADVERSARY PROCEEDING IS PENDING              DIVISION OFFICE             NAME OF JUDGE


SIGNATURE OF ATTORNEY (OR PLAINTIFF)                           PRINT NAME OF ATTORNEY (OR PLAINTIFF)



DATE




                                                      INSTRUCTIONS

The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of all of
the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also
may be lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an
adversary proceeding.

A party filing an adversary proceeding must also must complete and file Form 104, the Adversary Proceeding Cover
Sheet. When completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of
court needs the information to process the adversary proceeding and prepare required statistical reports on court
activity.

The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings or
other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self‐
explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented
by an attorney, the plaintiff must sign.
               U.S. Bankruptcy Court - Hawaii #22-90006 Dkt # 1 Filed 03/08/22 Page 42 of 42
 Case 1:22-cv-00391-SOM-KJM
 Case  1:22-cv-00391-SOM-KJM Document 11-6
                             Document 11-6 Filed
                                           Filed 09/08/22
                                                 09/08/22 Page
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                                                               1 of 10 PageID.416
Case 1:22-cv-00450-SOM-KJM Document 81-20 Filed 07/31/23 Page 96 of 149 PageID.1043




                           EXHIBIT
                           EXHIBIT D
                                   D
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                              UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF HAWAII

                                         )
          QBE SPECIALTY INSURANCE        )        Adv. Pro. 22-90006
          COMPANY,                       )        (Chapter 7)
                                         )
                              Plaintiff, )        June 3, 2022
                                         )        2:03 p.m.
               vs.                       )
                                         )
          ELIZABETH KANE, AS CHAPTER 7   )        U.S. Bankruptcy Court
          TRUSTEE,                       )        1132 Bishop Street, Suite 250
                                         )        Honolulu, HI 96813
                              Defendant. )
          ______________________________ )


                            TRANSCRIPT OF SCHEDULING CONFERENCE
                           BEFORE THE HONORABLE ROBERT J. FARIS
                               UNITED STATES BANKRUPTCY JUDGE

         APPEARANCES:

          For QBE Specialty Insurance:        Kamalolookalani Koanui-Kong, Esq.
                                              Gallagher Kane Amai & Reyes
                                              745 Fort Street, Suite 1550
                                              Honolulu, HI 96797

          For QBE Specialty Insurance:        John E. Howell, Esq.
                                              Wiley Rein LLP
                                              2050 M Street NW
                                              Washington, D.C. 20006

          For Paul Marinelli:                 Christopher J. Muzzi, Esq.
                                              Tsugawa Lau & Muzzi
                                              55 Merchant Street, Suite 3000
                                              Honolulu, HI 96813

          For Jeffrey Au & PaCap              Christian K. Adams, Esq.
          Aviation Finance LLC:               Adams Miyashiro Krek LLP
                                              900 Fort Street Mall, Suite 1700
                                              Honolulu, HI 96813

          For Jeffrey Au & PaCap              Peter W. Ito, Esq.
          Aviation Finance LLC:               1550 Larimer Street, Suite 667
                                              Denver, CO 80202




                                        EXHIBIT D
 Case 1:22-cv-00391-SOM-KJM Document 11-6 Filed 09/08/22 Page 3 of 10 PageID.418    2
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          APPEARANCES: (Continued)

          For Elizabeth Kane, as              Simon Klevansky, Esq.
          Chapter 7 Trustee:                  Klevansky Piper, LLP
                                              1136 Union Mall, Suite 701
                                              Honolulu, HI 96813

          For Christopher Gossert and         David C. Farmer, Esq.
          Catherine Yannone:                  225 Queen Street, Suite 15A
                                              Honolulu, HI 96813

          For David Pflieger:                 Jean Christensen, Esq.
                                              2070 W. Vineyard Street, Suite 1
                                              Wailuku, HI 96793

          For David Uchiyama:                 Scott E. Kubota, Esq.
                                              Four Waterfront Plaza, Suite 480
                                              500 Ala Moana Boulevard
                                              Honolulu, HI 96813

          For Philip Wegescheide:             Harvey J. Lung, Esq.
                                              Jai William Keep-Barnes, Esq.
                                              Lung Rose Voss & Waglind
                                              700 Bishop Street, Suite 900
                                              Honolulu, HI 96813

          Transcription Service:              Jessica B. Cahill, CER/CET-708
                                              Maukele Transcribers, LLC
                                              467 Maukele Place
                                              Wailuku, Maui, HI 96793
                                              Telephone: (808)244-0776




         Proceedings recorded by electronic sound recording;
         transcript produced by transcription service.
 Case 1:22-cv-00391-SOM-KJM Document 11-6 Filed 09/08/22 Page 4 of 10 PageID.419 3
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     1   JUNE 3, 2022                                            2:03 P.M.

     2                THE COURT:   Okay.    Good afternoon, it's Judge Faris.

     3   Madam Clerk, please go ahead.

     4                THE CLERK:   The United States Bankruptcy Court for the

     5   District of Hawaii is now in session.       The Honorable Robert J.

     6   Faris presiding.

     7                Calling adversary proceeding 22-90006, QBE Specialty

     8   Insurance Company v. Elizabeth Kane, et al.        Proceeding is called

     9   for a scheduling conference.

    10                Ms. Koanui-Kong, please state your appearance.

    11                MS. KOANUI-KONG:     Good afternoon, Your Honor.

    12   Kamalolookalani Kong and my co-counsel John Howell on behalf of

    13   QBE Specialty Insurance Company.

    14                THE CLERK:   Mr. Muzzi, please state your appearance.

    15                MR. MUZZI:   Good afternoon, Your Honor.     Christopher

    16   Muzzi on behalf of interpleader Defendant Paul Marinelli.

    17                THE CLERK:   Mr. Adams, please state your appearance.

    18                MR. ADAMS:   Good afternoon, Your Honor.     Christian

    19   Adams appearing on behalf of Jeffrey Au and PaCap, along with

    20   Peter Ito.

    21                THE CLERK:   Ms. Christensen, please state your

    22   appearance.

    23                MS. CHRISTENSEN:     Good afternoon, Your Honor. Jean

    24   Christensen appearing on behalf of Defendant David Pflieger.

    25                THE CLERK:   Mr. Klevansky, please state your
Case 1:22-cv-00391-SOM-KJM Document 11-6 Filed 09/08/22 Page 5 of 10 PageID.420   4
    Case 1:22-cv-00450-SOM-KJM Document 81-20 Filed 07/31/23 Page 100 of 149
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    1   appearance.

    2              MR. KLEVANSKY:    Good afternoon, Your Honor.      Simon

    3   Klevansky appearing on behalf of the Trustee.

    4              THE CLERK:    Mr. Farmer, please state your appearance.

    5              MR. FARMER:    Good afternoon, Your Honor.      David Farmer

    6   appearing on behalf of interpleader Defendants Gossert and

    7   Yannone.

    8              THE CLERK:    Mr. Kubota, please state your appearance.

    9              MR. KUBOTA:    Good afternoon, Your Honor.      Scott Kubota

   10   appearing on behalf of David Uchiyama.

   11              THE CLERK:    Mr. Lung, please state your appearance.

   12              MR. LUNG:    Thank you.   Good afternoon, Your Honor.

   13   Harvey Lung and Jai Keep-Barnes on behalf of interpleader

   14   Defendant Philip Wegescheide.

   15              THE CLERK:    Mr. Howell -- I mean -- yes, Mr. Howell,

   16   please state your appearance.

   17              MR. HOWELL:    John Howell on behalf of QBE Specialty

   18   Insurance Company.

   19              THE CLERK:    And Mr. Ito, please state your appearance.

   20              MR. ITO:    Good afternoon, Your Honor.     Peter Ito for

   21   interpleader Defendants Jeffrey Au and PaCap Aviation Finance.

   22              THE COURT:    Okay.   Thank you, everyone.

   23              I see at least from -- some of the papers indicate that

   24   at least some people, maybe everybody, is looking for a trial in

   25   June of 2023.    The next case on the calendar day is asking for a
Case 1:22-cv-00391-SOM-KJM Document 11-6 Filed 09/08/22 Page 6 of 10 PageID.421   5
    Case 1:22-cv-00450-SOM-KJM Document 81-20 Filed 07/31/23 Page 101 of 149
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    1   trial on the first half of that same month, so I would propose

    2   June 20 or June 27th.      I'll go around and see what people think

    3   about that date.

    4                But before we do that I'll point out that I know that

    5   PaCap and perhaps some of its affiliates have demanded a jury

    6   trial.    You may know from the related adversary proceedings that

    7   I typically handle those by setting a trial date in this Court.

    8   The scheduling conference order will set a date by which people

    9   will have to move to strike the jury demand.        If no timely motion

   10   is made or if a motion is made, and it's denied, so there

   11   wouldn't be a jury trial, then I issue a recommendation to the

   12   District Court, asking the District Court to set a date for a

   13   jury trial and to provide that the reference will be withdrawn

   14   about three months before that date.

   15                So the trial date we set here may be inoperative if the

   16   jury demand sticks and would be operative if it doesn't.          And I'm

   17   not going to decide today, obviously, whether the jury demand is

   18   valid or not.

   19                So the dates I want to propose would be June 20 or 27,

   20   2023.    And let me just go around with people in the order which

   21   they appeared.     I'll start with QBE.    Ms. Koanui-Kong or Mr.

   22   Howell.

   23                MS. KOANUI-KONG:   This is Kamaloloo.    I have no

   24   objection.    Mr. Howell may have.

   25                MR. HOWELL:   No objection to either of those dates,
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    Case 1:22-cv-00450-SOM-KJM Document 81-20 Filed 07/31/23 Page 102 of 149
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    1   Your Honor.

    2               THE COURT:   All right.   Thank you.    Mr. Muzzi.

    3               MR. MUZZI:   Your Honor, my first preference would be

    4   June 20th, and then June 27th.

    5               THE COURT:   Okay.   All right.   Mr. Adams, Mr. Ito.

    6               MR. ITO:   Your Honor, Peter Ito.     Either date works for

    7   us.   Thank you.

    8               THE COURT:   Okay.   Ms. Christensen.

    9               MS. CHRISTENSEN:     No objection to either of those

   10   dates, Your Honor.

   11               THE COURT:   Okay.   Mr. Klevanksy.

   12               MR. KLEVANSKY:   Your Honor, we have no objection to

   13   either date in June of 2023.

   14               Your Honor, I apologize, my call-in dropped, and I

   15   reconnected, so I'm afraid I missed the Court's prior comment

   16   before citing to the dates.      I hesitate to ask the Court to

   17   repeat, but the Court had indicated a comment on a jury demand or

   18   something of that character, am I correct?

   19               THE COURT:   Yes, that's right.    I was just explaining

   20   how I handle situations where there's a jury demand such as PaCap

   21   has made, and I think -- you know the drill. You've seen this

   22   before.   So nothing I said would come as a surprise to you.

   23               MR. KLEVANSKY:   Okay.    There's no ruling on the issue

   24   today?    It's not before the Court, and the Court will follow its

   25   ordinary procedures.     I understand.
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                                 PageID.1050
    1              THE COURT:    Yes, exactly.

    2              MR. KLEVANSKY:    Thank you.    And I apologize for asking

    3   the Court to repeat.

    4              THE COURT:    Quite all right.    Quite all right.    Mr.

    5   Farmer.

    6              MR. FARMER:    Your Honor, we have no objection to either

    7   date.

    8              THE COURT:    All right.   Mr. Kubota.

    9              MR. KUBOTA:    No objection to either date.

   10              THE COURT:    All right.   Mr. Lung.

   11              MR. LUNG:    Thank you, Your Honor.     We have no objection

   12   to either date as well.

   13              THE COURT:    Okay.   Great.   Let's go with June 20th,

   14   since that was Mr. Muzzi's first preference and nobody else had

   15   any objection to either date.

   16              So we would just issue the scheduling order in the

   17   usual form.    And I talked about how the jury demand would be

   18   handled.   Is there anything else to be discussed?        Anybody else

   19   want to raise anything?     Rather than just call on people, if you

   20   have anything you wish to raise just speak up, please.

   21              MR. HOWELL:    Your Honor, this is John Howell for QBE.

   22   And, you know, I think I set forth in our complaint, you know,

   23   the intention of my client is to seek an order from the Court

   24   permitting it to deposit the proceeds of the policy that's at

   25   issue here into the Court's registry and obtain a discharge at an
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    1   injunction.    And we would expect to be making that motion in the

    2   next couple weeks.

    3                There have been a few motions in the main bankruptcy

    4   proceeding to lift the automatic stay to allow defense costs to

    5   be advanced, and there's been -- some defense costs have been

    6   advanced and other insureds are gathering their invoices, and

    7   it's the intention of QBE to continue advancing those costs until

    8   such time as it's granted a discharge, and then the parties can

    9   make their claims to the proceeds as they see fit.

   10                THE COURT:   Okay.   All right.   Well, I will look

   11   forward to that motion being filed and any other motions anybody

   12   wants to file.

   13                Any other procedural housekeeping or other matters

   14   anybody wants to raise today?      Okay.   All right.   Apparently not.

   15   Great.   So June 20, 2023, at 9:30 for trial.       The Court will

   16   prepare and issue the scheduling order, which will have the usual

   17   pretrial dates and procedures, which will be familiar to those of

   18   you who have practiced in the Bankruptcy Court here before.          And

   19   for those of you who haven't, please take a look at them

   20   carefully.    Thank you very much.

   21         (Proceedings concluded at 2:12 p.m.)

   22

   23

   24

   25
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                                       CERTIFICATE

              I, Jessica B. Cahill, court approved transcriber, do hereby

        certify that pursuant to 28 U.S.C. §753, the foregoing is a

        complete, true, and correct transcript from the official

        electronic sound recording of the proceedings in the above-

        entitled matter and that the transcript page format is in

        conformance with the regulations of the Judicial Conference of

        the United States.

                    Dated: August 4, 2022




                                        Jessica B. Cahill, CER/CET-708
Case 1:22-cv-00391-SOM-KJM
Case 1:22-cv-00391-SOM-KJM   Document 11-7
                            Document  11-7 Filed
                                            Filed 09/08/22
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                                                                1 of 8 PageID.426
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                          EXHIBIT
                          EXHIBIT E
                                  E
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   From: Rains, Darryl P. <DRains@mofo.com>
   Sent: Tuesday, June 7, 2022 2:33 PM
   To: 'Howell, John' <JHowell@wiley.law>
   Cc: Melvin, Kimberly <KMelvin@wiley.law>; Christopher J. Muzzi (cmuzzi@hilaw.us)
   <cmuzzi@hilaw.us>; Connelly, Rahman <rahman.connelly@pillsburylaw.com>; Bregman, Julie
   <JBregman@mofo.com>; Marsh, Shirley <SMarsh@mofo.com>; Marinuzzi, Lorenzo
   <LMarinuzzi@mofo.com>; Rains, Darryl P. <DRains@mofo.com>
   Subject: RE: Invoice for Services Rendered re Island Air/Carbonview (April 2022)

   John:

   Thanks for your email. We have just completed our work to revise our invoices to
   eliminate charges not properly allocated to the insured matter. We have also
   collected the invoices issued by Chris Muzzi’s and Rahman Connelly’s firms.

   The attached spreadsheet lists all of our (revised) charges and disbursements, and
   has tabs for the invoices issued by Messrs. Muzzi’s and Connelly’s firms.

   My firm will send the underlying invoices to you by overnight service.

   The next step is to schedule a conference call with you and Kim to discuss next
   steps. The topics to be discussed will include:

           Whether you will commit to paying these invoices, and our current and future
           invoices, on an ongoing basis
           Whether we will need to file a declaratory judgment action, and assert claims for
           bad faith, in order to compel you to pay these invoices
           The proper allocation of defense fees and costs between insured and uninsured
           clients.

   I will make myself available for such a call on Wednesday, Thursday, or Friday of this


                                        EXHIBIT E
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   week. Please suggest a few dates and times that would work for the two of you.

   Thanks for your patience and professional courtesies. I look forward to speaking with
   you.

   Darryl


   Darryl P. Rains
   Senior Of Counsel
   DRains@mofo.com
   T +1 (650) 813- 5866
   M +1 (650) 296-0988

   Morrison Foerster
   755 Page Mill Road
   Palo Alto, CA 94304-1018




   mofo.com | LinkedIn | Twitter



   From: Howell, John <JHowell@wiley.law>
   Sent: Tuesday, June 7, 2022 8:36 AM
   To: Rains, Darryl P. <DRains@mofo.com>
   Cc: Melvin, Kimberly <KMelvin@wiley.law>
   Subject: FW: Invoice for Services Rendered re Island Air/Carbonview (April 2022)


   External Email




   Darryl,

   Can you let us know where things stand with the segregation of the earlier invoices?

   Thanks,

   John

                  John E. Howell
                  Attorney at Law
                  jhowell@wiley.law

   Wiley Rein LLP • 2050 M Street NW • Washington, DC 20036
   o: 202.719.7047 • m: 617.372.2608
   Download V-Card | wiley.law | Bio | Executive Summary Blog

   Please update your records to reflect our new office address.
Case 1:22-cv-00391-SOM-KJM Document 11-7 Filed 09/08/22 Page 4 of 8 PageID.429
   Case 1:22-cv-00450-SOM-KJM Document 81-20 Filed 07/31/23 Page 109 of 149
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   From: Marsh, Shirley <SMarsh@mofo.com>
   Sent: Monday, June 6, 2022 3:58 PM
   To: Legal Invoices <LegalInvoices@lawrenceinv.com>
   Cc: professional.liability.claims@us.qbe.com; Melvin, Kimberly <KMelvin@wiley.law>; Marinuzzi,
   Lorenzo <LMarinuzzi@mofo.com>; Rains, Darryl PButterfield, Benjamin W.
   <BButterfield@mofo.com>; Bregman, Julie <JBregman@mofo.com>
   Subject: Invoice for Services Rendered re Island Air/Carbonview (April 2022)


    External Email



   Good afternoon,

   Attached please find our invoice, and back-up, for services rendered through April 30, 2022
   respecting Island Air/Carbonview.

   If you have any questions, or if we can be of any assistance, please do not hesitate to contact
   us.

   Thank you and best regards,
   Shirley


   Shirley Marsh
   Legal Secretary to Lorenzo Marinuzzi
   smarsh@mofo.com
   T +1 (212) 336-4203




   mofo.com | LinkedIn | Twitter



   ============================================================================


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                                            Morrison & Foerster Billing & Payment Ledger for Matter(s): 076884-0000008 - between 8/1/2019 and 5/11/2022
     Month             Matter No                Matter                 Invoice         Date             Total Fees             Less 10% Discount                Client             Total Disbs         TOTAL
                                                                                                                                                           Accommodation
          Aug-19]076884-0000008      ISLAND AIR/CARBONVIEW            5852869         9/23/2019]    $         23,064.50 | $              (2,306.45)                            $      16,995.41 | $       37,753.46
          Sep-19]076884-0000008      JISLAND AIR/CARBONVIEW           5864440         11/8/2019]    $        137,068.50 | $             (13,706.85)                            $       7,313.89 | $      130,675.54
Oct-19/Nov-19      076884-0000008    |ISLAND AIR/CARBONVIEW           5878144 |      12/27/2019]    $        104,603.00 | $             (10,460.30)                            $      11,213.90 | $      105,356.60
          Dec-19]076884-0000008      JISLAND AIR/CARBONVIEW           5891988         2/26/2020]    $         45,430.00 | $              (4,543.00)                            $         816.65 | $       41,703.65
             Jan-20]076884-0000008   |ISLAND AIR/CARBONVIEW           5894555         2/26/2020]    $          39,843.50 | $             (3,984.35)                            $         453.41 | $       36,312.56
          Feb-20]076884-0000008      ISLAND AIR/CARBONVIEW            5897594         3/19/2020]    $          31,676.00 | $             (3,167.60)                            $         431.06 | $       28,939.46
          Mar-20]076884-0000008      JISLAND AIR/CARBONVIEW           5904351         4/17/2020]    $        111,101.00 | $             (11,110.10)                            $       3,473.88 | $      103,464.78
          Apr-20]076884-0000008      [ISLAND AIR/CARBONVIEW           5914261         5/28/2020]    $        160,381.50 | $             (16,038.15)                            $          35.62 | $      144,378.97
          May-20]076884-0000008      ISLAND AIR/CARBONVIEW            5923243         6/30/2020]    $        104,659.00 | $             (10,465.90)                            $          64.21 | $       94,257.31
             Jun-20]076884-0000008   ISLAND AIR/CARBONVIEW            5931234         7/30/2020]    $        123,407.50 | $             (12,340.75)                            $       7,423.59 | $      118,490.34
             Jul-20]076884-0000008   [ISLAND AIR/CARBONVIEW           5938833         8/31/2020]    $        106,112.00 | $             (10,611.20)                            $             -     $      95,500.80
          Aug-20]076884-0000008      |ISLAND AIR/CARBONVIEW           5946235         9/25/2020]    $        130,583.50 | $             (13,058.35)                            $         600.60 | $      118,125.75
          Sep-20]076884-0000008      JISLAND AIR/CARBONVIEW           5957481    |   10/31/2020]    $        121,335.50 | $             (12,133.55)                            $         125.40 | $      109,327.35
             Oct-20]076884-0000008   JISLAND AIR/CARBONVIEW           5964427 |      11/30/2020]    $        273,804.50 | $             (27,380.45)                            $      10,525.42]   $     256,949.47
          Nov-20]076884-0000008      JISLAND AIR/CARBONVIEW           5973641    |   12/31/2020]    $        186,311.50 | $             (18,631.15)                            $       6,666.44 | $      174,346.79
          Dec-20]076884-0000008      |ISLAND AIR/CARBONVIEW           5975810          1/13/2021]   $          65,466.00 | $             (6,546.60)]   $        (15,000.00)}   $       1,299.82 | $       45,219.22
             Jan-21]076884-0000008   |ISLAND AIR/CARBONVIEW           5984309         2/17/2021]    $          83,394.00 | $             (8,339.40)                            $       3,252.82 | $       78,307.42
          Feb-21]076884-0000008      ISLAND AIR/CARBONVIEW            5995131         3/31/2021]    $         68,911.50 | ¢              (6,891.15)                            $       3,868.93 | $       65,889.28
          Mar-21]076884-0000008      JISLAND AIR/CARBONVIEW           5997295         4/12/2021]    $         63,180.50 | $              (6,318.05)                            $       7,652.55 | $       64,515.00
          Apr-21]076884-0000008      ISLAND AIR/CARBONVIEW            6006778         5/19/2021]    $          80,452.00 | $             (7,869.70)]   $         (1,755.00)]   $       9,670.84 | $       80,498.14
          May-21]076884-0000008      |ISLAND AIR/CARBONVIEW           6013324           6/9/2021]   $           4,905.00 | $               (490.50)                            $       3,043.05 | $        7,457.55
             Jun-21]076884-0000008   ISLAND AIR/CARBONVIEW            6023084         7/13/2021]    $           3,420.00 | $               (342.00)                            $       4,623.35]   $       7,701.35
             Jul-21]076884-0000008   ISLAND AIR/CARBONVIEW            6031549         8/12/2021]    $         41,313.50                   -4,131.35                            $       2,995.55]   $      40,177.70
          Aug-21]076884-0000008      |ISLAND AIR/CARBONVIEW           6041764         9/16/2021]    $          63,843.50                  -6,384.35                            $       2,913.40]   $      60,372.55
          Sep-21]076884-0000008      JISLAND AIR/CARBONVIEW           6051570 |      10/18/2021]    $        166,277.50 | $             (16,627.75)                            $       8,140.36]   $     157,790.11
             Oct-21]076884-0000008   JISLAND AIR/CARBONVIEW           6060923 |      11/16/2021]    $        143,339.00 | $             (14,333.90)                            $      12,779.31]   $     141,784.41
          Nov-21]076884-0000008      JISLAND AIR/CARBONVIEW           6068374          12/8/2021]   $        151,982.00 | $             (15,198.20)                            $       2,728.10}   $     139,511.90
          Dec-21]076884-0000008      |ISLAND AIR/CARBONVIEW           6076754          1/10/2022]   $          90,325.50 | $             (9,032.55)                            $       8,258.77]   $      89,551.72
             Jan-22]076884-0000008   |ISLAND AIR/CARBONVIEW           6091975           3/2/2022]   $        106,972.50 | $             (10,697.25)                            $       3,882.80]   $     100,158.05
          Feb-22]076884-0000008      JISLAND AIR/CARBONVIEW           6095035         3/14/2022]    $        110,008.50 | $             (11,000.85)                            $       2,713.80]   $     101,721.45
          Mar-22]076884-0000008      JISLAND AIR/CARBONVIEW           6105136         4/18/2022]    $          78,833.50 | $             (7,883.35)                            $       3,245.50]   $      74,195.65
TOTAL                                                                                Total USD:|    $      3,022,006.00 | S$           (302,025.10)}   $        (16,755.00)|   $    147,208.43 | $     2,850,434.33
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                                                             Christopher Muzzi Invoices
        Month          Matter Number     Invoice                  Date             Fees               Disbursements           Courtesy Discount           Tax               Total Billed
 Sept 2019- Oct 2019           50185.1              15106}       10/25/2019]   $     23.940.00 | $             314.30]    $                    -      $     1,142.86 | $       25,397.16
INov-19                        50185.1              15107]       11/22/2019]   $      2.926.00 | $              45.90 | $                      −      $       140.04 | $        3,111.94
Dec-19                         50185.1              15250]       12/31/2019]   $      9.580.00 | $             232.01 | $                      -      $       462.34 | $       10,274.35
 1/1/2020                      50185.1    15251 AMENDED           1/31/2020]   $      5,101.00 | $                340]$                 (1,240.00)]   $       182.09 | $        4,046.49
Feb-20                         50185.1              15285         2/26/2020}   $       1,343.00 | $              38.70 | $                     −      $        65.11 | $         1,446.81
Mar-20                         50185.1              15407         3/25/2020}   $      2,172.50 | $               54.00 | $                     -      $       104.91 | $        2,331.41
4/1/2020 - 5/2020              50185.1              15503         5/22/2020}   $     10,428.00 | $             221.99 | $                      -      $       501.83 | $       11,151.82
Jun-20                         50185.1              15608         6/26/2020}   $      3,436.50 | $                2.80 | $                     -      $       162.06 | $        3,601.36
Jul-20                         50185.1              15640         7/27/2020]   $         237.00 | $               3.60 | $                     −      $         11.34] $           251.94
Aug-20                         50185.1              15760         8/26/2020]   $      2,212.00 | $                 1.90 | $                    -      $       104.32 | $        2,318.22
 Sep-20                        50185.1              15831         9/25/2020}   $      4.623.50 | $               12.80 | $                     −      $       218.46 | $        4.854.76
Oct-20                         50185.1              15916}       10/27/2020]   $         829.50 | $               9.80] $                      −      $        39.55]  $           878.85
INov-20                        50185.1              15995}       11/24/2020]   $       1,698.50 | $              11.40] $                      -      $        80.57 | $         1,790.47
Jan-21                         50185.1              16150         1/29/2021}   $      2,036.00 | $                4201$                        -      $        96.13 | $        2,136.33
Feb-21                         50185.1              16242         2/28/2021}   $      2,551.50 | $             221.90 | $                      -      $       130.68 | $        2,904.08
3/1/2021 - 4/2021              50185.1              16356         4/27/2021}   $      5,670.00 | $               12.70 | $                     −      $       267.77 | $        5,950.47
IMay-21                        50185.1              16415         5/26/2021]   $       1,579.50 | $                1.00 | $                    -      $        74.47 | $         1,654.97
Jun-21                         50185.1              16494         6/25/2021]   $          81.00 | $                 -     $                    −      $          3.82] $            84.82
Jul-21                         50185.1              16560         7/28/2021}   $       1,174.50 | $            121.16 | $                      −      $        61.05 | $         1,356.71
Aug-21                         50185.1              16611         8/27/2021}   $     12,312.00 | $           1,477.35 | $                      -      $       649.75 | $       14,439.10
 Sep-21                        50185.1              16664         9/29/2021}   $      6,480.00 | $           1,976.90 | $                      -      $       398.49 | $        8,855.39
Oct-21                         50185.1              16750}       10/31/2021]   $      7,463.00 | $               84.55 | $                     -      $       355.64 | $        7,903.19
INov-21                        50185.1              16859}       11/30/2021}   $     50,253.50 | $             560.82 | $              (10,050.70)}   $     1,920.78 | $       42.684.40
Dec-21                         50185.1              16870}       12/31/2021}   $      6.723.00 | $             245.43 | $                 (672.30)|   $       296.67 | $        6,592.80
Jan-22                         50185.1              16946         1/31/2022]   $      3,864.00 | $             573.76 | $                      −      $       209.11 | $        4,646.87
Feb-22                         50185.1              17051         2/28/2022}   $     21,855.00 | $             631.35 | $               (2,185.50)}   $       956.58 | $       21,257.43
Mar-22                         50185.1              17128         3/31/2022]   $      4.770.50 | $             207.12 | $                 (477.05)|   $       212.07 | $        4,712.64
TOTAL                          50185.1                                         S    195,341.00 | $           7,070.84 | S$             (14,625.55)|   $     8,848.49 | S$     196,634.78
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                                                      Rahman Connelly Invoices
  Month        Matter Number   Invoice     Date               Fees             Disbursements          10% Discount           Total Billed
      1-Jan 063832-0000001       8687866       2/9/2021 $       26,675 00 $                 -     $         (2,667 50)   $         24,007 50
      1-Feb 063832-0000001       8392407       3/9/2021 $       56,939 00 $                 -     $         (5,393 90)   $         51,545 10
    21-Mar 063832-0000001        8399517      4/15/2021 $       13,677 00 $                 -     $         (1,367 70)   $         12,309 30
       1-Jul 063832-0000001      8419340       8/4/2021 $       35,405 00 $                 -     $         (3,540 50)   $         31,864 50
    31-Aug 063832-0000001        8426142      9/14/2021 $       28,906 00 $                 -     $         (2,890 60)   $         26,015 40
    30-Sep 063832-0000001        8432596     10/20/2021 $       76,968 00 $               72 97   $         (7,696 80)   $         69,344 17
     31-Oct 063832-0000001       8436590     11/10/2021 $       69,119 00 $            1,940 79   $         (6,911 90)   $         64,147 89
    21-Nov 063832-0000001        8443370     12/27/2021 $       70,569 00 $              262 17   $         (7,056 90)   $         63,774 27
    21-Dec 063832-0000001        8447990      1/31/2022 $       61,234 00 $                 -     $         (6,132 40)   $         55,101 60
     Jan-22 063832-0000001       8454211      2/17/2022 $       61,260 00 $                 -     $         (6,126 00)   $         55,134 00
    Mar-22 063832-0000001        8463746      4/26/2022 $       67,190 00 $                 -     $         (6,719 00)   $         60,471 00
TOTALS                                                  $      567,942.00 $            2,275.93   $        (56,503.20)   $       513,714.73
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                         EXHIBIT F
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   From: Marsh, Shirley
   Sent: Tuesday, June 7, 2022 4:13 PM
   To: Rains, Darryl P. <DRains@mofo.com>
   Cc: Bregman, Julie <JBregman@mofo.com>
   Subject: RE: Invoice for Services Rendered re Island Air/Carbonview (April 2022)

   Hi Darryl,
   Hope all is well.
   The invoices has all been printed, packaged and are out for delivery via UPS overnight.
   Please let me know if you need anything else.
   Best,
   Shirley


   From: Rains, Darryl P. <DRains@mofo.com>
   Sent: Tuesday, June 7, 2022 2:33 PM
   To: 'Howell, John' <JHowell@wiley.law>
   Cc: Melvin, Kimberly <KMelvin@wiley.law>; Christopher J. Muzzi (cmuzzi@hilaw.us)
   <cmuzzi@hilaw.us>; 'Rahman Connelly' <rahman.connelly@pillsburylaw.com>; Bregman, Julie
   <JBregman@mofo.com>; Marsh, Shirley <SMarsh@mofo.com>; Marinuzzi, Lorenzo
   <LMarinuzzi@mofo.com>; Rains, Darryl P. <DRains@mofo.com>
   Subject: RE: Invoice for Services Rendered re Island Air/Carbonview (April 2022)

   John:

   Thanks for your email. We have just completed our work to revise our invoices to
   eliminate charges not properly allocated to the insured matter. We have also
   collected the invoices issued by Chris Muzzi’s and Rahman Connelly’s firms.

   The attached spreadsheet lists all of our (revised) charges and disbursements, and
   has tabs for the invoices issued by Messrs. Muzzi’s and Connelly’s firms.


                                              EXHIBIT F
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   My firm will send the underlying invoices to you by overnight service.

   The next step is to schedule a conference call with you and Kim to discuss next
   steps. The topics to be discussed will include:

         Whether you will commit to paying these invoices, and our current and future
         invoices, on an ongoing basis
         Whether we will need to file a declaratory judgment action, and assert claims for
         bad faith, in order to compel you to pay these invoices
         The proper allocation of defense fees and costs between insured and uninsured
         clients.

   I will make myself available for such a call on Wednesday, Thursday, or Friday of this
   week. Please suggest a few dates and times that would work for the two of you.

   Thanks for your patience and professional courtesies. I look forward to speaking with
   you.

   Darryl


   Darryl P. Rains
   Senior Of Counsel
   DRains@mofo.com
   T +1 (650) 813- 5866
   M +1 (650) 296-0988

   Morrison Foerster
   755 Page Mill Road
   Palo Alto, CA 94304-1018




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   From: Howell, John <JHowell@wiley.law>
   Sent: Tuesday, June 7, 2022 8:36 AM
   To: Rains, Darryl P. <DRains@mofo.com>
   Cc: Melvin, Kimberly <KMelvin@wiley.law>
   Subject: FW: Invoice for Services Rendered re Island Air/Carbonview (April 2022)


   External Email




   Darryl,
Case 1:22-cv-00391-SOM-KJM Document 11-8 Filed 09/08/22 Page 4 of 5 PageID.437
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   Can you let us know where things stand with the segregation of the earlier invoices?

   Thanks,

   John

                  John E. Howell
                  Attorney at Law
                  jhowell@wiley.law

   Wiley Rein LLP • 2050 M Street NW • Washington, DC 20036
   o: 202.719.7047 • m: 617.372.2608
   Download V-Card | wiley.law | Bio | Executive Summary Blog

   Please update your records to reflect our new office address.




   From: Marsh, Shirley <SMarsh@mofo.com>
   Sent: Monday, June 6, 2022 3:58 PM
   To: Legal Invoices <LegalInvoices@lawrenceinv.com>
   Cc: professional.liability.claims@us.qbe.com; Melvin, Kimberly <KMelvin@wiley.law>; Marinuzzi,
   Lorenzo <LMarinuzzi@mofo.com>; Rains, Darryl PButterfield, Benjamin W.
   <BButterfield@mofo.com>; Bregman, Julie <JBregman@mofo.com>
   Subject: Invoice for Services Rendered re Island Air/Carbonview (April 2022)


    External Email



   Good afternoon,

   Attached please find our invoice, and back-up, for services rendered through April 30, 2022
   respecting Island Air/Carbonview.

   If you have any questions, or if we can be of any assistance, please do not hesitate to contact
   us.

   Thank you and best regards,
   Shirley


   Shirley Marsh
   Legal Secretary to Lorenzo Marinuzzi
   smarsh@mofo.com
   T +1 (212) 336-4203




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                        EXHIBIT G
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  Kimberly M. Melvin
  202.719.7035
  kmelvin@wiley.law
                                                                                  Wiley Rein LLP
  John E. Howell                                                                  1776 K Street NW
  202.719.7047                                                                    Washington, DC 20006
  jhowell@wiley.law                                                               Tel: 202.719.7000




  July 14, 2022

  VIA E-MAIL

  Darryl Rains
  Morrison & Foerster LLP
  DRains@mofo.com

  Re:       Insured:         Hawaii Island Air, Inc.
            Insurer:         QBE Specialty Insurance Company
            Matter:          Elizabeth A. Kane, Bankruptcy Trustee, et al.
            QBE Policy:      QPL0192298 (the “Policy”)
            QBE Claim:       570784N

  Dear Mr. Rains,

  As you know, this firm represents QBE Specialty Insurance Company (“QBE”) in connection
  with the above-referenced matter. On behalf of QBE, we write in response to your June 14,
  2022 letter concerning legal fees and costs incurred on behalf of your client, Paul Marinelli, and
  certain other entities in connection with the above-referenced matter. Although Mr. Marinelli
  previously informed QBE that he would not seek coverage for Defense Costs under the Policy,
  after QBE filed the interpleader proceeding styled QBE Specialty Insurance Company v. Kane,
  Ad. Proc. No. 22-90006 (Bankr. D. Haw.) (the “Interpleader”), Mr. Marinelli has submitted
  $3,560,492.84 in legal fees generated by your firm, Pillsbury Winthrop Shaw and Pittman LLP
  and local counsel Tsugawa Lau & Muzzi LLLC.1 Your June 14, 2022 letter requested that 80%
  of such amounts be covered under the Policy.

  QBE has advanced Defense Costs in connection with this matter to the extent that the relevant
  Insureds received an order from the Bankruptcy Court granting relief from the automatic stay.
  The Court granted Mr. Marinelli’s motion for relief from the automatic stay to seek coverage
  under the Policy on May 31, 2022. In re Hawaii Island Air, Inc., No. #17-01078 (D. Haw.), Dkt.
  No. 1105. QBE received supporting documentation for the invoices discussed above on July 1,
  2022 and received payment instructions today, July 14, 2022.

  As discussed in QBE’s Motion for Leave to Deposit Interpleader Funds, and for Discharge,
  Injunction, and Dismissal with Prejudice filed today in the Interpleader prior to receipt of
  supporting documentation from your firm, QBE was informed that certain Insureds received
  settlement demands that, together with the legal fees submitted by Mr. Marinelli (as well as
  those incurred and to be submitted by other Insureds), exceed the remaining limit of liability of
  the Policy. In light of the competing demands on the Policy’s proceeds by various Insureds,
  QBE is unable to accept Mr. Marinelli’s proposal to pay 80% of legal fees and costs jointly

  1
      Terms appearing in bold are defined in the Policy.



                                                 EXHIBIT G
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  July 14, 2022
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  incurred on behalf of himself and non-Insured parties. QBE notes further that Mr. Marinelli and
  the non-Insured parties engaged two national law firms, in addition to local counsel, and
  incurred more than $3.5 million in legal fees and costs without informing QBE of the magnitude
  of the amounts being incurred and purporting not to request coverage for those amounts under
  the Policy.2

  Under these circumstances, QBE is constrained to seek leave to deposit the remaining Policy
  proceeds into the Bankruptcy Court’s registry. As we discussed, QBE intended to continue
  paying pay covered Defense Costs, including those incurred by Mr. Marinelli, subject to the
  receipt of supporting documentation and agreement concerning an appropriate allocation for
  amounts incurred on behalf of non-Insured parties. Unfortunately, because settlement demands
  have been made that exceed the remaining limit of liability, QBE is unable to make further
  Defense Costs payments at this time.

  QBE continues to reserve all rights and defenses under the Policy and applicable law. If the
  Insured has any questions concerning this letter, please feel free to contact us.

  Sincerely,




  Kimberly M. Melvin
  John E. Howell

  cc:     Michael Chung (Michael.chung@us.qbe.com)




  2 QBE is not liable for any incurred Defense Costs to which it has not given prior written consent, such

  consent not to be unreasonably withheld. Policy, General Terms & Conditions, Section VI.B.2.
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                IN THE UNITED STATES BANKRUPTCY COURT

                         FOR THE DISTRICT OF HAWAI`I

  In re                                 )   Case No. 17-01078
                                        )   (Chapter 7)
  HAWAII ISLAND AIR, INC.,              )
                                        )
               Debtor.                  )
                                        )
  QBE SPECIALTY INSURANCE               )   Adv. Proc. No. 22-90006
  COMPANY,                              )
                                        )   DECLARATION OF COUNSEL FOR
               Interpleader Plaintiff,  )   INTERPLEADER DEFENDANTS
                                        )   CHRISTOPHER GOSSERT AND
        vs.                             )   CATHERINE YANNONE aka Kitty
                                        )   Lagareta; EXHIBIT “1”
  Elizabeth A. Kane, Trustee for        )
  HAWAII ISLAND, AIR, INC.,             )
  DAVID UCHIYAMA,                       )
  CHRISTOPHER GOSSERT, PAUL )
  MARINELLI, JEFFREY AU,                )
  CATHERINE YANNONE, PHILIP )
  WEGESCHEIDE, DAVID                    )
  PFLIEGER, and PARTIES                 )
  UNKNOWN,                              )   JUDGE: Honorable Robert J. Faris
                                        )
               Interpleader Defendants. )
                                        )

                 DECLARATION OF COUNSEL
   FOR INTERPLEADER DEFENDANTS CHRISTOPHER GOSSERT AND
             CATHERINE YANNONE aka Kitty Lagareta

          1.   I, DAVID C. FARMER, am Counsel for Interpleader-Defendants

  CHRISTOPHER GOSSERT and CATHERINE YANNONE aka Kitty Lagareta in




                                     EXHIBIT H
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  this action (together “Defendants”) and make this Declaration upon personal

  knowledge.

        2.     Attached hereto as Exhibit “1” is a true and accurate copy of a letter

  dated July 11, 2022, from counsel for the plaintiffs in the related lawsuit entitled

  Elizabeth A. Kane, Bankruptcy Trustee, et al. v. PaCap Aviation Finance, LLC, et

  al.; Civil Nos. 19-00574 JAO-RT and 20-00246 JAO-RT (Consolidated) to me,

  which contains a settlement offer from plaintiffs to Defendants.

        3.     Although the letter states it will expire on July 25, 2022, I have been

  informed that the offer remains open and is still valid.

        4.     Defendants and plaintiffs are in active and ongoing discussions to

  finalize the pending settlement offer, which Defendants intend to submit to the Court

  for approval pursuant to Haw. Rev. Stat. § 663-15.5.

                          28 U.S.C. § 1746 DECLARATION

        I declare under penalty of perjury that the foregoing is true and correct.

  Executed on this 19th day of August 2022.

                                /s/ David C. Farmer
                                DAVID C. FARMER

                                Attorney for Interpleader Defendants
                                CHRISTOPHER GOSSERT and
                                CATHERINE YANNONE aka Kitty Lagareta




                                            2
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                              EXHIBIT “1”




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                         Nickolas A. Document
                                     Kacprowski 81-20 Filed 07/31/23 Page 126   of 149
                                                                             Dentons US LLP
                         Partner       PageID.1073                         1001 Bishop Street
                                                                                                                             Suite 1800
                                          nickolas.kacprowski@dentons.com                                           Honolulu, HI 96813
                                          D   +1 808-441-6131                                                            United States


                                                                                                                          dentons.com




   July 11, 2022                                                     Subject to FRE Rule 408 and
                                                                          HRS Chapter 658H
   By Email                                                     Confidential Settlement Communication

   David Farmer, Esq.
   225 Queen Street, Suite 15A
   Honolulu, HI 96813
   Email: farmerd001@gmail.com

   Re:       Elizabeth A. Kane, Bankruptcy Trustee, et al. v. PaCap Aviation Finance, LLC,
             et al.; Civil Nos. 19-00574 JAO-RT and 20-00246 JAO-RT (Consolidated)

   Dear Mr. Farmer:

           Following up on discussions we had through the mediator, Plaintiffs make this
   offer to resolve any claims against Christopher Gossert and Catherine Yannone for $1.2
   million each, which are their shares of the QBE insurance policy at issue. We would
   also be amendable to discussing reducing those amounts by the amounts of defense
   costs that Mr. Gossert and Ms. Yannone have incurred that have or would draw down
   the QBE policy. We would agree that any settlement agreement would be contingent
   on you obtaining approval and funding of the settlement amount from the Debtor’s
   insurer, QBE, and would not be effective as to any parties until such approval and
   funding is obtained.1 Plaintiffs further offer to join in any motion for good faith
   settlement and dismissal of all claims against Mr. Gossert and Ms. Yannone from other
   parties.

             This offer will expire on July 25, 2022.




   1     Settlement of the Trustee’s claims necessarily would require Bankruptcy Court
   approval, and we would seek that approval at the appropriate time.

   Fernanda Lopes & Associados ► Guevara & Gutierrez ► Paz Horowitz Abogados ► Sirote ► Adepetun Caxton-Martins Agbor & Segun ►
   Davis Brown ► East African Law Chambers ► Eric Silwamba, Jalasi and Linyama ► Durham Jones & Pinegar ► LEAD Advogados ► Rattagan
   Macchiavello Arocena ► Jiménez de Aréchaga, Viana & Brause ► Lee International ► Kensington Swan ► Bingham Greenebaum ► Cohen &
   Grigsby ► Sayarh & Menjra ► For more information on the firms that have come together to form Dentons, go to dentons.com/legacyfirms


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                                  David Farmer, Esq.                            dentons.com
                                  July 11, 2022
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                                                       Very truly yours,

                                                       Nickolas A. Kacprowski




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   Attorneys for Interpleader-Plaintiff
   QBE SPECIALTY INSURANCE COMPANY

                  IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF HAWAII

    In re:                                      )   Case No.: 17-01078
                                                )   (Chapter 7)
    HAWAII ISLAND AIR, INC.,                    )
                                                )   ADVERSARY NO. 22-90006
                  Debtor.                       )
                                                )   INTERPLEADER-PLAINTIFF
                                                )   QBE SPECIALTY INSURANCE
                                                )   COMPANY’S REPLY IN
    QBE SPECIALTY INSURANCE                     )
    COMPANY,                                    )   Hearing
                                                )   Date: September 9, 2022
                  Interpleader-Plaintiff,       )   Time: 10:00 a.m.
                                                )   Judge: Honorable Robert J. Faris
             v.                                 )
                                                )   (Caption continued on next page)

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    ELIZABETH KANE, AS CHAPTER 7            )   SUPPORT OF FIRST AMENDED
    TRUSTEE FOR HAWAII ISLAND               )   MOTION FOR LEAVE TO
    AIR, INC., DAVID UCHIYAMA,              )   DEPOSIT INTERPLEADER
    CHRISTOPHER GOSSERT, PAUL               )   FUNDS AND FOR DISCHARGE,
    MARINELLI, JEFFREY AU,                  )   INJUNCTION AND DISMISSAL
    CATHERINE YANNONE, PHILIP               )   WITH PREJUDICE;
    WEGESCHEIDE, PACAP AVIATION             )   DECLARATION OF KIMBERLY
    FINANCE, LLC, MALAMA                    )   M. MELVIN IN SUPPORT OF
    INVESTMENTS, LLC, DAVID                 )   INTERPLEADER-PLAINTIFF
    PFLIEGER, AND PARTIES                   )   QBE SPECIALTY INSURANCE
    UNKNOWN,                                )   COMPANY’S MOTION FOR
                                            )   INTERPLEADER FUNDS AND
                Interpleader-Defendants.    )   FOR DISCHARGE, INJUNCTION
                                            )   AND DISMISSAL WITH
                                            )   PREJUDICE; EXHIBITS 1 – 3;
                                            )   CERTIFICATION OF WORD
                                            )   LIMIT; CERTIFICATE OF
                                            )   SERVICE
                                            )
                                            )




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          INTERPLEADER-PLAINTIFF QBE SPECIALTY INSURANCE
        COMPANY’S REPLY IN SUPPORT OF FIRST AMENDED MOTION
         FOR LEAVE TO DEPOSIT INTERPLEADER FUNDS AND FOR
        DISCHARGE, INJUNCTION AND DISMISSAL WITH PREJUDICE

   I.     INTRODUCTION

          QBE seeks leave to deposit the remaining proceeds (the “Proceeds”) of the

   directors and officers liability policy it issued to the Debtor (the “Policy”) into the

   Court’s registry, to be discharged from further liability and to enjoin other

   proceedings concerning the Policy. It retains no interest in the Proceeds and seeks

   no advantage in filing this proceeding. The Insureds under the Policy have divergent

   strategies and demands concerning the use of the Proceeds and have asserted claims

   amongst themselves for which they seek coverage.1

          QBE sought to resolve this matter globally through mediation in November

   2021 but was unable to do so because the Insureds disagreed about whether to pursue

   settlement discussions at that time. Given the conflicting positions of the Insureds

   and that QBE cannot favor the interests of some Insureds over others, QBE was

   constrained to institute this proceeding to allow a fair apportionment of the Proceeds.

          Certain Interpleader-Defendants, Mr. Marinelli, Mr. Au, PaCap Aviation

   Finance LLC (“PaCap”) and Mr. Wegescheide, have opposed this motion, asserting

   that QBE can and should pay their defense costs without regard to the pending



   1
          Capitalized terms not defined in this reply are defined in the Policy.


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   settlement demands against other Interpleader-Defendants, Mr. Gossert and Ms.

   Yannone. Even that is not possible. Mr. Marinelli and Mr. Au/PaCap did not submit

   their defense costs at the initiation of the underlying dispute. Instead, they held those

   costs for nearly three years. Only after this proceeding had been instituted did they

   seek coverage for their defense costs that collectively exceed the remaining

   Proceeds.

           QBE does not seek to avoid any responsibility under the Policy. However, it

   cannot comply with all of the Insureds’ conflicting demands for the use of the

   Proceeds, and it cannot favor the interests of some Insureds over others. In these

   circumstances, courts have held that an insurer may file an interpleader to ensure

   that all insureds’ interests are fairly accounted for and to protect itself from

   duplicative and inconsistent liability.

           Indeed, such circumstances are uniquely suited for resolution through the

   interpleader mechanism of Federal Rule of Civil Procedure 22 and Bankruptcy Rule

   7022.     The Interpleader-Defendants have made claims to the Proceeds that are

   mutually incompatible. QBE is a disinterested stakeholder disclaiming any interest

   in the Proceeds. Under well-established law, QBE is entitled to a discharge from

   further liability concerning the Policy or the Proceeds. Moreover, re-litigation of the

   Interpleader-Defendants’ claims to the Proceeds in other proceedings would

   constitute irreparable harm that would destroy the effectiveness of this proceeding



                                              2
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   and undermine the relief to which QBE is entitled. Accordingly, an injunction

   against such proceedings is appropriate and necessary.

   II.   ARGUMENT

         A.    The Conditions for Interpleader and Discharge of QBE are Met.

         The history of this matter is unique. Three years ago, on August 12, 2019, the

   Debtor’s Chapter 7 Trustee (the “Trustee”) filed an Adversary Proceeding styled

   Kane v. PaCap Aviation Finance, LLC, Adv. Proc. No. 19-90027, in this Court

   against, inter alia, Jeffrey Au, Paul Marinelli, Catherine Yannone, and Christopher

   Gossert (the “Trustee Proceeding”). At that time, QBE accepted coverage for the

   Trustee Proceeding under the Policy and agreed to defend or to advance Defense

   Costs, subject to a reservation of rights. Declaration of Kimberly M. Melvin dated

   September 2, 2022 (“Melvin Reply Decl.”) ¶ 4.

         The Policy affords coverage for Defense Costs.         Policy, Section X.E.

   However, two Interpleader-Defendants, Mr. Marinelli and Mr. Au, chose not to

   submit their defense costs to QBE for reimbursement as they were incurred.

   Declaration of Michael Chung in Support of QBE’s Motion for Leave to Deposit

   Interpleader Funds, Dkt. No. 114 (“Chung Decl.”) ¶ 5. Mr. Marinelli’s counsel

   incurred $3,560,783.84 jointly on behalf of Mr. Marinelli and other defendants to

   the Trustee Proceeding who are not covered under the Policy. Chung Decl. ¶ 6.

   The invoices were issued by two national law firms, as well as Hawaii counsel.



                                            3
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Melvin Reply Decl. ¶ 5. Mr. Marinelli did not provide copies of invoices for these

costs until June 2022 (well after the interpleader was filed) and then acknowledged

that they are not covered in their entirety but that “proper allocation of defense fees

and costs between insured and uninsured clients” is necessary. Melvin Reply Dec.

¶ 6 and Exhibit 1.   Mr. Marinelli did not provide supporting documentation for the

invoices until July 1, 2022. Melvin Reply Decl. ¶ 7. These invoices were not paid

by Mr. Marinelli himself but were paid pursuant to an indemnification agreement by

Lawrence Investments LLC or an affiliated entity. Melvin Reply Decl. ¶ 8, Exhibit

2.

       Meanwhile, Mr. Au and PaCap incurred $2,920,436.55 in costs, which Mr.

Au did not submit until August 8, 2022. Melvin Reply Decl. ¶ 8. Mr. Au and PaCap

submitted additional invoices on September 2, 2022, bringing the total to

$3,630,732.93, QBE has also received defense invoices on behalf of Mr.

Wegescheide totaling $12,678.37 and Mr. Pflieger totaling $48,945. Chung Decl. ¶

6.

      The submitted defense amounts alone total more than $7.25 million, which

well exceeds the $5,513,221.51 in remaining Proceeds. Mr. Marinelli’s assertion in

response to this motion that “[n]o conflict has arisen among the insureds as to the




                                          4
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payment of [] defense costs” is simply false. Dkt. 139 at 1.2 QBE cannot pay all of

the defense costs submitted by the various Insureds, and their submissions of

amounts in excess of the remaining limits necessarily conflict. Had Mr. Marinelli

and Mr. Au sought relief from the automatic stay and submitted their defense costs

as they were incurred, QBE could have audited them for reasonableness and worked

to resolve allocation issues concerning uninsured parties. Instead, Mr. Marinelli and

Mr. Au stood by for years without submitting those costs before changing course

and demanding payment immediately.

        Further complicating these matters, Interpleader-Defendant PaCap filed

cross-claims and third-party claims against other Insured Interpleader-Defendants in

connection with the causes of action asserted in the Trustee Proceeding:

        a.    a Cross-Claim filed in the Trustee Proceeding styled PaCap Aviation

              Finance, LLC, et al. v. Lawrence Investments, LLC, et al., naming as

              Cross-Defendants, inter alia, Paul Marinelli, Catherine Yannone and

              Christopher Gossert; and



2
       If, as Mr. Marinelli contends, there were no conflict among the Interpleader-
Defendants concerning the payment of defense costs, there would be no reason to
oppose this motion. Mr. Marinelli could simply apply for payment of his submitted
costs from the interpleaded funds and immediately receive payment if his
entitlement to such payment were as clearly established as he suggests. The fact that
Mr. Marinelli objects to the Court determining the fair and appropriate
apportionment of the Policy Proceeds in this interpleader proceeding, where all
Insureds’ interests are represented, belies his contention that there is no conflict.

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      b.     a Third-Party Complaint filed in the Trustee Proceeding, styled PaCap

             Aviation Finance LLC, v. David Uchiyama, naming David Uchiyama

             as a Third-Party Defendant (the “PaCap Third-Party Complaint”).

       Given the various competing demands on the Proceeds, QBE attempted to

pursue global settlement discussions to use the Policy Proceeds to resolve all

pending matters to the benefit of all Insureds through a November 2021 mediation.

Melvin Reply Decl. ¶ 10, Exhibit 3. Mr. Au and PaCap refused to participate in that

mediation. Id. Then, in June 2022, the Trustee made individual settlement demands

on Mr. Gossert and Ms. Yannone totaling $2.4 million. Declaration of David A.

Farmer Dkt. No. 133 at 11-12. The Trustee continues to seek settlements of the

Trustee Proceeding using the Proceeds of the Policy despite voluntarily dismissing

her counterclaim in this interpleader. Id.

      While QBE initially intended to continue advancing Defense Costs under the

Policy pending the Court’s grant of this motion, the amount of the fees and costs that

Mr. Marinelli and Mr. Au submitted nearly three years after the Trustee Proceeding

had been filed, combined with the pending settlement demands against Mr. Gossert

and Ms. Yannone, made that course of action impracticable.

      “An insurer cannot favor the interests of one insured over the other.” Lehto

v. Allstate Ins. Co., 31 Cal. App. 4th 60, 71, 36 Cal. Rptr. 2d 814, 820 (1994), as

modified (Jan. 13, 1995). Further, “[a]n insurer’s refusal to pay a policy limit claim



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is not unreasonable if the insurer has a good faith belief that it is faced with multiple

claims against its insureds.” Id. “An insurer facing multiple claims on a limited

pool of funds has at least two means of protecting itself without breaching its duty

to either insured.” Schwartz v. State Farm Fire & Cas. Co., 88 Cal. App. 4th 1329,

1341, 106 Cal. Rptr. 2d 523, 532 (2001), as modified on denial of reh'g (June 5,

2001). 3 “The first is to seek a negotiated agreement among the insureds as to a fair

apportionment of the pool of funds. If that approach fails, an insurer may file an

interpleader action as other insurers do when faced with multiple claimants to a

single fund.” Id.

        QBE attempted the first approach—facilitating a global resolution of the

Trustee Proceeding and related matters. That approach failed at least in part because

not all of the Insureds agreed to participate, and QBE filed this interpleader

proceeding to ensure that the interests of all of the Insureds are fairly protected. In

these circumstances, an “interpleader action [is] perfectly proper” and will

“provide[] a judicially supervised forum for the collective resolution of all




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      The District Court has noted that the Hawaii Supreme Court often looks to
California law when its own precedent is silent. E.g., Puna Geothermal Venture v.
Allianz Glob. Risks US Ins. Co., No. CV 19-00451 SOM-WRP, 2019 WL 6619851,
at *5 (D. Haw. Dec. 5, 2019); Aana v. Pioneer Hi-Bred Int'l, Inc., No. CIV. 12-
00231 LEK, 2014 WL 806224, at *13 (D. Haw. Feb. 27, 2014).


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competing claims, the very purpose of interpleader.” Lehto 36 Cal. Rptr. 2d 814 at

820.

       Mr. Marinelli’s contention that settlement demands had not been made against

Mr. Gossert and Ms. Yannone at the time this proceeding was filed is not

determinative.   Interpleader “extends to potential, as well as actual, claims.”

Minnesota Mut. Life Ins. Co. v. Ensley, 174 F.3d 977, 980 (9th Cir. 1999). “Actual

claims need not have been actually filed; it is sufficient that the stakeholder can

demonstrate a real and reasonable fear of multiple liability.” Id.; see also Krishna

v. Colgate Palmolive Co., No. 90 CIV. 4116, 1991 WL 125186, at *2 (S.D.N.Y. July

2, 1991) (“The language of both Rule 22 and 28 U.S.C. § 1335 allow for the

invocation of interpleader for the possibility of prospective claims.”).

       The criteria for interpleader are plainly met—both now and at the time this

adversary proceeding was filed. Although Mr. Marinelli and Mr. Au had not

submitted defense invoices for payment at the time QBE filed this proceeding, they

had reserved the right to do so, and the Trustee Proceeding involved and continues

to involve a claim for damages well in excess of the remaining Proceeds. See Trustee

Elizabeth A. Kane’s Opposition to Paul Marinelli’s Motion to Lift the Automatic

Stay, In re Hawaii Island Air, Inc., No. 17- 01079 (Bankr. D. Haw. Filed Apr. 26,

2022), Dkt. No. 1081, at 29 (stating that the Trustee “seek[s] to recover amount in

excess of the $5 million [] Policy”). “There is no requirement that the threat to



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multiple   liability   come   from   a   pre-existing   claim   and    courts   have

allowed interpleader when a competing claim has not yet been made.” Radder v.

Symetra Life Ins. Co., No. CV110873, 2012 WL 13012453, at *2 (C.D. Cal. Apr.

20, 2012). Here, the potential for claims for settlements and defense costs under the

Policy had more than “a minimal threshold level of substantiality,” when this

proceeding was filed, and QBE’s fear of conflicting claims was borne out by the

current demands for payment of defense costs and settlements that well exceed the

remaining Proceeds. Michelman v. Lincoln Nat. Life Ins. Co., 685 F.3d 887, 895

(9th Cir. 2012).

      QBE filed this proceeding to ensure that the interests of each of the Insureds

is protected in the absence of any opportunity to settle the Trustee Proceeding and

associated cross-claims and third-party claims on a global basis. QBE cannot pay

the defense costs and settlements requested by the various Interpleader-Defendants

because they exceed the remaining Proceeds. The “very purpose of interpleader” is

to afford a forum to fairly resolve the competing claims. Lehto, 36 Cal. Rptr. 2d 814

at 820. QBE therefore respectfully requests that the Court permit it to deposit the

Proceeds into the Court’s registry and discharge QBE from any further liability in

connection with the Policy or the Proceeds.




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      B.     An Injunction is Necessary to Prevent Irreparable Harm.

      In light of the conflicting demands upon the Proceeds, “[t]his is a classic

interpleader action, and as such Defendants should be enjoined from prosecuting any

other proceeding related to the same subject matter.” New York Life Ins. Co. v.

Terry, No. 5:15-CV-353-HAI, 2017 WL 102965 (E.D. Ky. Jan. 10, 2017). The U.S.

Court of Appeals for the Ninth Circuit has held that “a disinterested stakeholder may

not be subjected to liability for its failure to resolve the controversy over entitlement

to the stake in one claimant's favor, but []a stakeholder whose alleged tort caused the

controversy is not absolved of liability by filing an interpleader action.” Lee v. W.

Coast Life Ins. Co., 688 F.3d 1004, 1014 (9th Cir. 2012). For such purported torts

to survive, they must be “truly independent” of the issue of who is entitled to the

interpleaded funds and in what amount. Id. at 1014 (quoting Prudential Ins. Co. of

America v. Hovis, 553 F.3d 258, 264 (3d Cir.2009)). For this reason, the Lee court

found that a negligence claim concerning alleged errors by the insurer in policy

documentation that led to the dispute between the claimants over the policy proceeds

was “wholly separate and apart” from a life insurer’s alleged failure to pay policy

proceeds and therefore the independent tort claim was not extinguished by

interpleader. Id. The Lee Court observed that “many courts have held that those

who have acted in bad faith to create a controversy over the stake may not claim the

protection of interpleader.” Id. at 1012 (collecting authority). In the absence of such



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a wholly independent tort, “[c]ourts may dismiss insurance companies from

interpleader actions and grant permanent injunctions as they relate to insurance

amount, provided the insurance company be disinterested.” Lincoln Nat'l Life Ins.

Co. v. Mudd, No. SACV2001271JVSKESX, 2020 WL 10689643, at *2 (C.D. Cal.

Sept. 30, 2020) (noting that an interpleader action “prevents a breach of contract

claim for failure to perform under the policy”).

      QBE is indisputably disinterested in the Proceeds, and there is no allegation

that QBE caused the competing demands for the Proceeds to pay defense costs or

settlements. An injunction is therefore appropriate.

      Mr. Marinelli and Mr. Au contend that QBE is not entitled to an injunction

against litigation involving the Policy and the Proceeds. Neither disputes that the

Court has the power to enter an injunction in this Rule 22 interpleader proceeding.

See Miller, Inc. Ret. Income Plan v. Magallon, No. 207CV00162, 2008 WL

2620748, at *3 (E.D. Cal. July 2, 2008) (“[I]t is still possible for the Court to enjoin

defendants in a Rule interpleader action . . . when ‘it is found that pending or

threatened state court and/or other federal district court proceedings will destroy the

effectiveness of the interpleader suit or the enforceability of its judgment.”);

Primerica Life Ins. Co. v. Grim, No. 09-CV-0108-RAJ, 2009 WL 3297481, at *3

(W.D. Wash. Oct. 13, 2009) (“[U]nder Rule 22 interpleader, the Court may

nonetheless discharge [an insurer] from liability regarding the policy proceeds and



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enjoin the [defendants] from pursuing any further claims against [the insurer] or its

agents concerning the policy proceeds under principles of equity.”).

        Mr. Marinelli contends, however, that such an injunction should not extend to

the lawsuit he filed in the District Court against QBE asserting breach of contract

and “bad faith” against QBE in connection with his claim for defense costs under

the Policy. Complaint, Marinelli v. QBE, No. 22-cv-391 (D. Haw.) (the “Marinelli

Action”). This argument is unfounded. Where an insurer deposits policy proceeds

in an interpleader action, it is appropriate that the insureds be “enjoined from

pursuing any further claims regarding the policy proceeds against [the insurer] or its

agents.” Primerica, 2009 WL 3297481, at *3. “Given the futility of an interpleader

action if claimants file separate suits against the stakeholder, the court may enjoin

the claimants from doing so.” Metro. Life Ins. Co. v. Billini, No.

CIVS0602918WBSKJM, 2007 WL 4209405, at *2 (E.D. Cal. Nov. 27, 2007). This

interpleader proceeding would be futile if Mr. Marinelli or others were able to

maintain a separate proceeding seeking the same Proceeds that QBE seeks to deposit

here.

        Mr. Marinelli asserts that his claims for breach of contract damages and “bad

faith” are independent of this interpleader proceeding. Dkt. 139 at 7. They are not.

The purported contract damages Mr. Marinelli would seek are the very Proceeds of

the Policy that are the subject of this interpleader and that Mr. Marinelli asserts



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should be paid on his behalf. Complaint, Marinelli Action 4 ¶ 68. With respect to

the “bad faith” claim, “the question is whether the []claims are independent of the

reason for the filing of the interpleader action.” Nat'l Life Ins. Co. v. Alembik-Eisner,

582 F. Supp. 2d 1362, 1369–70 (N.D. Ga. 2008). Where an insurer does “not act in

bad faith in filing the interpleader action” it does “not act[] in bad faith in refusing

to pay out the proceeds of the policy” interpleaded. Id at 1371. Where interpleader

is proper, an insurer “should be relieved of all liability regarding damages and

attorney fees related to the insurance policy.” Davis v. Jackson Nat. Life Ins. Co.,

No. 2:14-CV-96-FTM-38DNF, 2014 WL 5780086, at *2 (M.D. Fla. Nov. 5, 2014)

(emphasis added).

        Mr. Marinelli’s action against QBE fundamentally challenges the propriety of

this interpleader proceeding itself and is not an independent tort under Lee.

Complaint, Marinelli Action ¶ 3. It is hard to imagine a proceeding that would more

“destroy the effectiveness of the interpleader suit” than a claim alleging that the

filing of the interpleader was improper and that instead of interpleading the

Proceeds, QBE should have paid the majority of them to the entity that has

indemnified Mr. Marinelli for his litigation costs. Miller, Inc. Ret. Income Plan v.

Magallon, No. 207CV00162MCEGGH, 2008 WL 2620748, at *3 (E.D. Cal. July 2,


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       QBE reserves the right to assert in response to the Marinelli Action that such
action asserts compulsory counterclaims that Mr. Marinelli waived by failing to
bring them in this proceeding.

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2008). The injunction QBE seeks is limited to actions concerning the Policy or the

Proceeds and is well within the Court’s authority.

      Mr. Marinelli and Mr. Au also assert that QBE does not face irreparable harm

absent an injunction. The “irreparable harm” standard “is usually met, however,

where there is a likelihood of costly and judicially wasteful relitigation of claims and

issues that were already adjudicated in federal court.” Trustees of IL WU-PMA

Pension Plan v. Peters, 660 F. Supp. 2d 1118, 1145 (N.D. Cal. 2009). Accordingly,

“[t]he Court will generally grant such an injunction [against further claims] where

there is a likelihood of costly and judicially wasteful relitigation of claims and issues

that were already adjudicated in federal court.” Pruco Life Ins. Co. v. Tan, No. 19-

CV-00335-JCS, 2020 WL 2574662, at *5 (N.D. Cal. May 4, 2020), report and

recommendation adopted sub nom. Pruco Life Ins. Co. v. Chao Hui Tan, No. 19-

CV-00335-WHO, 2020 WL 2572804 (N.D. Cal. May 21, 2020).

      In interpleader cases involving insurance contracts, the claimants to the

insurance proceeds “must be enjoined from bringing any further action in state or

federal court regarding the contracts” to prevent such wasteful relitigation and

potentially inconsistent results. Midland Nat'l Life Ins. Co. v. Owens, No.

SACV212006JVSADSX, 2022 WL 2057495, at *4 (C.D. Cal. Apr. 27, 2022)); see

also Am. Gen. Life Ins. Co. v. Maurer, No. CV 17-00187-BRO (KK), 2017 WL

7803793, at *10 (C.D. Cal. July 14, 2017) (finding that insurers “would



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suffer irreparable harm if it were forced to relitigate the same claims regarding

Decedent's Policy in a subsequent proceeding.”); Oregon Mut. Ins. Co. v. Homeward

Residential, Inc., No. 13-CV-02359 JST, 2013 WL 12122294, at *5 (N.D. Cal. Oct.

24, 2013), report and recommendation adopted, No., 2013 WL 12122415 (N.D. Cal.

Nov. 13, 2013) (finding that “claimants should be enjoined from bringing any further

action in state or federal court regarding their claims to the insurance benefits”).

       Additional litigation over the same Proceeds QBE is interpleading here would

itself constitute waste and irreparable harm. “Lawsuits in another forum would

destroy the relief to which [QBE] is entitled, and constitute irreparable harm.”

Nebraska Ass'n of Sch. Boards, Inc. v. Strategic Governmental Sols., Inc., No.

4:08CV3052, 2008 WL 1774989, at *3 (D. Neb. Apr. 14, 2008). A permanent

injunction against any lawsuit in state or federal court concerning the Policy or the

Proceeds is appropriate and necessary to prevent that harm.

III.   CONCLUSION

       QBE requests leave to deposit into the Court’s registry the remaining Proceeds

of the Policy. Because there are conflicting claims to the Policy Proceeds, “step

one” of the interpleader analysis is met, and QBE respectfully requests that it be

discharged from liability with respect to the Policy Proceeds and dismissed from this

action with prejudice. To avoid irreparable harm of wasteful and duplicative

litigation that would defeat the purpose of this proceeding, QBE further requests a



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permanent injunction against any action in state or federal court against QBE

concerning the Policy or the Proceeds of the Policy.

      DATED: Honolulu, Hawaii, September 2, 2022.


                                       /s/ Kamalolo K. Koanui-Kong
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